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                                   EXHIBIT 7
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                         Daniel J. Cogan, Esq. (0611)
                         HOAGLAND, LONGO, MORAN, DUNST & DOUKAS, LLP
                         40 Paterson Street, PO Box 480
                         New Brunswick, NJ 08903
                         (732) 545-4717
                         Attorneys for Third-Party Defendant, Neglia Engineering Associates

                                                        UNITED STATES DISTRICT COURT
                                                           DISTRICT OF NEW JERSEY
                                                            NEWARK, NEW JERSEY

                         Plai                                           Honorable Esther Salas, U.S.D.J.

                         BOROUGH OF EDGEWATER                           CIVIL ACTION NO. 2:14-CV-05060

                                               -vs-

                         Defendants,                          ANSWER TO THIRD-PARTY COMPLAINT,
                                                              SEPARATE DEFENSES, COUNTERCLAIM,
                         WATERSIDE CONSTRUCTION, LLC; 38 CROSSCLAIMS, ANSWER TO ALL
                         COAH, LLC; DAIBES BROTHERS, INC.; CROSSCLAIMS, NOTICE OF ALLOCATION,
                         NORTH RIVER MEWS ASSOCIATES, LLC; REQUEST FOR DISCOVERY, DESIGNATION
                         FRED A. DAIBES; TERMS ENVIRONMENTAL OF TRIAL COUNSEL, JURY DEMAND,
                         SERVICES, INC.; ALUMINUM COMPANY OF REQUEST FOR STATEMENT OF DAMAGES
                         AMERICA; A.P. NEW JERSEY, INC.; JOHN
                         DOES 1-100; and ABC CORPORATIONS 1-
                         100

                                               and

                         Defendants/Third-Party Plaintiffs,

                         WATERSIDE CONSTRUCTION, LLC; 38
                         COAH, LLC; DAIBES BROTHERS, INC.;                        ELECTRONICALLY FILED
                         NORTH RIVER MEWS ASSOCIATES, LLC;
                         FRED A. DAIBES

                                              -vs-

                         Third-Party Defendant,

                         NEGLIA ENGINEERING ASSOCIATES


HOAGLAPD,LONGO
MORAN, oLNSr&
OOUKAS,LLP                      The Third-Party Defendant, Neglia Engineering Associates, by wayof Answer to the Third-
ATTORNEYS AT LAW

NORTH JERSEY
40 PATERSON ST
                         Party Complaint, says:
PO BOX 480
NEW BRUNSWCK, NJ

scum JERSEY
701 V4LL.TSEV S MLL RD
SLUE 202
HAMMONTON, NJ
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                                                                       PARTIES

                               1.      Admitted.

                               2.      This Third-Party Defendant admits that, at all times relevant hereto, it was the duly-

                        appointed municipal engineer for the Borough of. Edgewater.            The remaining allegation is a

                        statement of law and not fact, thus, no response is required of this Third-Party Defendant.

                               3.      This Third-Party Defendant has insufficient knowledge to either admit or deny the

                       allegations contained in this paragraph and, therefore, leaves the Third-Party Plaintiffs to their proofs

                       with regard to same.

                               4.      This Third-Party Defendant has insufficient knowledge to either admit or deny the
                       allegations contained in this paragraph and, therefore, leaves the Third-Party Plaintiffs to their proofs

                       with regard to same.



                                                            JURISDICTION AND VENUE

                               5.      Admitted.

                               6.      Admitted.

                               7.      Admitted.

                               8.      Admitted.



                                                                    FIRST COUNT

                               9.      This Third-Party Defendant incorporates by reference each and every response made
                       previously in its Answer as if set forth more fully herein.

                               10.     This Third-Party Defendant has insufficient knowledge to either admit or deny the

HOAGLAND,LONGO
6ORAN, Duw a
                       allegations contained in this paragraph and, therefore, leaves the Third-Party Plaintiffs to their proofs
DOUHAS,LLP
ATTONNEYSATLAW
                       with regard to same.
NORFNJERSEY

PO BOX 400 ~  `                11.     This Third-Party Defendant denies the allegations of this paragraph insofar as it is
NEW BRlM.WC (, NJ

SOMM W,                alleged that Neglia Engineering Associates directed the work of any entity with regard to the
701 VHLTSEY 3 MU. RD
SU M
HAMtONTON,NJ



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                       Veteran's Field project. This Third-Party Defendant admits that it attended certain project meetings

                       during the course of the project.

                               12.     This Third-Party Defendant denies the allegations contained in this paragraph.

                               13.     The negligence of the Third-Party Plaintiffs speaks for itself and, therefore, since no

                       allegation is raised against the Third-Party Defendant in this paragraph, no further response is

                       required.

                               14.     This Third-Party Defendant denies the allegations contained in this paragraph.

                               15.     This Third-Party Defendant denies the allegations contained in this paragraph.

                              WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands

                       judgment dismissing the Third-Party Complaint, together with costs and counsel fees.


                                                                 SECOND COUNT

                               16.    This Third-Party Defendant incorporates by reference each and every response made

                       previously in its Answer as if set forth more fully herein.

                               17.    The negligence of the Third-Party Plaintiffs speaks for itself and, therefore, since no

                       allegation is raised against the Third-Party Defendant in this paragraph, no further response is

                       required.

                               18.    This Third-Party Defendant denies the allegations contained in this paragraph.

                              WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands.

                       judgment dismissing the Third-Party Complaint, together with costs and counsel fees.


                                                                   THIRD COUNT
ROAD     D,LONOO               19.    This Third-Party Defendant incorporates by reference each and every response made
DOUKPS,LiP
ATTORNEYS AT LAW
                       previously in its Answer as if set forth more fully herein.
NORTH ARSEY

PO Wx4
NEW BR IM K, NJ
                              20.     Since this allegation is a statement of law and not fact, no response is required of this
SWTHJetwy
701 WLTSEY S MILL RD
                       Third-Party Defendant.
SLATE 202
NAMMONTON, NJ




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                             21.     This Third-Party Defendant denies the allegations contained in this paragraph as the

                     licensed site remediation professional ("LSRP") was responsible for approving all "fill" material that

                     entered the project site.

                            22.      This Third-Party Defendant denies the allegations contained in this paragraph as the

                     LSRP was responsible for approving all "fill" material that entered the project site.

                            23.      This Third-Party Defendant admits that the Plaintiff made such an allegation in its

                     Complaint, but denies the remaining allegations contained in this paragraph as the LSRP was

                     responsible for approving all "fill" material that entered the project site.

                            24.      This Third-Party Defendant denies the allegations contained in this paragraph as the

                     LSRP was responsible for approving all "fill" material that entered the project site.

                            25.      This Third-Party Defendant denies the allegations contained in this paragraph.

                            WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands

                     judgment dismissing the Third-Party Complaint, together with costs and counsel fees.



                                                                FOURTH COUNT

                            26.      This Third-Party Defendant incorporates by reference each and every response made

                     previously in its Answer as if set forth more fully herein.

                            27.      This Third-Party Defendant denies the allegations contained in this paragraph.

                            28.      This Third-Party Defendant denies the allegations contained in this paragraph.

                            29.      This Third-Party Defendant denies the allegations contained in this paragraph.

                             WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands

                     judgment dismissing the Third-Party Complaint, together with costs and counsel fees.

HOAGLAND,LON0O
MORAN, DUNST &
DOU<AS,LLP
ATTORNEYS AT LAW

NORTH.HiSEY
40 PATERSON ET
PO BOX 480
NEW SRUNSWCK, NJ

SOUTH JERSEY
701 WLTSEYSMLLRD
SUITE 202
HAIA6ONTON,NJ




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                                                                 SEPARATE DEFENSES
                                                              FIRST SEPARATE DEFENSE

                                  If Plaintiff and/or Third-Party Plaintiffs suffered damages, the same were caused by Plaintiffs

                        and/or Third-Party Plaintiffs' sole negligence.

                                                            SECOND SEPARATE DEFENSE

                                  If Plaintiff and/or Third-Party Plaintiffs suffered damages, the same were caused by Plaintiffs

                        and/or Third-Party Plaintiffs' contributory negligence.

                                                             THIRD SEPARATE DEFENSE

                                  If Plaintiff and/or Third-Party Plaintiffs suffered damages, the same were caused by third

                        persons over whom this Third-Party Defendant had no control.

                                                            FOURTH SEPARATE DEFENSE

                                  The responsibility of this Third-Party Defendant and the right of Plaintiff and/or Third-Party

                        Plaintiffs to recover in this litigation can only be determined after the percentages of responsibility of

                        all parties to this litigation have been determined. Accordingly, this Third-Party Defendant seeks an

                        adjudication of the percentage of fault of Plaintiff, Third-Party Plaintiffs and each and every person

                        whose fault contributed to this incident.

                                                              FIFTH SEPARATE DEFENSE

                                  The Third-Party Complaint fails to state a cause of action upon which relief can be granted.

                                                             SIXTH SEPARATE DEFENSE

                                  At all times relevant hereto, this Third-Party Defendant was protected by a qualified privilege

                        and/or municipal immunity, and as such the Third-Party Plaintiffs are barred from any recovery

                        herein.
H0AOLAND,LONOO
MORAN , DLO~.ST &
                                                           SEVENTH SEPARATE DEFENSE
DOUKAS, LLP
ATTORNEYSATLAW
                                  This Third-Party Defendant did not violate any duty owed to the Third-Party Plaintiffs under
NORTH JERSEY
40 PATERSON ST
P0B0K480                common law, statute, regulations or standards.
NEW BRURaRfiCK, NJ

SOUTH JERSEY
701','& TSEY'S MIL RD
.,UTE 202
HdAR40NTON,NJ



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                                                            EIGHTH. SEPARATE DEFENSE

                               The conduct of this Third-Party Defendant was not negligent.

                                                            NINTH SEPARATE DEFENSE

                              The conduct of this Third-Party Defendant was not the proximate cause of Plaintiffs and/or

                       Third-Party Plaintiffs' alleged damages.

                                                            TENTH SEPARATE DEFENSE

                              At the time and place aforesaid, Plaintiff, Third-Party Plaintiffs and/or Co-Defendant(s) were

                       negligent, barring or limiting recovery in whole or in part, and this Third-Party Defendant pleads the

                       Comparative Negligence Statute as to all parties.

                                                          ELEVENTH SEPARATE DEFENSE

                              The alleged damages complained of were due to unavoidable circumstances and causes

                       beyond the control or fault of this Third-Party Defendant.

                                                           TWELFTH SEPARATE DEFENSE

                               If Plaintiff and/or Third-Party Plaintiffs suffered damages, the same were caused by the

                       negligence of Co-Defendant(s), and any recovery to which the Third-Party Plaintiffs would otherwise

                       be entitled as against this Third-Party Defendant must be reduced by the application of the standard

                       of comparative negligence set forth in N.J.S.A. 2A: 15-5.1, et seq.

                                                          THIRTEENTH SEPARATE DEFENSE

                               If Plaintiff and/or Third-Party Plaintiffs suffered damages, the same were caused by the

                       negligence, breach of contract or breach of express or implied warranty of Co-Defendant(s), jointly,

                       severally or in the alternative.

                                                     FOURTHEENTH SEPARATE DEFENSE

HOAGLAND,LONGO                The claims by the Third-Party Plaintiffs in this matter are barred by their own failure to
MORAN,DLNST&
DOUKAS, LLP
ATTORNEYS AT LAW
                       mitigate any alleged loss or injury.
NORTH JERSEY
40 PATERSON ST
PO BOX 480
NEW BRUNSWK K, NJ

SOUTH JERSEY
701 WLTSEY'S MILL RD
SUITE 202
HAM WNTON, NJ




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                                                       FIFTEENTH SEPARATE DEFENSE

                               The claims asserted in the Third-Party Complaint against this Third-Party Defendant on the

                       basis of alleged joint and several liability are barred since the acts and omissions of Co-Defendant(s)

                       and/or Third-Party Plaintiffs were separate and distinct from those of this Third-Party Defendant, and

                       neither the common law, nor any federal or state statute, renders this Third-Party Defendant jointly

                       and severally liable for the acts or omissions of Co-Defendant(s) and/or Third-Party Plaintiffs.
                                                       SIXTEENTH SEPARATE DEFENSE

                              This Third-Party Defendant was entitled to utilize and rely upon systems and procedures

                       authorized and regulated by federal and state laws, and has, in fact, complied with all relevant

                       statutory and administrative regulations applicable thereto.
                                                     SEVENTEENTH SEPARATE DEFENSE

                              Costs alleged to be incurred in the future may not be recovered as they are remote,

                       speculative and contingent.
                                                      EIGHTEENTH SEPARATE DEFENSE

                              The Third-Party Plaintiffs failed to conduct themselves in a reasonable manner by their
                       deliberate failure to take actions designed to avoid injury to members of the general public.
                                                      NINETEENTH SEPARATE DEFENSE

                              At all relevant times, this Third-Party Defendant conducted itself in full compliance with all

                       applicable federal, state and local laws, statutes, ordinances and regulations, which compliance bars

                       the Third-Party Plaintiffs from asserting the claims herein.
                                                       TWENTIETH SEPARATE DEFENSE

                              Assuming contamination occurred in the manner charged, which contamination is hereby
H
          LOO
                       denied, such contamination was an unavoidable consequence of lawful activities or an Act of God.
DOLIKAS,LLP'
ATT0tdEYS AT LAW

NORTH JERSEY
40 PATERSON ST
PO BOX 4TD
NEW ERMWO(, NJ

SOUTH JERSEY
701 WLTSEY'S M LL RD
SUITE 202
HN 1ONTON, NJ




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                                                       TWENTY-FIRST SEPARATE DEFENSE

                                This Third-Party Defendant is not a "discharger" or a "responsible person" as defined by

                        N.J.S.A. 58:10-23.11, et seq. (the "Spill Act") and, therefore, cannot be liable to the Third-Party

                        Plaintiffs for any of the damages sought in the Third-Party Complaint.

                                                     TWENTY-SECOND SEPARATE DEFENSE

                                The Third-Party Plaintiffs' claims are barred, either in whole or in part, based on Third-Party

                        Plaintiffs' failure to comply with the express requirements of the Spill Act, as the Third-Party Plaintiffs

                        have failed to establish a statutory basis for liability thereunder on the part of this Third-Party

                        Defendant.

                                                       TWENTY-THIRD SEPARATE DEFENSE

                                The costs allegedly incurred (or to be incurred) by the Third-Party Plaintiffs in connection with

                        the cleanup of the Veteran's Field site are not recoverable as against this Third-Party Defendant

                        under 42 U.S.C.   §   9601, et seq. ("CERCLA").

                                                     TWENTY-FOURTH SEPARATE DEFENSE

                                The Third-Party Plaintiffs are barred from recovery under CERCLA because their own actions

                        caused the release of toxic substances and/or the conditions at the Veteran's Filed site, as alleged in

                        the Plaintiff's First Amended Complaint.

                                                       TWENTY-FIFTH SEPARATE DEFENSE

                                The Third-Party Plaintiffs' claims are barred by the doctrine of unclean hands.

                                                       TWENTY-SIXTH SEPARATE DEFENSE

                                The Third-Party Plaintiffs are required to serve an Affidavit of Merit in this matter per N.J.S.A.

                        2A:53A-27.

HOAOLAND,LONGO                                       TWENTY-SEVENTH SEPARATE DEFENSE
           S &
MORAN, DU147
DOUtAS, LLP
ATTORNEYS AT LAW
                                The services performed by this Third-Party Defendant were done in accordance with the
NORTH .02 SEY
40 PATERSON
                        applicable standards of the engineering profession in existence at the time.
NEWERUNSV CN,NJ

SOUTH JERSEY
101 YdLTSEY'S MILL RD
SUITE 202
HAMMONTON,NJ




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                                                   TWENTY-EIGHTH SEPARATE DEFENSE

                              This Third-Party Defendant reserves the right to move to dismiss the Third-Party Complaint

                       on the grounds that it did not violate any of its professional obligations or duties as a licensed

                       professional of the State of New Jersey.

                                                    TWENTY-NINTH SEPARATE DEFENSE

                              At all times alleged, this Third-Party Defendant followed. plans, specifications and contracts

                       set by a governmental body and did not deviate from said plans, contracts and specifications and,

                       therefore, is cloaked with immunity.

                                                       THIRTIETH SEPARATE DEFENSE

                              Pursuant to N.J.S.A. 2A:1 5-59.1, this matter is a frivolous suit and this Third-Party Defendant

                       is entitled to damages for defending same.

                                                     THIRTY-FIRST SEPARATE DEFENSE

                              This Third-Party Defendant adopts by reference all Separate Defenses heretofore or

                       hereafter pled by Co-Defendant(s) and/or Defendants/Third-Party Plaintiffs, except insofar as such

                       Separate Defenses may make any allegations against this Third-Party Defendant.

                                                   THIRTY-SECOND SEPARATE DEFENSE

                              To the extent any pre-trial discovery may reveal the basis for additional separate defenses,

                       this Third-Party Defendant reserves the right to amend its pleadings to include same.



                                                                  COUNTERCLAIM

                              The Third-Party Defendant, Neglia Engineering Associates, by way of Counterclaim against

                       the Defendants/Third-Party Plaintiffs, Waterside Construction, LLC, 38 COAH, LLC, Daibes Brothers,

1QAGLNLONGO
MORAN,DUCT&
                       Inc., North River Mews Associates, LLC and Fred A. Daibes, says:
DOUHAS, LLP
ATTORNEYS AT LAW
                                                                   FIRST COUNT
NORTHJERSEY                                           (Negligence of Third-Party Plaintiffs)
40 PATERSON ST
PO BOX 480
NEW RWSO=,NJ
                              1.      Although the Third-Party Defendant, Neglia Engineering Associates, denies any
SOUTNJERSEi

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H MMONTON, NJ
                       liability whatsoever, it nonetheless asserts that any and all injuries and damages sustained by



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                     Plaintiff were the proximate result of the negligence of the Defendants/Third-Party Plaintiffs,

                     Waterside Construction, LLC, 38 COAH, LLC, Daibes Brothers, Inc., North River Mews Associates,

                     LLC and Fred A. Daibes, and demands dismissal of the Third-Party Complaint based on the sole

                     negligence of the Third -Party Plaintiffs as aforesaid.

                             WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands

                     dismissal of the Third-Party Complaint, together with interest, counsel fees, costs of suit, and such

                     other relief as this Court deems appropriate and equitable.

                                                                SECOND COUNT
                                                                (CERCLA Relief)

                             2.     The Third-Party Defendant, Neglia Engineering Associates, repeats and realleges

                     each and every allegation contained in the First Count as if the same were more fully set forth at

                     length herein and made a part hereof.

                             3.     The Defendants/Third-Party Plaintiffs, Waterside Construction, LLC, 38 COAH, LLC,

                     Daibes Brothers, Inc., North River Mews Associates, LLC and Fred A. Daibes, were the entities

                     retained by the Borough of Edgewater to effect an environmental cleanup project at the Veteran's

                     Field project site more particularly described in the Complaint and Third-Party Complaint (the

                     "property").

                             4.      The aforementioned property is a facility within the definition of "Facility" set forth in

                     Section 9601(9) of Title 42 U.S.C.A., otherwise known at the Comprehensive Environmental

                     Response Compensation and Liability Act of 1980, 42 U.S.C. § 9601, et seq. ("CERCLA").

                             5.     The Third-Party Plaintiffs, Waterside Construction, LLC, 38 COAH, LLC, Daibes

                     Brothers, Inc., North River Mews Associates, LLC and Fred A. Daibes, were negligent in the

                     maintenance, operation and security of said property, and caused the discharge of toxic materials as
HOAQLAAD,LONQO
DOUKANSDUNSrB
                     outlined by the Borough of Edgewater in its First Amended Complaint.
ATTORNEYS AT LAW

NORTH JERSEY                 6.      Third-Party Defendant/Counterclaimant, Neglia Engineering Associates, is entitled to
40 PATERSON ST
PO BOX 480
NEWDRLNSVA[J{,NJ
                     a declaration that it is not responsible for any clean-up costs and/or related damages incurred by the
SQUTHJERSEY

         Sp1LLR°     Third-Party Plaintiffs, Waterside Construction, LLC, 38 COAH, LLC, Daibes Brothers, Inc., North
HAMMONTON,NJ




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                      River Mews Associates, LLC and Fred A. Daibes, which may be incurred following resolution of the

                      instant lawsuit. This declaration includes but is not limited to any and all costs incurred as a result of

                      enforcement by either the United States Environmental Protection Agency, the New Jersey

                      Department of Environmental Protection, or any other governmental or quasi-governmental agency

                      or department.
                              WHEREFORE, the Third-Party Defendant/Counterclalmant, Neglia Engineering Associates,

                      requests that this Court enter a declaratory judgment against the Third-Party Plaintiffs, Waterside
                      Construction, LLC, 38 COAH, LLC, Daibes Brothers, Inc., North River Mews Associates, LLC and

                      Fred A. Daibes, to reflect that the Third-Party Defendant/Counterclaimant is not liable to the Third-
                      Party Plaintiffs for any clean-up costs that may be incurred following resolution of the instant lawsuit.
                                                                   THIRD COUNT
                                                    (Allocation Pursuant to New Jersey Spill Act)

                              7.       The Third-Party Defendant, Neglia Engineering Associates, repeats and realleges

                      each and every allegation contained in the First and Second Counts as if the same were more fully

                      set forth at length herein and made a part hereof.

                              8.       To the extent alleged by the Borough of Edgewater in its Complaint, the Third-Party

                      Plaintiffs, Waterside Construction, LLC, 38 COAH, LLC, Daibes Brothers, Inc., North River Mews
                      Associates, LLC and Fred A. Daibes, are responsible for the discharge onto, around, and/or into the

                      soil, subsoil and groundwater, at the subject property'and/or in the vicinity thereof, of hazardous

                      substances defined in the New Jersey Spill Act Compensation and Control Act, N.J.S.A. 58:10-

                      23.11, et seq. ("the Spill Act").

                              9.       The Spill Act provides, in pertinent part, that:
                                   Any person who has discharged a hazardous substance or is in any way
HOAOLAND.LON00
MMM1, DUNST &
                                   responsible for any hazardous substance, shall be strictly liable, jointly and
OQU AS,LLP                         severally, without regard to fault, for all clean-up and removal costs, no matter
ATTORNEYS AT LAW
                                   by whom incurred.
NORTHJERSEY

Pow   LNST

NEW ERL01SVUCI , NJ
                              WHEREFORE, the Third-Party DefendantlCounterclaimant, Neglia Engineering Associates,
SOLRHJERSEY           demands a finding of liability against the Third-Party Plaintiffs, Waterside Construction, LLC, 38
101 VN.TSEYS MLL RD
SUITE 202
HMQ,1ONTON, NJ




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                       COAH, LLC, Daibes Brothers, Inc., North River Mews Associates, LLC and Fred A. Daibes, pursuant

                       to the Spill Act and that the relative fault of the parties be apportioned.



                                                                  CROSSCLAIMS

                               The Third-Party Defendant, Neglia Engineering Associates, by way of Crossclaims against

                       Defendants, TERMS Environmental Services, Inc., Aluminum Company of America, A.P. New

                       Jersey, Inc., John Does 1-100 and ABC Corporations 1-100, says:

                                                                   FIRST COUNT

                               1.      Although the Third-Party Defendant, Neglia Engineering Associates, denies any

                       liability whatsoever, it nonetheless asserts that any and all injuries and damages sustained by

                       Plaintiff and/or Third-Party Plaintiffs were the proximate result of the negligence of Defendants,

                       TERMS Environmental Services, Inc., Aluminum Company of America, A.P. New Jersey, Inc., John

                       Does 1-100 and ABC Corporations 1-100, and demands contribution pursuant to the Joint

                       Tortfeasors Contribution Act, N.J.S.A. 2A:53A -1, et seq., and the Comparative Negligence Act of

                       New Jersey from Co-Defendants, TERMS Environmental Services, Inc., Aluminum Company of

                       America, A.P. New Jersey, Inc., John Does 1-100 and ABC Corporations 1-100, for the

                       proportionate share of any and all sums that may be adjudged against this Third-Party Defendant in

                       this action.

                               WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands a

                       judgment of contribution from Defendants, TERMS Environmental Services, Inc., Aluminum

                       Company of America, A.P. New Jersey, Inc., John Does 1-100 and ABC Corporations 1-100,

                       together with interest, counsel fees, costs of suit, and such other relief as this Court deems

HOAGLAND,LONGO
MORAN, DIiEST &
                       appropriate and equitable.
DOU<AS, UP
ATTORNEYS AT LAW

NORTH JERSEY
4D PATERSON .T
PO BOX 480
NEW BRUNS ACK, NJ

SOUTH JERSEY
701 Yl1.TSEY5 MLL RD
SUTE 202
HAMMONTON, NJ




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                                                                 SECOND COUNT

                               2.      The Third-Party Defendant, Neglia Engineering Associates, repeats and realleges

                       each and every allegation contained in the First Count as if the same were more fully set forth at

                       length herein and made a part hereof.

                               3.      Although the Third-Party Defendant, Neglia Engineering Associates, denies any

                       liability whatsoever, it nonetheless asserts that any and all injuries and damages sustained by,

                       Plaintiff were the proximate result of the negligence of Defendants, TERMS Environmental Services,

                       Inc., Aluminum Company of America, A.P. New Jersey, Inc., John Does 1-100 and ABC

                       Corporations 1-100, which negligence was primary and active, and if this Third-Party Defendant is

                       found liable to Plaintiff and/or Third-Party Plaintiffs with respect to said injuries and damages, such

                       liability resulted solely from secondary, imputed, vicarious or passive negligence, and Defendants
                       aforesaid are liable to this Third-Party Defendant, by way of common law indemnification, for any

                       and all sums which this Third-Party Defendant may be required to pay in this action.

                               WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands
                       judgment, by way of full indemnification, against Co-Defendants, TERMS Environmental Services,

                       Inc., Aluminum Company of America, A.P. New Jersey, Inc., John Does 1-100 and ABC

                       Corporations 1-100, for any and all sums which this Third-Party Defendant may be required to pay in

                       this action, together with interest, counsel fees, costs of suit, and such other relief as this Court

                       deems appropriate and equitable.
                                                                   THIRD COUNT

                               4.      The Third-Party Defendant, Neglia Engineering Associates, repeats and realleges

                       each and every allegation contained in the First and Second Counts as if the same were more fully
HOAG3LAND,LON00
MORAN,DUNSf&
                       set forth at length herein and made a part hereof.
DOUKAS, LLP
ATTORNEYS AT LAW               5.      To the extent alleged by the Borough of Edgewater in its First Amended Complaint,

PO   ox
NORTH JERSEY
         ONS1

NEW S'1X, NJ
                       the Defendants, TERMS Environmental Services, Inc., Aluminum Company of America, A.P. New
SOUTH JERSEY           Jersey, Inc., John Does 1-100 and ABC Corporations 1-100, are responsible for the discharge onto,
701 Y&&TSEY'S MLL RD
SUTE 202
HAMMONTON, NJ




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                        around, and/or into the soil, subsoil and groundwater, at the subject property and/or in the vicinity
                        thereof, of hazardous substances defined in the New Jersey Spill Act Compensation and Control

                        Act, N.J.S.A. 58:10-23.11, et. seq. ("the Spill Act").

                                6.        The Spill Act provides, in pertinent part, that:

                                      Any person who has discharged a hazardous substance or is in any way
                                      responsible for any hazardous substance, shall be strictly liable, jointly and
                                      severally, without regard to fault, for all clean-up and removal costs, no matter
                                      by whom incurred.

                                WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands a

                        finding of liability against the Defendants, TERMS Environmental Services, Inc., Aluminum Company

                        of America, A.P. New Jersey, Inc., John Does 1-100 and ABC Corporations 1-100, pursuant to the

                        Spill Act, and that the relative fault of the parties be apportioned.


                                                           ANSWER TO ALL CROSSCLAIMS

                                The Third-Party Defendant, Neglia Engineering Associates, by way of answer to any and all

                        Crossclaims, says:

                                This Third-Party Defendant denies each and every allegation contained in any Defendants'

                        Crossclaims and, therefore, leave Crossclaimants to their proofs.

                                WHEREFORE, the Third-Party Defendant, Neglia Engineering Associates, demands

                        dismissal of any and all Crossclaims, together with interest, counsel fees, costs of suit, and such

                        other relief as this Court deems appropriate and equitable.



                                                                NOTICE OF ALLOCATION

                                This Third-Party Defendant hereby advises that, if any Defendant settles the within matter
HOAGLAhD,LONGO

             `$         prior to conclusion of trial, the liability of any settling Defendant shall remain an issue and this Third-
AFrORNEYS AT LAW

      +JM
40 PATERSON ST
                        Party Defendant shall seek an allocation of percentage of negligence by the finder of fact against
PO BOX 480
N~"' O`" . NJ           such settling Defendant and/or a credit in favor of this Third-Party Defendant consistent with such
SOUTH     EY
701 WLTSEY' S ALL RO
SUTe2M                  allocation.
HAJNIAONTON, NJ




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                                                        REQUEST FOR DISCOVERY

                            PLEASE TAKE NOTICE that demand is hereby made of Defendants/Third-Party Plaintiffs for

                     complete compliance with Rule 26, for all discovery items/documentation.


                                                    DESIGNATION OF TRIAL COUNSEL

                            Please be advised that Daniel J. Cogan, Esq., has been designated as trial counsel on

                     behalf of the Third-Party Defendant, Neglia Engineering Associates, in the above-captioned matter.


                                                                  JURY DEMAND

                            The Third-Party Defendant, Neglia Engineering Associates, hereby demands a trial by jury in

                     accordance with Federal Rule of Civil Procedure 38.


                                               REQUEST FOR STATEMENT OF DAMAGES

                            PLEASE TAKE NOTICE that, in accordance with Local Civil Rule 8.1, the undersigned

                     requests that within ten (10) days of service hereof upon you, you serve upon us a written statement

                     of the amount of damages claimed in this action against this Third-Party Defendant, and against all

                     defendants, if these amounts differ.


                                                            HOAGLAND, LONGO, MORAN, DUNST & DOUKAS, LLP
                                                            Attorneys for Third-Party Defendant, Neglia Engineering
                                                            Associates


                                                            By:                /s/ Daniel J. Copan
                                                                               DANIEL J. COGAN
HOAGLAND,LONGO
MORAN,DUNSTS
                     Dated: February 27, 2015
DOUKPS,LLP
ATTORNEYS Al LAW

NORTH JERSEY
AO PATERSON ST
PO BOX 480
NEW BRLN& CK, NJ

SOUTH JERSEY
TIN MTSEYS MILL RD
SLOE 202
HAMMONTOM, NJ




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                                                             PROOF OF MAILING

                            I, Daniel J. Cogan, Esq., hereby certify that on this date that I.served via electronic mail and

                     ECF, a true and accurate copy of the within Answer to the Third-Party Complaint on behalf of Third-

                     Party Defendant, Neglia Engineering Associates, to the following:

                            Mr. William T. Walsh
                            Clerk, United States District Court
                            Martin Luther King, Jr. Federal Building and US Courthouse
                            50 Walnut Street
                            Newark, NJ 07102


                            I hereby certify that on this date that I served via electronic mail, ECF and regular mail, a true

                     and accurate copy of the within Answer to the Third-Party Complaint on behalf of the Third-Party

                     Defendant, Neglia Engineering Associates, to the following:

                        Timothy E. Corriston, Esq.
                        Connell Foley LLP
                        85 Livingston Avenue
                        Roseland, NJ 07068
                        Attorney for Plaintiff/Counter-Defendant,
                        Borough of Edgewater

                        Patrick Papalia, Esq.
                        Archer & Greiner
                        21 Main Street, Suite 353
                        Court Plaza South, West Wing
                        Hackensack, NJ 07601
                        Attorney for Third-Party Plaintiffs/Counter-
                        Claimants/Cross-Claimants/Cross-
                        Defendants/Defendants,
                        38 Coach, LLC, Daibes Brothers, Inc., North
                        River Mews Associates, LLC, Waterside
                        Construction, LLC and Fred A. Daibes

                        David R. Pierce, Esq.
                        Lindabury, McCormick, Estabrook
                         & Cooper, P.C.
                        53 Cardinal Drive
HOAQLANDi LONOO
MOR4NLP4ST&
                        P.O. Box 2369
                        Westfield; NJ 07091
ATTORIEYSATLAW
                        Attorney for Counter-Claimant/Cross-
NORTH JERSEY            Claimant/Cross-Defendant/Defendant,
40 PATERSON ST
POBOx4a0                Terms Environmental Services, Inc.
NEVl0R1JNER CK, NJ

SOUTH JERSEY
701 WLTSEYS MU RD
SUITE 202
HAIAUONTON,NJ




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                           Debra S. Rosen, Esq.
                           Archer & Greiner, P.C.
                           1 Centennial Square
                           33 East Euclid Avenue
                           PO Box 3000
                           Haddonfield, NJ 08033
                           Attorney for Defendants/Cross
                           Defendants/ Third-Party Plaintiffs,
                           38 Coach, LLC, Daibes Brothers Inc., North
                           River Mews Associates, LLC and Fred A.
                           Daibes

                           Michael E. Waller, Esq.
                           Kirkpatrick, Lockhart, Preston,
                            Gates & Ellis, LLP
                           One Newark Center, 10'' Floor
                           Newark, NJ 07102-5252
                           Attorney for Third-Party Plaintiffs/Counter-
                           Clai mants/Cross-Claimants/Cross-
                           Defendants/Defendants,
                           A.P. New Jersey, Inc. and Aluminum
                           Company of America




                               I certify that the foregoing statements made by me are true.   I am aware that if any of the
                        statements made by me are willfully false, I am subject to punishment.


                                                             HOAGLAND, LONGO, MORAN, DUNST & DOUKAS, LLP
                                                             Attorneys for Third-Party Defendant, Neglia Engineering
                                                             Associates


                                                             By:                Is/ Daniel J. Cogan
                                                                                DANIEL J. COGAN


                        Dated: February 27 2015



HOAOLAND,LONGO
MORAN, wiST 8
DOUKAS, LLP
ATTOR ►EYS AT LAW

NORTHJERSEY
40 PATERSON ST
Pq BOX 480
NEW BRUNRMCK, NJ

SOUTH JERSEY
701 WLTSEY'S MLL RD
CUTE 202
HMf ITON,NJ




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                                   EXHIBIT 8
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     Michael E. Waller
    William H. Hyatt, Jr.
    Karyllan D. Mack
    K&L Gates LLP
    One Newark Center, Tenth. Floor
    Newark; New Jersey 07102
     .Tel: (973) 848-4000
    Attorneys for Defendant. Alcoa Inc. and
    Alcoa Domestic LLC, as successor in.
    interest to Defendant A.P. New Jersey, Inc.
                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

     BOROUGH OF EDGEWATER,
                         Plaintiff,
            v.
    WATERSIDE CONSTRUCTION, LLC; 3°8                    Civil Action No.: 2:14-CV- 05060 (ES-MAH)
    COAH, LLC; DAIBES BROTHERS, INC.;
    NORTH RIVER MEWS ASSOCIATES, LLC;                    ANSWER TO FIRST AMENDED
    FRED A. DAIBES; TERMS                                COMPLAINT, AFFIRMATIVE
    ENVIRONMENTAL SERVICES, INC.;                        DEFENSES, COUNTERCLAIMS, AND
    ALUMINUM COMPANY OF AMERICA;                         CROSSCLAIMS
    A.P_ NEW JERSEY, INC.; JOHN DOES 1-
    100; and ABC CORPORATIONS 1-100,

                         Defendants.

            Alcoa Inc. (formerly known as "Aluminum Company of America") and Alcoa Domestic
    LLC, as the successor in interest to A.P. New Jersey, .Inc., (collectively "Alcoa") by their counsel
     K&L Gates LLP, answer the Plaintiffs First Amended Complaint as follows:
                                              THE PARTIES

            1.      Inasmuch as Paragraphs I =contains allegations related to a party other than Alcoa,

     Alcoa can neither admit nor. deny the allegations set forth in that Paragraph.
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            2.      Inasmuch as Paragraph 2 contains allegations, relatedto a party other          Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

            3.         Inasmuch as Paragraph 3 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph,
            4       Inasmuch as Paragraph 4 contains allegations related to a party other than Alcoa,,
     Alcoa cari neither admit nor deny the allegations 'set forth in that Paragraph:

             5..    Iizasmuth as Paragraph 5 contains allegations related to a party .other than, Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             6.        Inasmuch as Paragraph 6•.contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that .Paragraph,
             7,        Inasmuch as Paragraph 7 contains allegations. related to a party other than Alcoa,
     Alcoa can. neither admit nor deny the allegations set forth in that Paragraph.
             8.        Alcoa admits that Alcoa Inc. is a Pennsylvania corporation with offices at 20I
     Isabella Street, Pittsburgh, Pennsylvania 15212. Alcoa denies the remaining allegations set forth

     in Paragraph 8.
            -9,        Alcoa denies the .allegations set forth in Paragraph 9, but Alcoa admits that A.P.
     New Jersey, Inc. was a Delaware corporation that merged into Alcoa Domestic LLC, a wholly-
     owned subsidiary of Alcoa. Inc., in 2010.
             10.       Inasmuch as Paragraph 10 contains allegations related to a,party other than, Alcoa.

     Alcoa can neither admit nor deny the allegations--set forth in that Paragraph.,
             11.       Inasmuch as Paragraph 11 contains allegations related to a party other than Alcoa,.

     .Alcoa can neither admit nor deny the -allegations set forth in. that Paragraph.




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                                      :   i ISDICTION AND VENUE
             12.    Alcoa can neither admit nor deny the allegations_-set forth in Paragraph 12,

     inasmuch as it makes legal conclusions to Which Alcoa is not required to respond, and which may
     vary froni party to party.
             i3.    Alcoa can'neither admit nor deny the allegations set forth in Paragraph 13,.

     inasmuch as it makes legal conclusions to Which Alcoa is`not required, to respond and which may
     vary from party.
                 to party.

             14.    Alcoa can neither admit nor deny the allegations set forth in Paragraph 14,

     inasmuch as it makes legal conclusions to which Alcoa is not required to respond and which may,

     vary from party to. party,

             15.    Alcoa objects to the allegations contained in Paragraph 15    to.the extent that
     Paragraph states conclusions to which no responsive pleading is required;. Alcoa denies the

     remaining factual allegations .of Paragraph. .1 a except ta,admit that Alcoa conducts business in the.
     State of New Jersey.
                                              '   BACKGROUND

             16.     Alcoa denies knowledge or information sufficient     to form a belief as to the
     allegations contained in Paragraph 16.

             IT     Inasmuch as Paragraph 17 contains allegations related to a party other than Alcoa,

     Alcoa can. nit her admit nor deny the allegations set forth:in that Paragraph.

             is,    Alcoa denies knowledge or information sufficient to form a belief as to the

     allegations contained in Paragraph 18.

             19.    Alcoa denies knowledge or information sufficient to form a belief as to the

     allegations contained in Paragraph 19.


                                                        3.
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            2:a, Alcoa 4ehiesr knowledge or information sufficient to form a belief as to the
     allegations contained in Paragraph 20.
            21.     .Alcoa denies knowledge or information .sufficient to form a belief as tqlhe
     allegations contained in Paragraph 21.
            22.     Alcoa denies knowledge or informationsufficientoforni ai'iølif as, to:the
     allegations contained in Paragraph 22.

            23.     Inasmuch asParagraph. 3contains al1gationreiatea toapart
                                                                       aparty-:other than A1coa
     Alcoa ôan neither admit nordny the allegations set forth in that Paragraph.
            24.     Inasmuch as Paragraph 24 contains :I1ëgations related to a pArtyotherthaiiAlcoa-
     Alcoa can neither admit nor deny, the allegations set forth in that Patagtaph.
            25.     Inasmuch as Paragraph 25 contains allegations related to a party other than A1ca
     Alcoa can neither admit nor   deny the allegations   set forth in that Paragraph.
            26;     Alcoa denies knowledge or in formation                          a belief as to the
     allegations contained in Paragraph26
            27,     Alcoa denies knowledge or information sufficient to form a belief as to the
     allegations contained in Paragraph 27.
            28i     Alcoa denies knowledge or information sufficient , to form a belief as to the
     allegations contained in Paragraph 28.
            29.     Inasmuch as Paragraph 29 contains allegations related to a party ,other, than Alcoa
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            30,     Inasmuch as Paragrapb30.00utains. allegations related to a party other than Akc
     Alcoa can neither admit, nor deny the allegations set forth in that Paragraph.




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            31.     Inasmuch as Paragraph 31 contains allegations related to a party other than Alco,.
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

            32.     Inasmuch as Paragraph 32 contains allegations related to-a party other than Alcoa;
     Alcoa, can neither admit nor deny the allegations set forth in that Paragraph,
            33.. Alcoa denies knowledge or information suffcient. to form a`lelief as to the
     allegations; contained in,Paragraph 33.

            34.     Alcoa denies, knowledge or information sufficient toform abeliefas to the
     allegations contained in Paragraph 34.
            35.     Inasmuch as Paragraph. 35 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            36.     Inasmuch as Paragraph 36 contains allegations related to a party other than Alcoa;
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            37.     Inasmuch as Paragraph 37 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor .deny the allegations set forth in that Paragraph.
            38,     Inasmuch as Paragraph 38•contains allegations related to a party other than Alcoa;
     Alcoa can neither -admit nor deny the allegations set forth in that Paragraph.
            39:     Inasmuch as Paragraph 39 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            4Q      Inasmuch as Paragraph 40 contains allegations related. to a.party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            41.     Inasmuch as Paragraph 41 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.




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            42.     Inasmuch as Paragraph 42 contains allegations related to a party other than Alcoa,

     Alcoa can neither admit nor deny the allegations set forth. in that Paragraph.

            43.     Inasmuch as Paragraph 43 contains, allegations related to aparty:otherthan Alcoa;
     Alcoa can neither admit nor deny the allegations set forth in   that Paragraph,
            44.     Alcoa denies km.owledge- or information suf cieztt to forma belief as Ito the

     allegations contained in Paragraph 44:

            45.     Alcoa denieslcnowledge or information sufficient to forth a belief as to the

     allegations contained in Paragraph 45.

            46.     Inasmuch as Paragraph 46 contains all,gations related to. a: part ~yy, other than Alcoa,

     Alcoa can neither admit nor deny the allegations: set forth in that Paragraph.

            47.     Inasmuch as Paragraph 47 contains allegations related to a party other than Alcoa,

     Alcoa can, neither admit nor deny the allegations set forth in that Paragraph.

             48.    Inasmuch as Paragraph 48 contains allegations related to a party<other than Alcoa,

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             49.    Inasmuch as Paragraph 49:contains allegations related to a party other than. AIcoa,

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             50.    Inasmuch as Paragraph 50 contains allegations related to a party other than Alcoa,

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             51.    Inasmuch as Paragraph 51 contains allegations related to a. party    ather than..Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             52.    Inasmuch as Paragraph 52 contains allegations related to a party.©ther than Alcoa.

     Alcoa can neither adroit nor 'deny the allegations set forth in that Paragraph..
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             53.     Inasmuch as Paragraph 53. contains -allegations related to a party -other than Alcoa.
     Alcoa can neither admit nor deny the allegationsset forth in that Paragraph.

             54,     Inasmuch as Paragraph 54 contains allegations related to- a party other than Alcoa,

     Alcoa can nether-adniit nor deny the allegationss set forth in that Paragraph. Inasmuch as

     Paragraph 54contains faetua *llegations related to Alcoa, Alcoa denies knowledge:oor

     information sufficient to forma belief as to the allegations contained in that Paragraph.
             55.    . Alcoa. deniesthe-allegations set forth in. Paragraph 55, except Alcoa admits   that.at
     one time the site identified by Plaintiff *as.the "Alcoa Site" was owned by Alcoa Inc. and-A.P.
     New Jersey, Inc. and was conveyed to North River Mews Associates, LLC. in 1997. Inasmuch as;
     Paragraph 55 contains allegations, related to a party ,outer than Alcoa. Alcoa can neither 'admit

     nor deny the allegations set forth in. that Paragraph.
             56.     Alcoa denies the allegations set forth in Paragraph 56, except Alcoa admits that at
     one time the site .identified by Plaintiff as the "Alcoa Site" was owned by Alcoa lnp. and A.P.
     New Jersey, Inc. and was conveyed to North River Mews .Associates,. LLC in 1997. Inasmuch as

     Paragraph 56 contains allegations related to a party other than Alcoa. Alcoa can neither admit
     nor deny the allegations set forth in that Paragraph:.
             57_     Alcoa admits that NJDEP issued aRestricted.Use No Further Action Letter on or
     about February 12, 2003. Alcoa refers to the Restricted Use No Further Action Letter for the

     language therein and its exact meaning and effect. Inasmuch as Paragraph 57 contains
     allegations related to a party other than Alcoa, Alcoa can neither admit nor deny the allegations
     set forth in that Paragraph..
             5& .Alcoa refers to the Restricted..Use No Further Action Letter for the language
     therein and, its exact meaning. and effect.



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             59.      :Inasmuch as Paragraph. 59 contains allegations related to a party othertl au Alcoa;

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             60.      Inasmuch as Paragraph 60 contains allegations related to. a party other than Alcoa}

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             6.1.:    Alcoa refers to the, Deed. Notice for the language therein:and its exact meaning,
     a.

             62.
             62.      Alcoa admits that there was a building known as "Building 12" on the site

     identified by Plaintiff as the "Alcoa Site." Alcoa admits.that Building 12 was constructed;,

     parts out of concrete.

             63.      Alcoa refers to the Deed Notice for the language therein and its: exact meaning

     and effect. Alcoa denies that the Deed Notice required Alcoa to submit written certification to

     NJDEP of the maintenance :of.such institutional and engitieerng controls and that no changes:

     have occurred.

             64.      Alcoa refers to the Deed Notice for the language therein and its exact meaning

     and effect.

             65, Alcoa refers- to the Deed ,NOtite for tmrlanguage therein and: its .exact meaning

     and effect.

             66.      Inasmuch as Paragraph 66 contains allegations related. to aparty other than Alcoa,

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             67.      Inasmuch as Paragraph 67 contains allegations related to a:party other than;Alcia,

     .Alcoa can neither admit nor deny the allegations, set forth in that. Paragraph.
             68,      Alcoa denies knowledge or infor iation sufficient to form a belief as to the

     allegations contained in Paragraph 68.



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            69.     Inasmuch as-Paragraph 69-eoontains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            70.     Alcoa denies knowledge or information sufficient to form a beliefas ,to, tire,

     allegations containedin Paragraph 70.

            71;     Inasmuch as Paragraph 71 contains allegations r- elatedto aparty other tharn.•Alcoa,
     Alcoa can rieitheradmit nor deny the allegat ons 'set forth in that Paragraph. Inasmuch as

     Paragraph. 71 contains allegations related to Alcoa, Alcoa denies knowledge or information
     sufficient to form a belief as to the allegations contained in that Paragraph:.

            72.     Inasmuch as Paragraph 72 contains allegations related      to a party other than Alcoa,
     Alcoa- oan neither admit nor deny the allegations set forth in that Paragraph. Inasmuch as

     Paragraph 72. contains allegations related to .Alcoa, Alcoa denies knowledge or information

     sufficient to .form a belief as to the allegations contained in that Paragraph.

             73.     Inasmuch as Paragraph 73 contains allegations related to a party other than Alcoa;

     Alcoa can-neither admit nor deny the allegations set forth in that Paragraph. lnasm ch as

     Paragraph• 73 contains allegations related to Alcoa, Alcoa denies knowledge or information

     sufficient to form a belief as to the allegations contained in that Paragraph;.

            74.     Inasmuch as Paragraph 74 contains allegations related to a party other than Alcoa,

     Alcoa .can. neither admit nor deny the allegations set forth in that Paragraph.

            75.     Inasmuch as Paragraph 75 contains allegations related to -a party other than Alcoa,

     Alcoa can- neitheraclm   t nor deny the allegations set forth in that Paragraph.
             76,    Inasmuch as Paragraph 76 contains allegations related to a party other than Alcoa,
     Alcoa can.neiher admit nor deny the allegations set forth in that Paragraph.:




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            77.        Inasmuch. as Paragraph 77 contains allegations related to a party other than Alcoa,

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph,

             78.       Inasmuch as Paragraph 79 contains allegations related to a party other than Alcoa,

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph,

             79.       lnasmtich as Paragraph 79 contaiM allegations related to a party:other than Alcoa,

     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             8o,       inasmuch as Paragraph 80 contains allegations related to••a.party other than.Alcoa,

     Alcoa can neither.admit nor deny the allegations .set forth in that    Paragraph,
            .81.       Inasmuch as Paragraph 81 contains-allegations related to aparty other: than Alcoa,

     Alcoa cab. neither admit not deny the allegations- set forth in that   Pvagraph,
                                              COUNT I
                                   Contribution under the Spill Act
              (as to Waterside, Fred Daibes, Daibes Brothers, 38 COAH, North River, ALCOA,
                       TERMS, AP., John Does 1-10.0 and ABC Corporations 1-100)

             82..      Alcoa repeats and re-alleges with the same .force and effect as if set forth here in

     full its answers to each and every allegation contained in each paragraph incorporated' by

     reference in Paragraph 82, of the First Amended Complaint.

              3.       Alcoa refers-to N.LS. A, § 58 :10-23.11 f(a)(2) for the language therein and its

     exact meaning and effect.

             84,       Alcoa can neither admit nor deny the allegations in Paragraph 84 inasmuch as it

     makes Iegal conclusions to. which Alcoa is not required to respond and which may vary from

     party to party.

             85.       Inasmuch, as Paragraph 85 contains allegations related to a party other than Alcoa,

     Alcoa can neither admit nor deny, the allegations set forth     in that Paragraph.



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             86.    Inasmuch as Paragraph 86 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             87.    Inasmuch as Paragraph 87 contains allegations related to a party other than Alcoa,
     Alcoa:'can neither admit nor deny the allegations set forth in that Paragraph.
             88.    Inasmuch as Paragraph 88 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny`the allegations set forth.:in that Paragraph.
             89.    Inasmuch as Paragraph 89 contains allegations related to a party other than Alcoa,.
     Alcoa. can neither admit nor deny the allegations set forth in that Paragraph.
            90.     Alcoa objects to the allegations contained in Paragraph 90 as that Paragraph states
     conclusions' to which no responsive pleading is required. Alcoa Inc. admits that it is a
     corporation organized under the laws of the Commonwealth of Pennsylvania.
            91.     Inasmuch as Paragraph 91 contains allegations: related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in. that Paragraph,
            92.     Alcoa objects to the allegations contained in Paragraph 92 as that Paragraph states.

     conclusions to which no responsive pleading is required. Alcoa admits that A.P. New Jersey,
     Inc. was a Delaware corporation that merged into Alcoa Domestic LLC, a wholly-owned
     subsidiary of Alcoa Inc., in 2Q10.
            93.     Inasmuch as Paragraph 93 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor denythe allegations set forth ,in.that Paragraph.
            94.     Inasmuch as Paragraph. 94 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph.




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             95.    Alcoa de       knowledge or information'sufficient to form a belief as to the
     allegations containedin.-Paragraph 95 and refers to Spill Act Section 58:10=23.1 lb, N.J.S.A.

     § 58:10-23.1`1b for'thelanguage.therein.and its ezact.meaning.and.effect.,

             96.    Alcoa denies Iwowleddge or information sufficient to forma belief as to the
     allegations contained in Paragraph 96 arid: refers to Spill Act Section 58:10-23..11 b, N.J.S.A.
       58:10-23.1 lb for.the language therein and its exact meaningand effect,

             97.    Inasmuch as Paragraph 97 contains allegations ±elated to a party other than Alcoa,
     Alcoa, can. neither admit not deny the allegations set forth in that Paragraph.
            9S.     Inasmuch as Paragraph 98 contains allegations related to aparty other than. Alcoa;
     Alcoa can-neither admit nor deny the allegations. set forth in that Paragraph.
             99..   Inasmuch as Paragraph 99 contains allegations related to a party other than Alcoa,
     Alcoa can neither admit nor deny the allegations set forth in that Paragraph,
             100. Inasmuch as Paragraph 100 contains allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             101. Inasmuch as Paragraph 101 contains allegations related to a.party' other than.
     Alcoa, Alcoa can neither: admit nor deny the allegationsset forth in that Paragraph.
             1.02. Alcoa denies that' it is. a "discharger" or "person in any way responsible for a
     discharged hazardous substance" within the meaning of Spill Act Section 58:10-23.1 lf(a)(2),

     N.J,S.A, § 58:10- 23.11f(a)(2).

             103. Inasmuch as Paragraph 103 contains allegations related to a party other than
     Alcoa, .Alcoa can neither admit nor deny the allegations , set forth in that Paragraph.




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             104., Alcoa denies that A.P, New Tersey; Inc. is a "discharger" or `person in any way
     responsible for a discharged hazardous substance" within the meaning of Spill Act
     Section 5$;10-23.11f(a)(2), N.7.S.A. § 58:10-23.11f(a)(2).
             L05`. Inasmuch as Paragraph 105 contains allegations related.to, a party other than
     Alcoa, Alcoa can neither admit nor:deny the allegations' set firth in that Paragraph,
             106. Inasmucbas Paragraph 106.coti iii allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             107 Alcoa denies knowledge or information sufficient to form a belief as to the
     allegations, contained in Paragraph 107.
             108. Alcoa denies that. Plaintiff is entitled to contribution from Alcoa Inc. or A.R. New
     Jersey, Inc. for investigation or remediation costs Plaintiff has incurred or will incur or for which
     Plaintiff is deemed liable. Inasmuch as Paragraph 108. contains allegations related to a party
     other than Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
     Nonetheless. Alcoa denies that Plaintiff is entitled to .the relief described in that Paragraph..
                                             COUNT II
                                  Cost Recovery under CERCLA
       (as to Waterside, Fred Daibes, Daibes Brothers, 38 COAH, North River, ALCOA -A .P.,
                      TERMS, John Does 1-100 and ABC Corporations 1-100)

             109. Alcoa repeats and re-alleges with the same force and effect as if set forth here in
     full its answers to each and every allegation contained in 'each paragraph incorporated by
     reference in Paragraph 109 of the First Amended Complaint,

             110. Alcoa refers to Section 107(a)(4)(B) of CERCLA, 42 U.S.C. § 9607(a)(4)(B), for
     the language therein and its exact meaning and effect,
             tL l , Alcoa refers to Sections 107(a)(1) and 107(a)(4)(B) of CERCLA, 42 U;S.C.
     §'9607(a)(1), (4)(B), for the language therein and its exact meaning and effect.

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             112, Alcoa refers to Sections 107(a)(2) and I07(a)(4)(B) of CERCLA, 42 U.S.C.

     § 9607(a)(2), (4)(B), for the language therein and its exact meaning and effect._

             113. Alcoa refers to Sections 107(a)(3) and 107(a)(4)(B) of CERCLA, 42 U.S.C.

     § 9.607(a)(3),, (4)(B),,fortthe language therein and its exact meaning and effect.

             114. Alcoa refers to Sections 107(a)(4) and 107(a)(4)(B) of CERCLA, 42 U.S.C.

     §:9607(x)(4),• (4)(B), for the language therein and its exact meaning and effect.

            115.    Alcoa•can neither admit nor deny the allegations set forth in. Paragraph 11.5,

     inasmuch as it makes legal conclusions to which Alcoa is not required to respond and which may
     vary iom party to party. Alcoa admits that Alcoa Inc. is a.corporation organized under the laws

     of the Commonwealth of Pennsylvania. Alcoa admits that A.P. New Jersey, Inc. was a, D.eTaware

     corporation that merged into Alcoa Domestic LLC, a wholly-owned subsidiary of Alcoa Inc., in.

     2010, Inasmuch as. Paragraph 115 contains allegations related to a party other than Alcoa, Alcoa

     can neither admit nor deny the allegations set forth in that Paragraph.

             116. Alcoa denies that either Alcoa Inc. or A.P. New Jersey, Inc. are owners andlor

     "`operators" of Veteran's Field within the meaning of Section 101(20) of CERCLA, 42 U.S.C.

     § 9601.(20). Inasmuch as Paragraph 116 contains allegations related to a party other than Alcoa,.

     Alcoa can.neither admit nor deny the allegations set forth in that Paragraph.

             ill. Alcoa denies that either Alcoa Inc, or A,P.. New Jersey ; Inc. arranged, by contract,

     agreement, or otherwise, for disposal of hazardous substances at Veteran's Field. Inasmuch as

     Paragraph 117 contains allegations related to a, party other than Alcoa, Alcoa can neither admit

     nor deny the allegations set forth in that Paragraph..
             118. Inasmuch as Paragraph 118 contains allegations related to- a party other than.

     Alcoa, Alcoa can neither admit nor deny the allegations, set_ forth in that Paragraph,



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             119. Alcoa denies knowledge or information sufficient to form a belief as to the,

     allegations contained in Paragraph 119;.
            120 Alcoa denies, knowledge or information sufficient'to forma belief as to the

    -allegations contained in Paragraph 120.

            121. Alcoa denies that either Alcoa Inc. or A.P, New Jersey, Inc. are liable under
     CERCLA as persons. who at the time of disposal of any hazardous; substance owned or operated

     any facility at,whi'ch hazardous substances were disposed,
            122. Alcoa denies that either Alcoa Inc. or A.P, New Jerseyjnc.: are.liable under
     Section 107(a)(3) of CERCLA, 42 U.S.C. § 9607(a)(3), as persons who by contract, agreement,.
     or otherwise arranged for the disposal or treatment of hazardous substances.
             123. Inasmuch as Paragraph 123 contains allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             124. Alcoa denies that Plaintiff is entitled to .recovery from Alcoa Inc. or A.P. New
     Jersey, Inc. for its costs of response incurred in connection with Veteran's Field. Inasmuch as
     Paragraph 124 contains allegations related to a party other than Alcoa, Alcoa can neither admit
     nor deny the allegations set forth in that Paragraph. Nonetheless, Alcoa denies that Plaintiff is
     entitled to the relief described in that Paragraph.
                                               COUNT III.
                                   Breach of Contract (as to Waterside);-

             125, Alcoa repeats and re-alleges with the same force and effect as if set forthhere in
     full its answers to 'each and every allegation contained in each paragraph incorporated by
     reference in Paragraph 125 of the First Amended Complaint.
             126, Inasmuch as Paragraph 126 contains allegations related to .a party other than
     Alcoa, Alma can neither admit nor deny the allegations set forth in that Paragraph.

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             127. Inasmuch as Paragraph 127 contains allegatioris,related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations: set forth in that Paragraph.
             128. Inasmuch as Paragraph 128 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set'ffrth in that Paragraph.
             129;   inasmuch as Paragraph 129 contains allegations related to a party other than
     Alcoa, Alcoa, can 'neither ,admit nor deny the. allegations set forth in that Paragraph.

             130. Inasmuch as Paragraph 130 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph. „

             .131. Inasmuch as Paragraph 131 contains allegations related-to a party otherthan

     Alcoa, Alcoa can neither admit nor deny the. allegations-set forth in that - Paragraph.

             132. Inasmuch as Paragraph 132 contains allegations related-to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth it that Paragraph.

             1.33. Inasmuch as Paragraph 133 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             134.   Inasmuch as Paragraph 134 contains allegations related, to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             135. Inasmuch as Paragraph 135 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth    in that Paragraph.
             136_ Inasmuch as. Paragraph 136 contains.allegations related       toga party otherthan
     Alcoa, Alcoa can neither   admit nor deny the allegations set forth in that Paragraph.
             137. Inasmuch as Paragraph 137 contains allegations related to a party other than

     Alcoa, Alcoa can neither adroit not deny the. allegations set forth in that Paragraph.




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             138. 'Inasmuch as Paragraph 138 contains allegations related to ,a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph,

            139 Inasmuch as Paragraph 139 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph,

             140:. Inasmuch as Paragraph 140 contai is allegations. related to :a party other than

     Alcoa, Alcoa=can neither,admit nor deny the-allegations set forth in that Paragraph.

             141. Inasmuch as Paragraph 141 contains allegations.related to aparty other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in fihat,l?aragraph.

             142. Inasmuch as Paragraph 142 contains allegations related to a party other than

     Alcoa,.. Alcoa can neither admit nor deny the allegations set forth in that Paragraph

             143. Inasmuch as Paragraph 143 contains allegations related to aparty other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph,

             144. Inasmuch as Paragraph 144 contains allegations related to aparty other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             145, Inasmuchas Paragraph 145 contains allegations related to a party other than

     Alcoa, Alcoa can,neither adrnit nor deny the-allegations set forth in that Paragraph.
                               ~




             146. Inasmuch as Paragraph 146 contains allegations related to aparty other than

     Alcoa, Alcoa can neither admit .nor deny the allegations set forth in that Paragraph.

                                                 COUNT IV
                                   Fraud as to Waterside and'.Fred..baibes)

             147. Alcoa repeats and re-alleges with the same force and effect as if set forth herein

     full its answers to each and every allegation contained, in each paragraph incorporated by

     reference in Paragraph 1.47 of the, First Amended Complaint.




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             148. Inasmuch-as. Paragraph 148 contains allegations. related to a party other than
     Alcoa, Alcoa can neither adnnit nor deny the allegations :set forth in that Paragraph.
            149. Inasmuch as Paragraph 149 contains, allegations related to a party other than
    Alcoa: Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             150. Inasmuch as Paragraph 150 contains allegations related to a party other than
    Alcoa, Alcoa, can neither admit nor - deny the legations set forth in that Paragraph.
            151. Inasmuch as Paragraph 151 contains allegations related to a party other than
    Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             152. Inasmuch as Paragraph 152 contains ..allegations related to :a party other than
    Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.:
             153, Inasmuch as Paragraph 153 contains allegations related to a party other than
    Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            154: Inasmuch as Paragraph 154 contains allegations related to a party other than
    Alcoa, .Alcoa can neither admit. nor deny the allegations set forth in that Paragraph.
             155. Inasmuch as Paragraph 155 contains allegations related to a party other than
    Alcoa, Alcoacar<'neither admit nor•deny the allegations set forth in that Paragraph,
                                                COUNT V
                                        Negligence (as to Waterside)

             156. Alcoa repeats and re-alleges with the same force and effect.as if set forth here in
    full its answers to each and every allegation contained in each paragraph incorporated by
    reference in Paragraph 156. ofthe First Amended Complaint,
            15;7. Inasmuch. as Paragraph 157 contains allegations related to-a party other than.
     Alcoa; Alcoa cati neither admit nor deny the allegations set forth in that Paragraph.



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             158. Inasmuch as°Paragraph 158 contains allegations related tea party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             159 Inasmuch,as ~ Paragraph 159 contains allegations related to••a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.,

             160: Inasmuch as Paragraph 1 60 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             161. Inasmuch as Paragraph 161 contains. allegations related to a party other than

     Alcoa, Alcoa can neither adroit nor deny the allegations set ffrtlh in that Paragraph.

             162. Inasmuch as Paragraph 162 contains..allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph-

                                            COUNT'VI
                  Unjust Enrichment (as to Waterside, ALCOA,A.P. and 38 COATS

            163'. Alcoa repeats and re-alleges with the same force and effect as if set forth here in

     full its answers to each and every allegation contained in each paragraph incorporated by
     reference in. Paragraph 163 of the First Amended Complaint.

             164, Inasmuch asParagraph 164 contains allegations relatedto          a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph, Inasmuch as

     Paragraph 164 contains allegations related to Alcoa, Alcoa denies knowledge or information

     suffi cient to form a belief as to the allegations contained in that Paragraph.
             165. loasuiuch as-Paragraph 165 contains allegationsrelated to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in    that Paragraph. Inasmuch as
     Paragraph 165 contains allegations related to Alcoa. Alcoa denies the allegations contained in

     that Paragraph:.




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             166. Alcoa denies knowledge or information sufficient to forma belief as to they

     alIegati+ ns-:contained in Paragraph 166.
             l7. _ Alcoa denies knowledge or information sufficient to, fon         ma belief   as,to-the

     allegations contained. in Paragraph 167.

             168. Alcoa can nether admit nor deny the allegations set forth in Paragraph 168,

     inasmuch as it makes legal conclusions to which Alcoa is .not required to respond .and which may

     vary from party to party.

             169.    Alcoa object to the.allegations containedinParagraph 169 as that Paragraph states

     conclusions to which no responsive. pleading is required..Inasmuch as Paragraph 169 contains

     allegations related to a party other than Alcoa; Alcoa can neither admit nor deny the allegations

     set forth in that Paragraph. Nonetheless; Alcoa denies that Plaintiff is entitle. d to the -relief
     described in that Paragraph.

                                                   COUNT VII
        ' iolations of the New Jersey Consumer Fraud Act (as to Waterside and Fred Daibes)
             P70. Alcoa repeats and re-alleges with the same force and effect as if set forth here in
     full its answers to each and every allegation contained in each paragraph incorporated by
     re erence, in Paragraph 170 of the First Amended Complaint.
             `171: -Inasmuch as Paragraph 171 contains allegations related to a party other than.,
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             172. Inasmuch as Paragraph .172 contains allegations related`tor        it patty   other tl i=
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph„
             173, Inasmuch as Paragraph 173 contains allegations related to a. party other than

     Alcoa. Alcoa can neither admit nor deny the. allegations .set forth in that Paragraph,



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             174: Inasmuch as Paragraph 174 contains llegatio ~s related to a party other than
     Alcoa, Alcoa an neither admit nor deny the allegations set forth in that Paragraph..

             175 Inasmuch as Paragraph I75contains: allegations related to a party other diaa

     Alcoa, Alcoa can neitheradmit nor deny the allegations set forth in that Paragraph,

             176.. Inasmuch as Paragraph 176 contains. allegations related to a party other than

     Alcoa: Alcoa can neither -admit nor deny the allegations set forth,in that Paragraph.

             177. Inasmuch as Paragraph 177 contains allegations related to party-other than

     Alcoa, Alcoa can neither admit nor deny the. allegations set forth in that Paragraph,
             178. Inasmuch as Paragraph 178 contains allegations related to a party other than-

      lcaa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             179, . Inasmuch as Paragraph .179 contains allegations related. to a party other than

     Alcoa, Alcoa can neither. admit nor deny the allegations set forth in that Paragraph.

            18a., In asmuc h as Paragraph 180.contains allegations related to aparty other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             181, Inasmuch as Paragraph 181 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             182. Inasmuch. as Paragraph 182 contains allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             183. Alcoa denies that contaminated fill materials imported to the Site carne from the
     fformer Alcoa Site. Inasmuch as Paragraph 183 contains allegations related to a.party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph_

             184. Inasmuch as Paragraph 184 contains allegations related to a party other than

     Alcoa, Alcoa can neither;ad lit nor deny the allegations set forth in that Paragraph.



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             185. Inasmuch as Paragraph 1:85 contains-allegations related to a party other than
     Alcoa, Alcoa can neither admitnor deny the-allegations set forth in that.Paragraph.
             186. Inasmuch as Paragraph 186 contains. allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that.Paragraph.
             187. Inasmuch as Paragraph 187 contains allegations related to a party other than
     Alcoa, Alcoa can neither ,admt nor deny the allegations set forth in that Paragraph.
            18.8. Inasmuch as Paragraph 188 contains allegations related to a _party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            189. Inasmuch as Paragraph 189. contains allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            190. Inasmuch as Paragraph 190 contains allegations related to a party other than
     Alcoa, Alcoa can neither adniit.nor deny the allegations set forth in that. Paragraph.
            191. Inasmuch as Paragraph 191 contains allegations related to a, party other than
     Alcoa, Alcoa canneither admit nor deny the allegations set forth in that Paragraph.
            192. Inasmuch as Paragraph 192 contains allegations related to aparty other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
            193. Inasmuch as Paragraph 193 contains allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.
             194. Inasmuch as Paragraph 194 contains, allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.




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                                              COUNT VI11
                                    Breach of Contract (as to TERMS)

             195. Alcoa repeats and re-alleges ~vitb the same force and, ef'ect:as if set forth heroin

     :full its answers to each and every allegation contained in each paragraph incorporated by

     reference in Paragraph 195 of the First Amended Complaint.

             196. Inasmuch Paragraph 196 containa allegations related to aparty:other than

     Alcoa; Alcoa can, neither admit nor deny the allegations set forth in that Paragraph.

             197. Inasmuch as Paragraph 197 contains allegations related to aparty other than

     Alcoa, Alcoa can neither admit nor deny the allegations. set forth in that Paragraph.

             198. Inasmuch as Paragraph 198 contains allegations related to a party other'tl an

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

             199. Inasmuch as Paragraph 1.99 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations. set forth in that Paragraph.

            200. Inasmuch as Paragraph 200 contains allegations related to a party other than
     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

            201. Inasmuch as Paragraph 201 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph.

            202. Inasmuch as Paragraph 202 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph:.

            203.    Inasmuch as Paragraph 203 contains allegations related to a party other than

     Alcoa, Alcoa can neither admit nor deny the allegations set forth in that Paragraph,

             204. Inasmuch as Paragraph 204 contains allegations .related to a party other than

     Alcoa. Alcoa can neither admit nor deny the allegations setforth in that Paragraph..




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             20$. Inasmuch as Paragraph 205 contains allegations related to a party other than.
     Alcoa, Alcoa canneither- admit nor deny the allegations set forth in that Paragraph.

            206: Inasmuch as Paragraph 206 contains allegations reiated to a party other ttian
     Alcoa, Alcoa, Can neither admit nor deny the allegations set forth in "that Paragraph.
                                                 COUNT IX.
                                          Negligence (as to TERMS)

            °207. Inasmuch 4 Paragraph 207 contains allegations related to aparty other than

     Alcoa, Alcoa can neither admit nor deny the allegations -set forth in that Paragraph.

            2O8. Inasmuch as Paragraph,208 contains, allegations related to a party otherthan
     Alcoa, Alcoa`oan,neither admit nordeny the allegations.set forth in that Paragraph..
             209. Inasmuch as Paragraph 209 contains allegations related to .a party other than

     Alcoa, Alcoa can nei ther ,admit nor deny the allegations, set forth i.n that Paragraph.

            210, Inasmuch as Paragraph 21:0 contains allegations related to a party other than

     Alcoa, .Alcoa can neither admit nor deny the allegations set forth in that Paragraph. Alcoa

     objects to the allegations contained in Paragraph 210 as that Paragraph states conclusions to

     which no responsive pleading is required. Nonetheless,: Alcoa denies that Plaintiff is entitled to

     the relief described in. that Paragraph.
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                                        AFFIRMATIVE DEFENSES

                                     :FIRST AFFIRMATIVE.DEFENSE
             Plaintiff's, First Amended , Complaint fails to state a claim upon which relief can be

     granted against Alcoa.
                                   SECOND AFFUU TIVE DEFENSE

             Plaintiff's claims-are barred, in whole or 'in. part;. by reason of laches, estoppel, waiver,
     -consent, unclean hands, resjudicata, and/or other equitable defense . s.
                                       C i si 1     9              t

             The applicable statute or statutes of limitations or other applicable law, rule, statute` or
     regulation.00ntrolling or requiring the institution of suit within a certain period of time following
     its accrual,, was not complied with by Plaintiff, for some or all of Plaintiff's. alleged costs;

     accordingly, Plaintiffs claims are barred as a matter of law.

                                   FOURTH AFFIRMATIVE DEFENSE

            The First: Amended Complaint does not describe the claims made against Alcoa with

     sufficient .particularity to determine what defenses may apply and Alcoa reserves the right to
     assert additional affirmative defertes as -discovery. progresses. Alcoa adopts and incorporates

     herein all defenses =raised by any other current Defendants and/or future Defendants or Third-
     Party Defendants, except to the extent that such defenses would shift liability to Alcoa:

                                     FIFTH AFFIRMATIVE>DEFENSE

             Alcoa has acomplete. defense to any liability under the Comprehensive Environmental
     Response Compensation and Liability Act, 42 U,S.C. § 9601 et seq. ("CERCLA") pursuant to

     CERCLA § 107(b)(3), 42 U.S;C. § 9607(b)(3), inasmuch as the alleged release or threatened

     xelease was caused solely by the acts or omissions of unrelated; third parties who were not agents



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     or,employees.of Alcoa and with whom Alcoa had no contractual relationship; Alcoa exercised

     due care as to any alleged hazardous substances; and Alcoa took precautions against foreseeable

     third-party acts or omissions, arid a gain st the foreseeable consequences of such acts or

     omissions; within the meaning of,CERCLA 107(b), 42 U.S.C. § 9607(b).

                                    SIXTH AFFIRMATIVE DEFENSE

             Plaintiff has no claim under CERCLA because Plaintiff- has failed to establish a prima

     facie .ease'agaiinst Alcoa.

                                   SEVENTH AFFIRMATIVE DEFENSE

             Plaintiff has no claim under CERCLA' because Alcoa and A.P. New Jersey, .Inc. are not

     covered persons within:the meaning of CERCLA.

                                   EIGHTH AFFIRMATIVE DEFENSE

             "Hazardous substances," as defined in CERCLA § 101(14), 42 U.S.C. § 9601(14) were

     not released into the environment by Alcoa within the meaning of the word "release" as defined

     in CERCLA § 101(22), 42 U.S.C.. § 9601(22). Even if there were "hazardous substances," as

     defined in CERCLA § 1.01(14), 42 U.S.C, .§ 9601(14) released into the environment by Alcoa

     within the meaning of the word ".release" as defined in CERCLA § 101(22), 42 U.S.C.

     § 9601(22),. which Alcoa denies, the release did not affect the. Veteran's Field site that is the

     subject of this Action.

                                    NI1~1TH AFFIRMATIVE DEFENSE '

             The costs incurred or to be incurred by Plaintiff and which Plaintiff seeks to recover in

     this action are not recoverable to the extent that they are not necessary costs of response

     consistent with the National. Contingency Plan.




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                                    TENTH ,AFFIRMATIVE DEFENSE

             Plaititifhas failed to allege or establish the required nexus between. Alcoa and the
     Veteran's Field site that is the subject, of this Action;
                                 ELEVENTH A:FFMIATIYE .DEFENSE

             Plaintiff's claims'are barted'to the extent that Plaintiff did not comply with the statutory

     and/or regulatory prerequisites necessary to brim a CERCLA action
                                  TWELFTH AFFIRMATIVE DEFENSE

             To the extent that any or all of the. Defendants are found .liable in this matter, joint and
     -several liability is. inappropriate because the harms are divisible andthere are reasonable bases
     for apportionment of the harms suffered.
                                 THIRTEENTH--AFFIRIVIATWE DEFENSE

             Plaintiff has no claim under the Spill Compensation and Control Act, N,J.S.A.:§ 58:10-
     23,1 1 et seq. (" Spill Act" or "Act") against Alcoa because neither Alcoa nor A.P. New Jersey,

     Inc. are dischargers and/or responsible persons within the meaning of the Act. and/or Plaintiff's
     damages, if any, are the result of conduct occurring prior to the effective date of the Spill Act,
                                FOURTEENTH AFFIRMATIVE DEFENSE

             Plaintiff s claims are barred to the extent that Plaintiff did not comply with the
     requirements and prerequisites of the Spill Act.
                                  FIFTEENTH AFFIRMATIVE DEFENSE

             Itt the revert that Plaintiff is entitled to contribution from Alcoa under the Spill Act, such

     relief is limited to " clean :up and removal costs" as defined atN.J.S.A. § 5810-23b.




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                                SIXTEENTII AF.F'IR 1 ATIVE DEFENSE              ;




            Plaintiff's claims are barred by the-statutory defenses to:.liability provided by the Spill

     Act.




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                                              COUNTERCLAIM

            Defendant Alcoa. Inc. (formerly known as "Aluminum Company of America"), , a
     Pennsylvania corporation having its principal place of business at 390. Park Avenue, New , York;
     New York 10022-4608, and Alcoa Domestic LLC, a Delaware limited liability company having

     its principal place of business at 201 Isabella Street, Pittsburgh, Pennsylvania 1521.2-5858 ; . as the
     successor in interest toDefendaiit A.P. New Jersey, Inc., (collectively "Alcoa") by their counsel
     K&L Gates°LISP, byway of Counterclaim against the Plaintiff,.Borough of Edgewater, say

                1.   this.counterelaim: arises under federal lawn, 42 U.S.C. § 9613(f). The United
     States District Court has original jurisdiction over this counterclaim pursuant to 28 U.S.C.

     § 1331..

             2       This court has supplemental. jurisdiction over Alcoa's state law counterclaims

     pursuant to 28 U.S.C. §:.1367(a) because=Alcoa',s state law counterclaims are related to the same

     case or controversy as Alcoa's.counterclaim-for contribution under 42 U.S.C. § 9613(f)..

                3.   Plaintiff has consented to personal jurisdiction in this court by filing its First

     Amended Complaint.
            4.       Plaintiff has consented to venue in this court by filing its First Amended

     Complaint. venue is also proper in this court pursuant to 42 U.S.C. § 9613(b), as the alleged

     release or damages occurred in this district. Furthermore, a substantial part of the actions or

     omissions giving rise to this counterclaim occurred in this district.

                5.   While continuing to deny the material allegations of tbeFirst Amended

     Complaint, Alcoa hereby demands indemnity and contribution pursuant to all applicable laws,.

     including but not limited to, 42 U.S.C. § 9613(f), N.J.S.A. § 58:10-23.11 etseq.,.N.J.S.A.

       2A:15-5J et seq. and/or N.J:S.A. § 2A:53A-1 eVseq. from Plaintiff for a proportionate share. of



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     costs, damages, or other loss or harm, if any, for which Alcoa may be; held liable, or which it
    may in the future incur, related to the Veteran's Field site because, upon information and belief,
    materials requiring cleanup and removal or:response action under state and federal

     environmental laws were present at the Veteran's Field site as a result of acts, omissions or other
     legal responsibility of others, including Plaintiff, its employees, agents or affiliates.




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                                                   CROSSc LAIMS

                Defendant Alcoa Inc. (formerly known as "Aluminum Company of America"), a

     Pennsylvania corporation: having its, principal. plac e. ofbusiness at 390 Park Avenue, New York,

    New York 10022-4608, and Alcoa Domestic LLC, a Delaware limited liability company having

     its principal place of business at 241 Isabella Streets Pittsburgls;. Pennsylvania 15212-5858, as. the.

     successor in interest. to , Defendant A.P. New Jersey, Inc:, (collectively Alcoa") by their counsel

     K&L Gates LLP, by way of Crossclaina against the•Defendants, Waterside -Construction, LLC

     ("Waterside"), 38 COAH, LLC ("38 COAH"), Daibes Brothers, Ine. ("Daibes Brothers"), North
     River Mews Associates; LLC ("North River"), Pred.A. Daibes ("Daibes"), TER.MS,

     Environmental Services, Inc, ("TERMS"), John Does 1-100, and ABC Corporations I-100, say

                                           JURISDICTION AND VENUE

                i,    These crossclaims arise under federal law, 421J.S.C. § 9613(1). The United

     States District Court has original juurisdicti'on over these crossclainispursuant to 28 U.S.C.;

     §1331,

                2.     This court has supplemental jurisdiction over Alcoa's state law crossclaims

     pursuant to 28 U.S.C. § 1367(a) because Alcoa's state lawcrossctaims are related to the same

     case or controversy as A.lcoa's crossclaims for contribution under, 42 U.S.C. § 9613(1).

                3      Defendants Waterside, 38 COAH, Daibes Brothers, North River, and TERMS are

     conducting business in the State of New Jersey and/or coonducted business in the State of New

     Jersey during the relevant time period, ,and-haveor had sufficient contacts -with the State of New

     Jersey to be subject to the jurisdiction of this court. Upon information and belief, Defendant

     Daibes is domiciled in the State. of New Jersey, and thus is subject to the jurisdiction of this

     court...



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             4,      Venue is proper in this court pursuant to 424 U$.C..§ 9613(b), as the alleged

     release or damages,,,occurred in this district. Furthermore, a substantial part of the actions or

     omissions givingriseito these crossclaims occurred in this district,

          -CROSSCLAIMS FOR STATUTORY AND COMMONLAW CONTRIBUTION

            5:      While continuing to deny the material allegations of the First Amended

     Complaint, Ajooa hereby demands indemnity and contribution pursuant to all applicable Taws;
    including but riot limited to, 42 U.S,C. §9613(1), N;1.S.A, § 58:10-2.3.11.et s q:, N.J.S.A.

      2A:15-5.1 et seq. and/or N.J.S.A. § 2A:53A-1 et seq. from Defendants Waterside, 38 COAH,

     Daibes Brothers, North River, Daibes, TERMS, John Does 1 -100, and ABC Corporations 1-100

     for a proportionate share of costs. ; damages, or other loss or farm, if any, for which Alcoamay be

     held liable,, or which it may in the future incur, related to the Veteran's Field site because, upon

     information and belief, materials requiring cleanup and removal or response action       under state.
     and federal environmental laws were present at the Veteran's Field site as a result of acts.

     omissions or other legal responsibility of others, including Defendants Waterside, 38 COAH,

     Daibes Brothers, North River, Daibes, TERMS, John Does 1-100, and. ABC Corporations 1-100,

    their employees, agents or affiliates.

                                      CROSSCLAIMS FOR NEGLIGENCE

                    Alcoa repeats and incorporates herein by reference the allegations set forth in

     Paragraphs 1.through 5 of these Crossclaims as if set forth more fully herein,

             7.     As alleged in the First Amended Complaint, Defendants Waterside, 38 COAH,

     Daibes. Brothers, North River, Daibes, TERMS, John Does I-100, and ABC Corporations - 1-100

     caused or permitted fill. material that 3they knew or should have known to be contaminated to be

     trausported,t or disposed at the Veteran's Field site in violation of applicable lays.



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            $,        Defendants Waterside, 3 COAH, Daibes Brothers, North River, Daibes,,

     TERMS, John Does.1 -1.00, and ABC Corporations 1-100 had a duty of care to ensure that the fill

     material in their possession or control that was transported to or disposed at Veteran's Field was

     not contaminated.

            `9.       Defendants Waterside, 3 8 COAI-i; Da bes Brothers, North River, Daibes,.

     TERMS, John Does. 1-100. andAB;C".Corporations 1 -100 breached.that duty of Care When they

     caused contaminated 1 iaterialto:be transported toy.or disposed at Veteran's, Field.

             10.       Although Alcoa continues to deny the allegations that contaminated fill material

     transported to or disposed at Veteran's Field originated at the Alcoa Site as defined in the First

     Amended Complaint, to the extent jt. is shown that Defendants Waterside, 38 COAH, Daibes,

     Brothers, North River, Daibes, TERMS,: John.Does 1-100, and ABC Corporations I-100 caused

     contaminated fill material from the Alcoa. Site to be transported to or disposed at Veteran's Field,

     Alcoa and A.P. New Jersey, Inc. are part of an identifiable class that,would suffer damage as the

     natural and probable consequence of that breach of duty.

             11        As a direct and proximate result of the breach of duty by Defendants Waterside,.

     38 COAH, Daibes Brothers, North River, Daibes, TERMS, John Does 1-100, and ABC

     Corporations I-100,,Alcoa has suffered damages in an amount to be determined at trial,

                                  CROSSCLAIM FOR BREACH OF CONTRACT

                  (as Between Alcoa Domestic LLC, as successor in interest to Defendant A.P. New
                       Jersey, Inc., and Defendant North River. Mews Associates, LLC)

             12.       Alcoa repeats and incorporates herein by refereneethe allegations set forth in

     Paragraphs I through 11 of these Crossclaims as-if set forth more fully .herein

             13.       On or about June 27, 1997, Defendant A.P. New Jersey, Inc. ('A.P.") and

     Defendant North River Mews Associates, LLC ("North River"), among other parties, entered


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     into a valid contract (the Multi-Party Property Acquisition Agreement"), pursuant     to :which
     North River agreed to buy certain property (the "A.P. Property") in the: Borough of Edgewater

     from A.P. A copy of the Multi Party Property Acquisition Agreement is annexed hercto, as

     E i.ibit A.

             14.    Pursuant to Paragraph 2 of the Multi-Party Property Acquisition Agreement,

     North River agreed to demolish and remove structures on the A.P. Property. North River further

     agreed that this -demolition and removal would be completed inmaccordance. with theRemedial

     Action Workplan submitted to the New Jersey Department of Environmental Protection.and with

     the demolition plan reviewed and approved by AP.

             15,    Although Alcoa continues, to deny tfie allegations that contaminated fill material

    transported to or disposed at Veteran's Field originated at the •Alcoa Site as defined in the First

    Amended Complaint, to the extent 'it is shown. that any Defendant caused contaminated fill

     material from the Alcoa Site to be transported to or disposed at Veteran's Field, such

    transportation. or disposal constitutes a breach of the Multi -Party Property Acquisition

     Agreement by North River.

             16.    A.P. has duly performed all of its.obligations under the Multi-Party Property

     Acquisition Agreement.

             17.    As a direct and proximate result of North River's breach of contract, Alcoa

     Domestic LLC, as successor in interest to A.P., has suffered damages in an amount to'be

     determined at tzaI,
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                                     CROSSCLAIM FOR INDEMNIFICATION

                (as :Between Alcoa Domestic LLC,       as
                                                   successor in interest to. Defendant A.P. New
                     Jersey, Inc.,
                                 and Defendant North River-Mewsl Associates, LLC)

             1°$.    Alcoa repeats and incorporates herein by reference the allegations set forth in

     Paragraphs "I through 17 of these Crosselai.ms as if set forth more fully herein:.

             19.     Pusuautto,paragraph 16 of the °Multi-Party Property Acquisition Agreement;

    North River agreed to. defend and save A.P. harmless from any.and all claims arising from the

     performance of that Agreement: North River fir Cher=agreed to reimburse. A.P. for the cost of any
     legal, expert, or other fees expended by .A.P.. arising from such claims.

             20.     On or about June 1997, A.P. and North River entered into a valid contract (the

     'Purchase and Sale Agreement"), pursuant to which A.P. agreed to sell the A.P. property to

    North River. A copy of the Purchase and. Sale Agreement is annexed hereto as Exhibit B.

             2.1:    Pursuant to paragraph 7(f) of the Purchase and Sale Agreement, North River

     agreed to indemnify, defend, and hold A.P. harmless from any and all claims, including all

     foreseeable and unforeseeable consequential damages related to. North. River's (or, during North

     River's ownership of the A.P. Property, any operators' or third parties') use of the A.P. Property

     _and/or any and all activities related thereto.

             22.     Pursuant to paragraph 7(g) of the Purchase and Sale Agreement, North River

     expressly released and agreed to waive all rights it may have to seek contribution from A.P. for

     any response costs or claims that may arise as the result of the actions or inactions of A.P. or any

     previous-owner. or operator of the A.P. Propertyrelating to Hazardous Substances, as defined.in

     the Purchase and Sale Agreement.

             23.     On or about March 13, 1999, A.P. and North Rverr, among other parties', entered

     =into a valid contract the `xEnvironniental Indemnity Agreement"), pursuant to which North River


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    :agreed to indemnify. defend,. and hold A.P. harmless,from any and-all claims, including: all

     foreseeable and unforeseeable consequential damages, occurring before, during, or afterNorth

     River's ownership of the A.P.    Property, relating to Building 12 and the land under and adjacent
    thereto including remediatioti and disposal    costs - and expenses. related to PCBs. A copy of the
     Environmental Indemnity      Agreement is annexed hereto as Exhibit C.
            24.      Although Alcoa continues to_ deny the allegations that oontaininated fill material

    transported to , or disposed at Veteran'=s Field. originated   at the Alcoa Site as defined in the First
     Amended     Complaint or originated specifically at Building 12,'to the extent it is shown that any
    Defendant caused contaminated fill material from the Alcoa Site or Specifically         from Building 12
    °to be transported   to or disposed at Veteran's Field, Alcoa Domestic LLC, as successor in. interest
    to A.P., is entitled to indemnification   in an amount to be determined at trial from North River for
     any costs, expenses, or liability borne by Alcoa arising, from such transportation or disposal,

            25       Alcoa. Domestic LLC, as successor in interest to A.P, is entitled to reimbursement

     from North River for the cost of any legal, expert, or other fees expended: by Alcoa arising from

     such transportation and disposal.




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     Dated., Noveinber`21., 2014
                                                Respectfully submitted,
                                                K&L. GATES LLP

                                                $y: Is/ Michael.E: Wallet
                                                   Michael E. Waller
                                                    William H. Hyatt, Jr.
                                                    Karyllan D. Mack
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                                                   karyllan.mack@klgates.com

                                                   Attorneys for Defendant Alcoa Inc. and
                                                   -Alcoa Domestic LLG, as successor in
                                                   interest to DefendantA,P. New Jersey,
                                                   Inc.




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          I hereby certify that the.malter iricOntroversy is not the .subject of any other action
    pending in any court, or of any pending arbitration or administrative proceeding.


    Dated: November 2I, :2014




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                                                                                                          .   .I ,




                        KULTI-PARTY PROPERTY ACQUISITION AGREEMENT

             tI$ACRiEMENTmadetbis _ Z                    dayof ___     (Jfl

             BETWEEN:              A.P.W JERSEY. INC,
                                   aNewJetsey ($rporatlon
                                   (hereinafter called
                                               I

             AND:                  COUNTY OF BERGEN
                                   A Body Pohtic and forpoite
                                   of the State ofNew Jersey
                                       eiaIled the           unt

             AND.,                 NORM RIVER MEWS +SSOCIATES, LL.C.
                                   a New Jersey Limited 14ab1ity Company
                                   (iereinafter called "North Rvcr)

                                   RIVER ROAD IMPROVEMENT PRASE It,
                                   A New 5eeyCorpoialion
                                   (hereinafter called tbc"RRIP")

                                              WIT N E S S E T H:

                     WBEREAS, North River is Th fee ownerandJQr conlmct o'rn er 4f certain lands

             und 6l r dewtopimcAt or subject to plans or development, such lands being qdJacent   OTIII


             proximity to a segment of River Road (Phase II) located in the Borough olEdgewater.

             County of Bergen, State of New Jersey as designated on a County plan eit1cd "Ehaw II

             River Road's; and

                     WIREAS,thevdous projects a developinent have been orre 'M the

             process of being designed and/or approved by the Bergen. County Plan* Board and

              Borough ofEdgewar:inconnecdon with Phase fl River Joaand

                     V,BEREAS, said Bergen County approvalsprovide far certain            to be

              p& formed portions of Phase Ii River Riad, indudingthe extension,
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              improvetflcnt of segments ofarne, as set fort onct1.aln. preliminary plans prpatd by

             the County of Bergen; and

                      WHEREAS, the. work for Phase II River Road is set forth in hat certain

              Agreerient dated Novembeci, 996 between the :rough .of.Edgewattr, County of

              Bergen and Edgewater Residential Conirnumty, L L C (hereinafter ca:lled "ERC"), and

                      WREREAS, the project is known as New R iver Road (Phase II) and-involves the

              construction and recobstruction.ad realignment along portions of exsti*ig.River Road

              and the acquisition of certain other properties currently owned or under contract of

              pihasbyERC to faeilitte the n ewaligninent to construct                                and

              publlc,facilities; and

                      W1{ER.EAS, it bas been deiminedby the respective governingbodies of the

               ormigh of Edgewater and County of Bergen that portions of exi s ting River Road ancL

              improvements thereon are unsightly and detrimental to the re-deveoprnexit ofdt6 area,

              intluding, without limitation, areas. at the intersection of River Road and DeØey,

             Avnne, areas in the vicinity of the post office Mail Bag Facility axd.reas in pródmity

              to the former Alcoa plant and BinghaintonComplex including on ,si1cdtionE,,its

              improvements ,entrances and exits; and

                      WHEREAS, the execution of the Phae II River Road plans, ~nvolveg

             participation and cooperation by the County of Bergen, the Borough of Edgewater and

              ERC to perform required work as set forth on the County Plans;-and

                      WHEREAS, the Borough. of Edgewater has by j

              1996, approved and endorsed the conceptual Coonty plan entitled l'hase II River Road'

              dd.Jy3O, 1995,, consisting        Sheets 1 through 4, for the redesigning atideigrmeat.

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                of:apoPjon of          Road (Phase IT) by the , County of Bergen, which redesign and



!1              realignment is the subject matter hereof; and

                       WHEREAS,. ERC has agreed
                                         agreedto .perform the work referred to in the Phase 11

                RiverRoaTd pknsand ii accordancewith construction plans to be prepared by Boswell

                Engineering Co: (the Boawell Plans"), such work commencing at the northerly property

                line of Hess 011 located on River Rqad oith:u. and including its ntersectión with Route

                5, extending to a point appromately sixty (60) feet north of said Intersection, all of

                which work shall be completed an accordance with the Boswell Plans And , specifications

                and approved by the County of Bergen; and

                       WJiEREAS,m addition to the work set forth an the Tn-Parte Agreement between

                the Borough of Edgewater. County .oiEergen and ERC, certain other work is deenfed,

                necessary by the County of.B.ergen to. fully execute and safely implement the Phase II

                River Road plan including, without limitation:

                       a)       Road improvements per the Boswell Plans;

                       b)       Relocation of utilities, sewer, water, gas, electric.;

                       c)       Traffic .siaiization, relocation and new installations;

                       d)       Demolish and removal and/or relocation of buildings and structures within

                                or in close proximity of the proposed tight of way of Phase II River Road;

                       e)       Removal, remediation, and abatement of conditions, structures or other

                                iinprovementswhih, in the opinion of the County negatively impactee.

                                the efficient and safe movcmeiils of vehicular and pedstnan traffic on

                                ?h1andPhasefl River Road.


I




    IN                                                          3
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                    'In connection with the above objectives and criteria, the County has taken into its

             planning consideration the public elementary, school in close proximity to River Road and

             Russell Avenue, (the Alcoa property), as well as the residential areas-surrounding. same,

                     WffEREAS EEC has agreed to acquire and convey or cause to be conveyed and

             dedicated for roadway purposes to the County of Bergen,. by Deed of Easement and/or

             conveyance in.fee, the right of way for road purpo?es asset: forth in the Phase II River

             Road plans, to the following. propeities:

                             1..    Lands comprised of the former Right of Way of the Susquehanna

                                    Railroad abutting the Binghamton Complex and the Alcoa

                                    Property C'AP?') on both sidesof Russell Avenue and existing

                                    River Road in the general vicinity of the Alcoa property ("AP.")

                                    on River Road;

                            1       Lands comprised of the PMG Realty Associates, L.L.C. property,

                                    formerly known as the 3. Fletcher Creamer Property, and access

                                    easement abutting existing River Road;

                            3.      Lands comprised of the former Right of Way of the Susquehanna

                                    Raihoadabutting the US. Postal Mail Bag Repair Facility and

                                    existing River road;

                            4.      All right-of-way required through properties of the Borough of

                                    Edgewater, the current Municipal Parking Lot, the Department of

                                    Public Works Garage Property, the Ferry Plaza Building, the

                                    property owned by Ferry Bank Associates, L2 property owned

                                    by Borough Associates, L.P. (formerly Ferry Plaza North), and

                                                           4
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                                       A&D Marine, Inc.. and including the Route 5 River Rand:

                                       intersection and extending to a point approximatel sixth+ (0) feet
 s

                                       northerly of said intersection and- as shown on the Phase IH .River

                                       Road plans; and

                        WER.EAS,.cettai t properties required for the roadway improvement, as set

                forth on the Phase II River Road- plan:„; are not under the control or current ownership. of

                the County or ERC and require acquisition by the County, North River; or ERIC"

                respectively, and specifically property owned,,by A.P., also known as Alcoa property and.

                buildings, the U.S. Postal Mail Bag Facility,,arnd the Ferry Plaza Office and Retail

                Building; and.

                        WHEREAS, ERC has agreed to contribute the snm of 3;S5 ,tz98`.4Q to the

                Borough and County jointly toward the-acquisition of such properties (excepting the A.P;.
                property) and the constriction of segments of the new roadway. (Phase II River Road) and

                further to give the County an appropriate guarantee, Letter of Credit, Bond or similar

                security in form and content satisfactory to Bergen County Counsel, for the performance

                of the roadwork and ancillary work contemplated herein and set forth on the Phase II

                River Road plans and the Boswell Plans, drawings and specifications and approved by

                the County of Bergen; and

                        WHEREAS, the County, as a-parliicipant, agrees to contribute a total sum.of

                $5,000,000 for the purposes of road construction and inspection, including the sum of

                $.1,000,000 for such other public and private, costsrelated te the acquisition.,

                reconstruction and - mspection of ancillary facilities of New River Road (Phase II) which

                funds shall be disbursed to the Borough and ERC for such use; and.

                                                               5
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                    'WHEREAS, the road co nstruction by ERC shall also include segments of New

             River. Road (Phase II) extending, from the. Route 5/River Road intersection to an area at

             the property north of Oil Co. and.exi sting River Road, as set forth on the County

            _plans and the Boswell construction plans and specifications; and
                         EREAS, the County has determined that the demolition and removal, of the

             structures> upon the Ad' property are required.for the efficient and safe movement of

             vehicular and pedestrian traffic,; and said demolition and removal is in the best interest of

             the generat public Fand region as a whole; and

                    WHEREAS, A.$!, has agreed to pay RRip, as set forth in this Agreement, for the.

             demolition; removal and reaneediatiion of the structures on the.A.P. property provided,

            however, that the funds shall be administered and disbursed by the County of Bergen; and

                       er that.°said demolition, removal. and remediation:is supervised,, inspected
             provided fuxh

             and guaranteed by the County of Bergen; and

                    WHEREAS, A. P_ and the County, as a condition to said funding. shalt review and

            approve the demolition and remediation plan prepared byRRIP         and approved by New
            Jersey Department of Environmental Protection ("DEP'), which =shall, -when completed

             and :approved, provide and guarantee to A.P. and Alcoa the issuance of a No Further

             Action letter from DEP in form acceptable to A.P.

                    NOW, THEREFORE, in consideration of the premises and of such mutual

            promises covenants and undertakings, the parties hereto agree as follows:

                    I. AP agrees to sell and North River agrees to buy that property located on

            River Road in the Borough of Edgewater known as the "Alcoa Property; as more fully

            described. in the Purchase andSale of Real Estate Agreameiit.


                                                          C
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                     2.      North River and RRIP agrees that They will cause to be demolished and

              removed from the Al' property all structures and-improvements currently :existing on the

              property. Said demolition and removal shall be completed in accordance withthe•

              Remedial Action Workplan submitted to the DEP and the demolition plan tcviewed and
             approved by AP.

                     3,      Al' agrees to pay to-RRIP the turn of` 9,5OO,OOO for the demolition and

              removal ofthe structures as described in paragraph 2 above, In addition, Al' agrees   to
              pay to RitII' costs of disposal of PCB-contaminated material (PCB conceritrations greater

              than 50 ppm) at approved TSCA landfills, if those disposal costs exceed 5250;00040 up
              to a maximum of $2,500,000.00. APs total liability for demolition of the ;structo        and
              disposal of waste material will not exceed SI 2,000,000,00.

                     4;      The County shall supervise the demolition of the A:P. property and shall.

              administer .tthe disbursement of funds to RRIP With the :funds provided to it by A.P. A.P.,

              upon the execution of this Agreement, shall make an initial deposit with the County of.

              Bergen in the .sum of $2,000,000 to be disbursed in accordance with the terms of this

              Agreement. The RRIP shall make periodic equisittonsfordemolition. removal and the

              related work completed,. and said requisitions shall be ft nded'at a minimum. of once per

              month, or more frequently as the approved demolition and removal schedule may require.
              Upon satisfactory monthly inspections, the County shall, upon notice to A.P., forthwith

              authorize the disbursement of funds to RRIP.

                     Al' will provide additional funds to the County of Bergen    in the.amouni of, and
              upon receipt of approved requisitions from RRIP for work performed on the demolition
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             and removal of the structures. AP shall continue to provide funds to the County of

             Bergen until the County of Bergen has received suffcient-funds to satisfy AP's liability

             to RRIP for thedernorition and removal of the structures.

                    5.      The acquisition of the A.P. property and the demolition, removal and.

             remediatiotlofthe A.P. (Alcoa) buildings and structures shalt be peri'ormed,atthe same

             time as constrOction of New River Road (Phase 11) which shall- be perlbrsiied by ERC or

             itsaage ts; .m:ie rdance with the Boswell Piaadspecifications4

                    6.      Upon commnencement.of the roadway construction and_apon the request of.

             Bergen County, A.P and North River shall execute Deeds of Easement or fee title (at the

             County's option) .slid. make such Right of Way. dedications in. favor of the County as. may

             be required to implement the Phase'Il River Road plans in the general area of the,A.?...

             property on existing River Road

                    7.      It is. the intent of the parties that the excess portions of land acquired by

             the County :and purchased by North River or ERC shall be deeded and/or abandoned by

             the County to North River. or ERC. All legal formalities to accomplish this will be

             implemented. by the County in an expeditious manner.

                            AP shall fund the demolition;rejnoval and .remediation . as set forth in

             paragraph 4 of this Agreement. The construction and reconstruction of segments of New

             River Road (Phase Ii) shall be the sole responsibility. of ERC and the County jointly,

             pursuant to the Developer's Agreement dated November 1, 1996, as amended.

                    9..      RRIP shall deposit with the Countv.of Bergen a Performance Bond or

             Letter of Credit in an amount over and above the estimated demolition costs of

             $12,0010,000. Said bond of RRIP to the County of Bergen shall be in form approved by

                                                                                                            'I
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                Betgen,County Counsel's office and it shall fully guarantee the demolition and removal

                costs afihe A P buildings and structures in "a manner and schedule previously approved

                by DEP; the County; and AX..

                        10.,   The County guarantee tóAP that. the demolition -and removal of the A?

                                      will be completed as prc,yided In the theRemëdialAction
                •strqctteatd building will

                Workplan and the approveddemolition plait This guarantee is effctive an enforceable

                only if AP isnöt in.defautt of its obligations selforth Inpara graph • 4 ofthisAgrtetnent

                        11.    The County of Bergen. RRIP and North River agrèetó re-use the rubble

                from the d4molished tructnresthatare nototsminatedwith PCB's greater than 50•ppm

                in accordance with applicable New Jersey laws.

                       .12.    ERC agrees that portions of the various drainage facilities which are

                constructed within the area,- adjacent to the County Roa4I sbal[i:be. conveyed to. and

                become the property of the County, and the County may make such other drainage

                connections thereto as it may desire, provided that such other connections shall not

                interfere or negatively impact on proper drainage of the lands of the ERC.

                        13,    The County shall from time to time, but not less than two times per month,

                be respqnsible for the periodic inspection of the work performed by ERC and RRJP. All

                costs and. expenses of such inspections shall bc paid by RRIP and shall be over and above

                the estimated cost of demolition, removal and rernedintion of A.P. property. RRIP shall

                request inspections of completed work by-the County at least. five (5) days prior to

                disbursement of funds attributable thrreto The requisitions for payment of completed

                work shall be made by RRIP to the County With notice to A.P.Approval by the County

                shall be required prior to fiedingsid..uisition.


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                        14,     RRIP sttall:notify the DER, County Department of Public Works and

                Cotu ►ty Engineer, in: variting, at least five (S) days friar to the commencement of.any

                •demolition, removal orremediation work affecting the A,P, property and to the extent

                required, the commencement of construction of segments of (Phase II) New River Road

                at The intersection of Russell Avenue and River Road,

                        I5:     Upon the execution of this Agreement by RRIP and the County, RRIP

                shall" within thirty (30) 'days; fttrr ish to the county; vitli a copy Eta A ,P ,the demolition,

                removal and..remediat on plans and schedules, Same are to be prepared by RRIP in

                conjunction with the approved environmental. consulta.nt.and engineer. Said plans shall

                be approved by DEP, A.P..-and the County.

                        16.. It is understood and              that North River and RZP shall defend and,

                save the County and A.P. harmless from any and all claims that may be filed in any Court'

 `              arising from the performance of this Agreement. In connection with the defense of any

                claim, the County and A.P. shall be entitled to select their own counsel: The County and

                A.P. shall fully cooperate in any such litigation provided, however, that neither the

                County nor A.P:. shall be under any obligation to expend any funds for any purpose

                whatsoever'in connection with such litigation. Should the County or A.F. be named as a

                party:in.any=court, administrative or other action or proceeding, North River and RRIP

                agree to reimburse the County and/or A.P. (as applicable) fgrthe cost of any legal, expert

                or other fees-expended by the County and/or A.P. in. such -actiotror proceeding.

                        17.     Incorporated herein and made a part hereof are the following documents:

                a) :the.Developer's Agreement between ERC and Bergen County;



                                                                10
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             b)- the Joint Reports, with rererence to site plan nos. 2618 R-1 and 23.66 R.-t;

             c) the joint Report requirements of other developments which will participate in Phase

                H River Road reconstruction, including without limitation, A&D Marine, PMG

                Realty, LLC, Kings Ferry, Inc., Ferry .Bank.Associates, Borough: Associates, L.P.,

                North River Mews Residential Development (A.P.) and others, including the owners

                of property known asItho U.S, Mail. Bagand Ferry Plaza Building;

             d) the R.esolution of the Borough dated September 16,. 1996, which authorizes, inter alia

                the Borough's participation in Phase II and the commitruento promptly cooperate in

                the aquithion of properties necessary to complete Phase II RiverRnad and. the other

                improvements set forth on the County Plans;

             e) Ithe Boswell Plans approved by the County of Bergen identified as follows:

                                      "River Road Improvements Phase ii"
                                               Construction Plans
                                Bergen County, Borough of Edgewater, New Jersey
                                               Sheets I through 4
                                                Job No. 96-215

             as may be revised from time to time upon the mutual consent of the parties.

                    18.     This project involving, the .A.P. property, shall be designated, for all intents

             and purposes,as an element of.a local governmental improvement project with North

             River, RRIP, and County as participants.

                            The County, ERC, and North River shall review and approve the Phase U

             River Road design by Boswell and shall obtain all approvals and permits required for the

             construction of the Phase H. New River Road segment, and specifically nermits from HE

             utility companies involved or affected by the roadway improvements.




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                            In this connection RRIP, asontractor, shall paitIcipae in and coordinate

            the etTorts of the County and Borough of Edgewater with respect to the uti!lty companies

            and .ay 6ther permits or approvals which are required to demolish the A.P. bui1digsand

            structures and to construct New, Rivet Road Phase II segment

                    20.     AP will cooperate 'with the Counly,its eginnOn!tat, 'a4 RRIP
            inverseeing. the peformance of the demolition, removal and rernedlation work.

                    21.    'This A      xnentshallbebinding on the parties hereto andtheirhcirs

            execuors1 administrators, successors and assigns.

                    22.     All parties heretohvethe requisite power andàuthorit' to enter into this

            Agreement and it is the intention of the parties to be bound by the   terms-hero-of mc
            execution and delivery of this Agreement is valid and binding upon the parties hereto and

             he genuineness of any and all corporate resolutions execnted'nay'be assumed to be

            genuine by the parties' in receipt there

                    23.     This Agreement may be executed in any number of counterparts, each of

            which when executed and delivered shall constitute an original of this Agreement, but all.

            such counterparts shall constitute, one and the same litstwtnt




                                                        1.2
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                       IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the.

    —V
                       day atnd year first above written,.

                       Witness:                                          A   . NEW JERSEY,. INC.
                                                                  By..
                                                                         KEVIN L. MCMGHT, Vice-President


                       Witness:                                          COUNTY OF BERGEN


                                                                         WT-LLI    P. SCHUBER
                                     CAROL GURTEL
                               NOTAFIY PUBLIC OF NEW JERSEY              County Executive
                               MyCommission Expires Aug.11,1998

                       Witness,                                          NORTH RIVER. MEWS ASSOCIATES,


                                                                   Y
                                                                         North River Mews, Inc., Managing Member
                                                                         FRED A. DAIBES, President
i        s
                      Witness:                                           RIVERROAD IMPROVEMENT PHASE I1,


                                                                   Y.
                                                                         FRED A. DAISES, President
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            IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the

            day and year first above written.

            Witness:                                       A.P. NEW JERSEY, INC.


                                                           KEVIN L. MCKNIGHT, Vice-President


            'Witness:                                      COUNTY OF BERGEN

                                                    BY=
                                                           WILLIAM F. SCHUBER
                                                           County Executive


                                                           NORTH RIVER MEWS ASSOCIATES,


                                                    Byt
                                                                                 .,    aging Member
                                                           FRED A. DAIBES, President

            Witness:                                       RIVER ROAD IMPR VEMENT PHASE U,
                                                f




                                                           FRED A. DALES, President.




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I!!           STATE OF NEW JERSEY -

              COUNTY OFBER.GEN
                                                      ),
                                                      )
                                                            .:SS



                     RE IT REIYlE GEIRED that on this 2 4th day of Jun e

              31997,bcforemethosubscriber, A NOTARY PUBLIC-                  of the State of New Jersey
                                    WrLJIAfl P. S IUBER
             personally appeared/who bemg :yrne ciuly sworn, did depose a make proof to iiy
                                                Executive
             satisfaction thatbe is the County/         of the County ofEergerr Body Politic

             and Corporate of the State of New. J=qy;,4d*Mxx-t zxzxzxzxzxz4j1htk

               7ç? 77        7Y7xxzzirzxxzPf                                  that the execution, as weIl,

             as the making of this Instrument 1asbendu1y authorized by a proper Resolution of the

             Board of Chosen Freeholders of theCounty of Bergen; that deponent well knows that

             corpott seal of said County of Bergen; and that the seal at5xed to said Iiistrtñtient is

             such corporate seal and by the said Wil ii am, p. Schiiher., as ad;fdEhisyoltjt1-

             act and deed and as and for the voluntary act and deed of the said County of Bergen.




             Sworn and subscribed to before me
             this .- day of      Ctr1—t.




                          --i ,--1
                              CAROL GURThL
                       NOTARY PUBLIC Of NEW JERSEY
                      My Commission Expire Aug. ii, 1998


C                                                          14
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            STATE OF NEW JERSEY
                                                   }       sS
            COUNTY OF BERGEN


                    $E IT REMtEMBERED that on this, „ day of

            1997, before me the subscriber, Kevin I.. McKnight of the Commonwealth of

            ,Pennsylvania, personally appeared who being by me duty sworn,, did depose and make

            proof to my satisfaction that he is the Vice-President of A . NEW JERSEY, INC., the

            Corporationnarned in the within'instrument;

            that the execution, as well as the making- of thisinstrument ha* been duly authorized by a

            proper Resolution of the Board of Directors of said Corporation; and that the sealafffxed

            to said instrument signk-and , delivered by said President as for the voluntary act and

            deed of said Corporation, iii presence of deponent, who thereupon subscribed hisname

            thereto as attesting witness.



                                                                  AP NEW JERSEY,INC:




                                                                         I evin.L. McKnight --

            Sworn and subscribed °to before me.
            this day of           ,                    I997




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               STATE OF NEW JERSEY
                                                                 :SS
               COUNTY OF B ERGEN


                         BE IT'RENU ERED that on ' .k day of             -




               t99,befoemeUsu                                                    Jfthe StateofNewJesey,

               persoi:slly appe                    by me duly sworn, did depose and make proof to MY:

                 tisfaction that he ts the                           ofRIVER.ROAD IMPROgV>w, 4ENT

               PHASE U, INC., the Corporationnamed in the withilt iuttrtituent that I
                                                            `                '        ,
                                                                                              t _
                                          is the President of said Corpoiation that the exertion, as vyeli as
                                                                                 ;.




               the making of this uistrwuent has been duly authorized by a proper Reso tian.©f the

               Board o€:Directors of said Corporation, and that the seal affixed to said ittgtniment signed.
                     :




               and delive ed by said President as for the voluntary act and deed of said %orporac on in
                          r




               presence of degcu ►ent who thereupon subsc bbed his name thereto as.attesting witness.
                                      ,




                                                         RIVER ROAI IMPROVEMN1 PHASE II II C.
                                                                             )                            ,




                5w and subscribed b ore me I
                this    day of                                  1997




                         Cka&1               g/A4U       (jaP
a                                                                ~   6
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               STATE OF NEW JERSEY                      }
                                                              :SS.
               COUNTY OF BERGEN


                      BE IT REMEMBERED that on tiii
                      -
                                                                        yof

               1.992, before mchthe subscriber,                                  f the State of      Jersey.

               personally appeared who being by me duty sworn; did depose and make proof to ray

               satisfaction that he is the Mang ng Member of NORTH RIVER {EWS , SSOCIATES,

               LL ., the Corporation named in the within: instrument;,

                that the execution, as well as the making of this institinient has been duly authariz td by a

               proper Resolution of the Board of Directors ofsaid Corporation; and that the seal affixed

               to said instrument signed and delivered by said President as for the voluntary act and

               deed ofsaid Corporation, in presence of deponent, who thereupon subscribed his naive

               thereto as attesting witness:.




                Swôr, and subscr.
                this      °day of                   -       ,197
                              A


                                                    U....
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                                             Do We need these???

a.                                                ECRi.BfT8:



               1.   Bergen County Planning Board Application No. SP261 "8R1

               2.   Bergen County Planning Board Application No, SP2366R-I

                    Borough of Edgewater Resotution N. R195.96
                    River Road Phase II Edgewater Ptans, Drawings 1; through 4
                                                                                 't

                    No Further        !Letter (Form),- Now mosey Department of EuvroninentaI
                    Pxotectiou
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                   IN       SW      OF, theparties hereto have duly execu t4ü



              WffNESS:                               .P.NEW IERSEY,IN


                                                   BV   -



              By_______
                                                   its.
                                                            V:ifcKJrf
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                                              AGREEMENT TO PURCHASE AND SELL REAL ESTATE
          sTHIS AGREEMENT TO PURCHASE AND SELL REAL ESTATE (this:
    j             "Agreement") is made and entered into. as of the    day of June, 1997,. by and between A. P.
        1~ '      NEW JERSEY, INC., a Delaware corporation with aplace of business at. 1501 Alcoa Building,
                  425 Sixth Avenue, Pittsburgh, Pennsylvania 15219 ("Seller"), and NORTH RIVER MEWS
                 ASSOCIATES, LLC, aNew Jersey limted liability company with a place of business do Mr.
                  John De Sheplo, Esquire, 260 Columbia Avenue, Fort Lee, New Jersey 07024 ("Buyer").


                                              1.      Purchase And Sale. Seller agrees to sell, transfer, and convey to Buyer; and
                                      Buyer agrees to purchase. from Seller, upon:the`terms, provisions and conditions hereinafter set
                                      forth those certain tracts. lots or parcels of real property situated in the Borough of Edgewater,
                                      County ofBerg_ert and State of New Jersey, described in Exhibit A attached hereto and
                                      incorporated herein by reference (collectively,. the "Property).                          _ IV


                                           .2.      Purchase Puce. The purchase price Which Seller agrees to accept for the Property
                                     and which Buyer agrees to pay therefor shall be a minimum of $8,000,000, and shall increase by
                                     $20,000 for each•unitapproved for construction on the Property in excess of 400 units (the°
                                     "Purcbase?rice"). The Purchase Price shall be payable as follows.

                                                  (a)            At the Closing (defined below), Buyer shall deliver to Seller:

    F       1                                             (i)      Buyer's fully executed unconditional promissory note (the "Note"),
                                                  secured by Buyer's mortgage to the Property (the "Mortgage"), in the principal amount of
                                                  the Purchase Price less $2,000,000, for a term of eighteen (I 8) .months from the Closing
                                                  Date and with an annual interest rate of 6% accruing until fully satisfied, substantially in
                                                  the form and substance attached hereto as Exhibits B and C, respectively. Upon maturity
                                                  of the Note, Buyer shall pay to Seller the amount of the Note, principal plus interest, by
                                                  wire transfer in immediately available funds to the following account (the "Mellon
                                                  Account"):

                                                                                                   Mellon Bank NA, Pittsburgh, PA
                                                                                                         ABA 0043 000.261 .
                                                                                                     Account Number. I000-1206
                                                                                            Account Name: Aluminum Company of America;

                                                       (ii)    An irrevocable, unconditional letter of credit (the "L'tier of Credit") issued
                                              by PIN Bank, or a.reputable commercial bank:, savings bank or savings and fart
                                              association acceptable to Seller, to the benefit of Seller in the amount of $!,1600800, with
                                              an expiration date of not earlier than twenty-four (24) months after the Closing; in a form
                                              acceptable to Seller. The Letter of Credit shalt be payable upon presentation of Seller's.
                                              sight draft dated 18 months from the date of the Closing or upon presentation of Seller's
                                              sight draft dated earlier than 18 months from the date of the Closing accompanied by
                                         . • Seller's. notarized written statement as follows: "North River Mews Associates, LLC is in
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                 default''ofits obligations under a certain .Agreement to Purchase and :Sell Real Estate, dated
                 June •_, 1997. (the "Agreement"), with the undersigned, as Seller, and such, default has
                 norbeen cured in accordance with paragraph 8(b) of the Agreement.

                  (b)     Payment for Additional.IJnits . In the event Buyer, or anyone who acquires title to
          the Property or any part thereof from Buyer, receives approval to construct more than 400 units
          at the Property during the time period from. May 1, 1997 through May 1, 2117, then at Closing,
          or within 15 days of receiving such approval; Buyer shall notify Seller of such approval and,
          within two (2) days following receipt of a building permit to construct the additional units shall
          pay to the Mellon Account, by wire transfer in immediately available funds, the amountof
          $20,000 for each additional unit for which approval was granted,

                            (i) Covenant. This Section 2(b) shall be a covenant running with the land;. and
                            shall be recorded in the form of a Memnorandimt,of Agreement with the Deed.
                            Any subsequent translbr of the property is subject to Section 2(h), and con
                            2(b) shall not merge with and into the Deed on Closing.

                            (ii) Estqppel Certificate , From time to time, upon Buyer's request, Seller shall
                            execute an estoppel certificate in a form reasonably acceptable to Buyer stating.
                            that Buyer is not in default of Section 2(b).


                  3.      Instruments Of Transfer. At the Closing, Seller shall convey title to The
          Property to Buyer by Seller's warranty deed with covenant against grantor's acts (the "Deed"")
          and Seller and Buyer shall execute and deliver to the other, and, where applicable, file and record
          such instruments of conveyance, transfer and assignment, as shall be necessary or appropriate in
          the opinion of their respective counsel or as required by the Title Company (defined below) to
          transfer' fo Buyer all ofthe-aforesaid right, title and interest of Seller in the Property pursuant to
          this Agreement.


                4.,        Title Matters.

                (a) Title Commitment. Seller shall, at its sole cost and expense, as soon as reasonably
          possible following the execution of this Agreement, cause Chicago Title and Insurance Company
          (the "Title_Company!)-to issue-its-commitment-#bran-ostiner's-fee.policy-of title-insurance-for-1he-.—.
          Property in the amount of the purchase price and designating Buyer as, the proposed insured (the
          "Commitment"). Buyer shall, within fifteen (15) days after receipt of the Commitment, either,

                            (i)   Approve the form and substance of the Comm itrpent or

                           (ii) Notify Seller in writing (the "No(ice") to remove or satisfy any reasonable
                   matters relating to the title or interests which are objectionable to Buyer as shown on the
                   Commitment. Seller shall have:ninety (90) flays following the receipt of the Notice to
                   correct those objections specified in the Notice. In the event. that Seller is unwilling or
                           ta'correct such objections, then, as Buyer's sole remedy and at Buyer's option to be.
           ' '. exercised by written notice within, thirty (30) days following the expiration of such 90-
                      rt
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                  day period ,. either accept such title arid interest as Seller isable to furnish without
                  reduction in or abatement of the Purchase Price and without liability of Seller to Buyer or
                  terminate this Agreement . Upon such termination, neither party hereto shall thereafter
   f have any further liability or obligation to the other party hereunder . Unless Buyer objects
                  to the title condition and terminates this Agreement , said title condition shall be deemed
                  to be acceptable and any objection to the condition shall be deemed to have been waived,
                  by Buyer for all. purposes.

                    (b) Survey.. Seller shall cause, to be prepared an ALTA survey of the Property from a New
              Jersey licensed surveyor sufficient to delete the surveyexceptioo.'from the Commitment. The
              cost of the Survey shall be borne by Seller unless this Agreement is terminated before Closing in
              which case the cost of the. Survey shall be borne by Buyer.

                     (c) Title lnsuronce. Buyer shall bear the costof the Policy of Title Insurance:.


                      5.      'Warranties and Representations.

                      (a)     Litigation and Claims . Except as set forth on Schedule 5(a), to Seller `s knowledge.
              there are no legal actions , suits, arbitrations or other legal, administrative or governmental
              _proceedings pending or threatened against Seller which would materially adversely affect the
              condition or ability to use the Property as contemplated by this Agreement , nor is Seller aware of
              any basis for the foregoing.

                     (b)   OTHER THAN THE REPRESENTATION AND WARRANTY SET
              FORTH IN THIS SECTION , BUYER SPECIFICALLY ACKNOWLEDGES THAT
              SELLEI 2 IS SELLING AND BUYER IS PURCHASING THE PROPERTY ON AN "A:S
                        ~



              IS, WITH ALL FAULTS" BASIS AND THAT BUYER SHALL HAVE AN
              OPPORTUNITY TO INSPECT THE PROPERTY AND IS NOT RELYING ON ANY
              REPRESENTATIONS OR WARRANTIES OF ANY KIND 'WHATSOEVER, EXPRESS
              OR IMPLIED, FROM SELLER; ITS AGENTS, OR REPRESENTATIVES AS TO ANY
              MATTERS CONCERNING THE PROPERTY, INCLUDING WITHOUT LIMITATION-,

                              (i)     the quality ,- nature, adequacy and physical condition of the Property,
                      including , but not limited to, the structural elements , foundations , roofs, floors,
                      appurtenances , access, landscaping , parking. facilities, and the electrical mechanical"
                                                                                                 ,
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          _    ~   ° H'VAC; plurrtbIn ,.sewn g i add'uu t?'i s—stems
                                                                  Y      facilities ~n~ i app liances.;
                                                                                           pPliances;

                             (ii) the quality , nature,,adequacy, a. d physical condition of soils, geology and
                      any groundwater;

                              (iii)   the existence, quality, nature, adequacy and physical condition of the
                      Property,.

                              (iv)    the development potential" of the Property , and the Property's use,
                                                                                                                  it.
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                          °(v)     the zoning or other legal status of the Property or any other public or
                                        .



                  private restrictions on use of the Property;

                         (vi) the compliance of the Property or its operati on with any applicable codes;
                 laws, regulations statutes ordinances covenants conditions and restrictions of any
                                    ,               ,           ,    ,
                                                                                                                  t.
                 governmental or quasi governmental entity or of any other person or entity;
                                                -




                         (vii) the presence or removal of hazardous or toxic materials; substallcesor
                                                                                             .



                 -wastes in, on, under or about the Property or the adjoining, or neighboring property.,
                                            ,




                          (viii) the quality of any labor and materials ° Used Rn any imptovem "epts on the
                  Property;

                          (ix:)  subject to Section 4 hereof, the condition of title to the Propert}yotkcr than
                  those representations and warran ties if any, contained in the D eed by operation of law;
                                                            ,




                          (x)     the leases, service contracts , or other agreements affecting the Property;
                  and

                          (xi; the economics .ofthe operation of the Property.




                  6.      Conditions Precedent To Closing.                                                        1    '~

                   (a)     Buyer' s and Seller's Conditions . Unless all of the following conditions are
           satisfied,t Buyer shall not be obligated to purchase , and Seller shall not be obligated to sell,
           conveys or transfer , the Property (except as such conditions may hereafter be expressly waived
           by Buyer and Seller in writing):

                          (i)   The New Jersey Department of Environmental Protection ("NJDEP ") shall,'
                                                        .



                  have executed and issued a Memorandum of Agreement providing for the issuance ofa
                  "No Further Action" letter substantially in the form and substance attached hereto as
                  Exhibits D and E, respectively.

                          (ii)    Seller , Buyer, River .Road Improvement P hase I lnc. an the county o? -- -
                  Bergen , New Jersey , shall have entered into a Multi Party Property Acquisition
                  Agreement substantially in the form and substance attached hereto as Exhibit F (the
                  "Multi-Party Agreement ''). TheMulti-Party Agreement , once fully executed ; shall be
                  incorporated into this Agreement by reference and attached as Exhibit G. The MliTti
                  Party Agreement shall contain provisions for

                                 (1)     the requirement to demolish the sttuctures on the Property in
                          accordance with a Remedial Action Work Plan submitted to the NJDEPby River
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                                               (2) the requirements that: (i) Seller will be responsible for payment of
                                       Demolition costs in the Amount of $ 9,500,000, (ii) Seller will be responsible. for
                                  = costs of disposal of material contaminated with PCB's at concentrations greater.'
                                       than 50 ppm at approved. TSCA landfills if those disposal costs exceed $250,000
                                       up to a maximum of $2,500,000, and (iii) Seller's total liability for Demolition
                                       and disposal of waste material will not. exceed $12,000,000; and

                                             (3)      the establishment of an acceptable funding mechanism for the
                                       Demolition.


                             (b) Buyer's.Conditions. Unless all of the following conditions are satisfied,,Buyer
                     shall not be obligated to purchase the Property (except as such conditions may hereafter be
                     expressly waived in writing by Buyer):
                                                                                                              Z nF
                                       (i)   Buyer shall have received the necessary, final, non-appealable'approvals
                             of 'its development plans for the.Property 'from the Borough of Edgewater, New Jersey.
                             Seller agrees to execute all required consents to. enable Buyer to meet this condition and
                             all other requisite approvals; and

                                   (ii).    From the date bf this Agreement until, the Closing, there shall not have
                            occurred any material :adverse change in the physical condition of the' Property or the
                            condition of title to the Property.

                              (c)    Seller's Conditions _ Unless all ofthe following conditions are satisfied, Seller
                     .shall not be obligated to sell,. convey, and transfer the Property to Buyer (except as such
                     conditions may hereafter be expressly waived in writing by Seller):

                                       (i)     Seller shall. have received from the County of Bergen, New Jersey, a
                                       .guarantee of performance acceptable to Seller for the Demolition.

                             7;        Environmental Conditions. The following terms and conditions shall survive
                     Closing hereunder >and shall not be merged with and into the Deed.•

                             (a)   7-Hazardous Substance. For the purposes hereof, the term "Hazardous Substance"
                     shall mean any substance, chemical or waste that is listed or -defined as hazardous; toxic, or
                     darigeious underAp"plicab~e~ l aiv (defines a ow , and.aany asbestos 'containing materials,
                     radioactive materials or petroleum products.

                           (b)     Applicable Law. For the purposes hereof the term "Applicable Law" shall mean
                  the Comprehensive Env ronmental Response, Compensation and Liability Act ("CE1 CrA"), 42.
                  U.S.C. §§ 9601 et M.; the Resource Conservation and Recovery Act ("RCRA"), 42 U.S.C. §§
                  690I, et.; the Federal Water Pollution Control Act, 33 U.S.C. §§ 1251 et.; the Clean Air
                  Act, 42 U.$.C. §§ 7401, et q:; the Hazardous.Nlaterials Transportation Act, 49 U.S.C. §§ 1471
                  et seq.; the Toxic Substances Control Act; 15 U.S.C. §§ 2601 through 2629; and the Safe
             ;- : I7ritding;W terAct, 42 t1.S. §§ 300f thmugl 06;each as amended from time to time,
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           isaformel orders; dscrees or requests from the United States' Environmental Protectiop Agency,
           the appropriate New Jersey state governmental and regulatory bodies, or any other. governmental
           agency, a'athority or instrumentality having jurisdiction and any similar state and local jaws <<and  :



           ordinances and the regulations implementing such statutes, together with any and all federal;
           state, and local environmental or laced use laws, rules, ordinances, or regulations,

                   (c)     Environmental Reports , Seller shall make available to. Buyer.the reports listed
           on Schedule 7(c), attached hereto and incorporated by reference, concerning the environmental
           condition of and contamination in, on, under, or about the Property (the "Environmental
           Report•"), The parties agree that the Environmental Reports and any and all reports, analyses,
           surveys, assessments, evaluations or the like prepared by Buyer and its representatives pursuant
           to Section 7(d) will establish the known environmental condition of the Property as of the
           Closing Date_ The=Environmental Reports, and any and all reports, surveys and assessments,
           including all copies thereof, produced by Buyer or its representatives pursuant to this
           Agreement, shall be hold in strict confi dence by Bud er and shall rot he disclosed o Euver or
           its employees, consultants. agents and . representatives, without the prior written consent of
           Seller.

                   (d):    Buyer's Assessment. Buyer; at its sole cost and expense, may conduct an
           environmental transfer assessment of the Property prior to Closing (".Buyer's Assessment"). Seller
           shall permit Buyer or its representatives, at all reasonable times prior to the Closing Date, to enter
           upon any and all of the Property for the purposes of inspection, making tests, taking samples and
           soil borings, and/or conducting groundwater studies and such other investigations as Buyer shall
           deem appropriate, in order to complete Buyer's Assessment.

                   (e)     Restrictions on Buyer's Assessment . Notwithstanding any other provision of this
                                      to
           Agreement, Buyer's right enter the Property for purposes of conducting Buyer's Assessment
           shall be subject to the following restrictions:

                           (i)     Buyer shall notify Seller at least twenty-four (24) hours prior to entry onto
                   the Property to conduct such. activity;

                           (ii) All activities undertaken in connection with Buyer's Assessment shall
                   fully comply with any Applicable Law, and other laws relating to worker safety and to
                   proper disposal of any samples taken, and any soil or water generated in the process- of
                   taking the samples,: and Buyer shall pr ovide Seller with split samples of all soil, air or
                   water sample so taken;

                           (iii) Seller shall be permitted to have a representative present during all such
                   investigations, and copy the. results of on-site testing and visual inspections, andshall
                   have complete access to all samples taken, test results, and boring records,-

                            (iv) In the event that Buyer shall not consummate this transaction for any
                   reason, Buyer shall restore the Propertyto its condition, prior to such investigative
                   activities;
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                             (v) Buyer shall take all actions and imemerat ~alhprotections nece ssary to
                     ensure that actions taken hereunder and equipment, materials, and Substances generated;.
                     use or brought onto the Property pose no threat to the safety or he. alth of persons or the' .
                     environment and cause no damage to the Property of Seller or-.of any other,person;- -
                                       ,




                           (vi) Buyer shall be solely responsible for the security of the activities,
                     equipment: and materials brought on the Property prior to the Closing Date;

                             (vii) Buyer for itself, its successors and assigns, covenants and agrees that it
                     shall'indemmfy and save harmless Seller, its successors and assigns from and against any
                                                                                            ,



                     and all loss or liability, and all claims damages fees, costs and expenses resulting from,
                                                            ,         ,



                     incident to or in any way arising out of the entry onto the Property to conduct Buyer's
                     Assessment or any other act done . pursuarit to the rights, privileges and authority hereby,
                                   ,



                     granted . Buyer shall reimbtusc Seller for actual damage to the Property resulting from
                     said acii' ities.

                         (viii) Unless specifically required byNew Jersey ` Iaw,.any and all reports
                 surveys and assessments , including all copies thereof produced by Buyer or its
                 representatives pursuant to. this Agreement shalt be held in strict confidence by. Buyer,
                 shall not be disclosed. by Buyer or its employees, consultants, agents and representatives,
                 without the : prior written consent of Seller , and shall be forthwith delivered to Seller auto
                 cost or expense . to Seller,

                          (ix) Without limiting the effect of the last clause, Buyer shall require that any
                 party performing services hereunder waive all rights to assert any lien or claim against
                 Seller or the Property arising out of services performed hereunder and provide insurance
                 against injury and damage to Seller or any other person, in coverage amounts and terms
                 satisfactory to Seller, and shall obtain Seller ' s written approval of such coverage priorto
                 that party's first entry onto the Property; and

                         (x)      Buyer and its representatives shall comply with all governmental laws and
                 regulations and all policies and regulations of Seller in effect at such time, including, but
                 mot limited to, those relating to health and safety , and with such special regulations, rides
                 or policies as. may be considered appropriate by Seller under the circumstances and Seller
                 shall have the right to refuse initial or continued access to the Property to any person
                 when it determines that such action is necessary or desirable.

                  (f) ' Indemnification of Seller: Buyer shall indemnify , defend and hold Seller
          harmless from any and all claims , demands, cause s of action , and suit or suits, including all
          foreseeable and unforeseeable consequential damages, occurring on or after the Closing hate
          arising under Applicable Law related to Buyer's ( or, during Buyer's ownership ofthe -rcerty
          any operators or any third parties ') use of the Property . andior any and all activities relating
          thereto,

                     (g) , Release of Seller . Except in the event that Seller remains in default on any
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            contribution from Sealer . for any response,_ costs or claims that may arise as a result of the actions
            or inactions of Seller and any previous owner, o        t r or third pnor wi thr ~ ct to the
            Propertyn lating to Hazardous Substances o
                         ~                                         gn           vtslttsrY s{T.=alteeor exp . ?:.
            pant' hPS    ts -01bbligatxib rid iiii Multi party Lgreemont


                    8.       7tefault.

                    (a)     By Seller. If Seller.fails: to perform any of its obligations underthis Agreement: or
            the .Multi Party Agreement, the same shall constitute a default of this Agreement and thereupon
            Buyer, at its option, may declare a forfeiture by written notice to Seller ("Notice of Seller's
            Default"). At the expiration of forty-five (45) days after the Notice of Seller's Default, if Seller
            has not remedied the default, or if Seller has not exercised all efforts to remedy the default as
            quici;tp as possible where the. default is not capable of being remedied infony-five'145) days,
            Buyer may declare this Agreement null and void. In any event, if such default is nol rei ,cdicd
            within 120 day s after the Notice of Seller's Default, Buyer may declare this Agreerucnt.null and
            void.

                   (b)      By Bum . If Buyer fails to perform any of its obligations under this Agreement
           or the Multi Party Agreement, the same shall constitute a default of this .Agreement and
           thereupon Seller, at its option, may declare, a forfeiture by written notice to Buyer ("Notice of
           Buyer's Default"). At the expiration of forty-five. (45) days after the Notice of Buyer' s Default,
           if Buyer has not remedied the default, or if Buyer has not exercised all efforts to remedy the
           default as. quickly as possible where the default is not capable of being remedied in forty-five
           (45) days ,(an 'Extended Default"), Seller may at its option:

                           (i)     if the default occurs before Closing and is;notcured'as..-described in
                   'Section 8(b), declarethe Agreement null and void; or

                           (ii)     if the default occurs after Closing and Seller is not in default; upon thirty
                    (30) days' written notice, demand immediate payment of the Note and/or Letter of Credit
                    or immediately foreclose on the Mortgage..

           In any event, if an Extended Default is not remedied within 120 days after the Notice of Buyer's
           Default, Seller may elect to exercise its remedies under this Section 8(b)(i) or (ii):


                   (c)      Limitation of Liability . In the event of default under this Agreement, the
           remedies of the parties are limited to the remedies set forthin Sections 8(a) and (b) above.       No
           party shall be liable for any incidental or consequential damages for default under this
           Agreement.                                                                            --

                   (d)     Waiver. of Breach. The waiver by either party of any condition or breach by the.
           other party of any term, covenant, or condition herein contained shall not be deemed to be a
           waiver'of any other condition of any subsequent breach of the same or any other term,. covenant ;
           or condition herein contained:
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                   9.      Force Majeure,

                   (aa "Force Majeure" shall mean an .act, event or condition having a material adverse`'
           effect upon the rights or obligations of either party hereunder if such act; event, or condition is
           beyond the reasonable control of the parties to this Agreement and is relied upon as. justification
           for the failure to perform any obligation set forth herein or to comply with any condition required
           of the .respective parties pursuant to this Agreement. Such acts, events or conditions shall be
           limited to the following; (1) any labor strike or interruption, or (ii) the action or inaction of any
           .governmental body of the United States of America or the State of New Jersey and any other
           subdivisions thereof exercising jurisdiction.

                   (b)      Each party hereto is excused from failure ordelay in the performance ofany act
           required hereunder•(except for payment of the Letter of Credit, accrual and payment of interest
           on the Note.. and Seller's payment. obligations with respect to the Demolition) by mason of Force
           Majeure. In the event a party is rendered unable, either in whole or in part.. to carry oVi The terms
           of this Agreement, such affected party shall give immediate notice ("Force 1'lajeureVotice") to
           the. other party and the: obligations (other than payment of the Letter of Credit, accrual and
           payment of interest on the Note, and Seller's payment obligations with respect to the Demolition)
           of such affected party; to the extent affected by such Force Majeure and to the extent that due
           diligence is being used to resume.. performance at the earliest practicable date, shall be. suspended.
           The parties hereto shall use their best efforts to overcome or remove any Force Majeure and to
           rninintize the effect of such Fore Majeure. Notice shall. be given. to the other party when the
           effect of the Force Majeure has ceased.. The parties hereto acknowledge that notwithstanding any
           Force Majeure.. all payment obligations shall continue to be performed without delay, including
           but not limited to the payment of the Letter of Credit and the Note_

                    (c)     if any event of Force Majeure claimed by.a party is not overcome or removed
           within' t vo (2). years of the Force Majeure Notice being given, then at the option of the other
           party, upon ten (10) days' written notice, this Agreement shall be null and void,
                   9.      Closing.

                   (a)     Date and Location. The purchase and sale transaction contemplated by this
           Agreement shall close (the "Closing") on or before October 31, 1997, or on such other date as the.
           parties may otherwise mutually agree. (the "Closing Date"); provided, however, that the Closing
           Date shall not be later than December 31, 1997. The Closing shall be held at a location which is


                   (b)     Seller's Obligations. At the Closing, Seller shall:;

                           (i)    Deliver to Buyer a duly executed and acknowledged deed in sub antially
                   the form and substance as. Exhibit H, ariached hereto (the "Deed");

                           (ii)    Deliver to Buyera duly executed Affidavit of Title.in,substantially thetfdtm,,
                   and substance as Exhibit I attached hereto;
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                            (iv)    Deliver to Buyer reasonable. evidence of Sellers `cap,acity.and authority for
                   closing the transaction as required by the Title Company ,.,
                          (v)      Deliver documents reasonably requested by the Title Company as
                   administrative requirements for closing this transaction, including but not limited to an
                   ALTA survey; and
                                                                                                                      El
                           (vi) Deliver to Buyer art Owner's Policy of Title Insurance in the amount of the
                    Purchase. Price, dated as of the Closing Date,

                    (c)     Buyer's Obligations. At the Closing, Buyer shall:

                           (i)     Deirs er to Seller the Note, Mortgage and Letter of Credit; Buyer shall pa
                      Sc?(et the cost of the Policy of Title insurance and the.tilte'.search:

                           (ii) Deliver to Seller reasonable evidence of'Buye?s capacity and authority for
                    closing the transaction; and

                           (iii) Deliver documents reasonably requested by the Title Company as
                    administrative requirements for closing this transaction

                    (d)      Taxes. General real estate taxes for the then -current year relating to the Property
            shall be prorated as of the Cl os.ing.Date and shall beadjusted in cash-at Closing. lithe Closing
            shall occur before the tax rate is:fixed for the then current year, the apportionment of taxes shall
            be upon the basis of the tax rate for the.next preceding year applied to the latest assessed
            valuation. All .special taxes or assessments. prior to the Closing Date shall be paid by Seller. Any
            rebated or. refunds of taxes .paid prior to Closing shall be for Seller's benefit. Seller shall pay all
            transfer tax on the Property that becomes due as a result of the transactions contemplated by this
            Agreement.

                    (e)      Costs. Except to the extent specifically allocated in this Agreement, each party
            shall pay its share of the normal and incidental costs associated with the Closing which are
            routinely incurred by a Seller•and Buyer in a transaction of this character in the county where the
            Property is located.


                    10.      Risk Of Loss; Condemnation_ Seller shall assume the risk of loss, destruction or
            damage to the Property by fire, Act of God, other casualty, or condemnation prior to the Closing
            Date and the transfer of title to the Property to Buyer, Buyer assumes, as of the Closing fate and
            transfer of title, all hazards of damage to or destruction of the Property and of the takdng of the
            Property or any part thereof for public use, and agrees that no suchdamage, destruction or taking
            shall constitute a failure of consideration.. Upon the execution of this Agreement, Buy er shall
            have an insurable interest in the Property..
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                        11. Brokers. Seller and Buyer each represent and warrant to the other that no real
                estate brokers or finders are or were involved with respect to any of the transactions
                contemplaied by this Agreement, Each party hereto will indemnify and save harmless the othet -
   '            from any claim or claims made by any brokers or finders for any commissions or compensation
                alleged to be due by reason of the indemnifying party involving such brokers or finders..;


                        12. Notices. Al! notices, demands, elections, requests, consents and other
                communications hereunder shall be in writing and shall be given by personal delivery or sent by
                certified or registered mail,. postage prepaid, return receipt requested and addressed to the parties
                hereto at the addresses below, or sent by facsimile to the parties at the facsimile numbers below,
                orat such other address or facsimile number as aparty may designates

                Seller

                A#fention: Mgr. - Corporate Real Es fate
                             2109 Alcoa Building
                             425 Sixth Avenue
                             Pittsburgh, PA 1521°9.
                             Facsimile              553-2661
                             Telephone No.: (412) 553-2614

                Buyer
                Atteritiom Mr. John De Sheplo
                            260 Columbia Aveui e
                            Fort Lee, NJ 07024
                            Facsimile No.: (201) 224-0572
                            Telephone No-: (201) 224-6679

                             Mr. Fred Dailies
                             725 River Road
                             Edgewater, NJ 07020
                             Facsimile. No.: (201) 313-9044
                             Teleplone No.: (201) 224-0003

                with copy to: David Carmel, Esquire
                     }       523-live-Road
                             Edgewater, NJ .07020
                             Facsimile No.: (201) 943-5614
                             Telephone No.: (201) 943-9160`


                         13.. Non-Fore ga Person.

                                                       Seller certifies and "affirms that Seller is not a "foreign
                                                       o 1445 of Internal Revenue Code of 1954, as amended.
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                be necessary to evidence same in accordance with Treasury Department Regulation 1.1445-
                 2T(b )(2)(iii).

                        (b) - Buyer's Certification Buyer certifies and affirms that Buyer is not a "foreign
                 persona within the meaning of the federal International Investment Survey Act of 1976, as
                 amended; 22 U.S.C.- §310.1, et seg. Buyer will execute at or prior to the Closing Date such
                 appropriate affidavit or affidavits as may be necessary to evidence the same.


                         24:      Like-lad Exchange. Seller tray :trarisferr or convey the Property .lo Buyer as a
                 like-land exchange pursuant to Section 1031 of the Internal Revenue Code of 1986, as amended,
                 and the regulations promulgated thereunder, through the use of a qualified intermediary;
                 provided that the like-kind exchange does not delay Closing or affect any obligation or
                 requirement of this Agreement, that. certain Agreerent to Purchase and Sell Real Estate between
                 she par;ies.related to the parking lot (" .Parking Lot Agreement') or the Multi Party Afire ~ment. If
                 Seller elects. in its sole discretion, to convey or transfer the Property pursuant to such a like-kind`
                 exchange, Buyer.shall cooperate with Seller in good faith to effect such exchange. Buyer shall
                 not incur any additional costs as a result of Seller's election to convey or transfer the. Property.
                 pursuant to a. like-kind exchange.


                         15. Readings. The headings contained in this Agreement are for reference purposes
                 only and shall not be deemed to be a part of this Agreement or to affect the meaning or
                 interpretation of this Agreement.


                         16. Merger. All understandings and agreements heretofore: had between the parties,
                 oral or written ; are merged into tIns Agreement, which along fully and completely expresses their
                 understanding.


                         17. Modification. This Agreement shall not be nzodifted`or amended fexceptby a
                 written instrument duly executed by the parties _hereto.


                                   18.          Binding Effect And Assignment. This Agreement shall be binding upon and

                 the prior written consent of the other, which consent shall not be unreasonably withheld. Any
                 attempted assignment without such prior written, consent shall be void.
                                                                                                                                                  -




                               ~   I`9.          Governing Law. This Agreement shall be construed and                            governed in accordance
                 with the laws of the State of New Jersey:


                       20. , Prohibition Against Recording. Neither Buyet nor Seller. shall cause this
                 Agreement nor any part or me m $and um tliereof to be place&or fled ofrecord. ;
                                          ,                                           :          ;'    _'L+'
                                                                                                         . • s.'
        .... .•ioa"co,   ,. ._et.. _. -.v     ~ :!'.:~y4a1.•h1Q   .'   sYClvrisk' be~ on:+ '=   ~S!   1C   "~:A~:':~:e. ~2-   i M., 1e_:3 ~ `+-'y.?if'L o:' ~   ~~
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                    21,- Modified Tune Of The Essence. If full performance of this Agreement is not .,
           completed by the Closing, Date, either party shall have the right thereafter to declare time to be of
           the essence of this Agreement by giving written notice thereof to the other party, Such notice
           shall contain a declaration that time is of the essence and shall fix the time, place and date of
           final settlement, which date may not be sooner than thirty(30) days following the effective date
           of such notice.

                 22.   Survival:. Sections 2(b), 5, 7 and $shall survive the Closing and the
           consummation. of the transaction contemplated by this Agreement.

                    23. Counterparts. This Agreement may beE ecuted in any number of counterparts,
            each of %Which when executed and delivered shall constitute an original of this Agretrnent. but all
           .-such. counterparts shall constitute one and the sameirstnurnent..




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                 IN WITNESS TWEEREOF, the parties hereto have duly executed this Agreement in
          duplicate as of the .dand year first above written.

                                                      SELLER:
                                                      A. P. NEW JERSEYS INC.


          By:                                         By:

                                                      Its:


          WITNESS:                                    MJYER:
                ..          r                         NORTH RIVER Alit — -5SO'CLkT S; LLC
                                                                 I



                                                      North       Mews, Inc., ManagngMeniber
                                                      Fred A. Daibes1 President




                I




      •..;:.        ,..;:       .:                . 14-                             '           _9
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                     IN WITNESS WHEREOF, the parties heretohave dui)rexec: ted this
               Agreement in duplicate as of theday and year first above written.      -

               WITNESS - :                                SELLER:
                                                          A. P.. NEW JERSEY, INC.,


               By            -jL&%                        By:

                                                          Its:   (itrp   -




I                   II
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                                                           Schedule

                                                             LjtatIon

              Complaint filed in Tax Court of New Jersey contesting 1997 real propeity tax assessments on 700 River
              Road, B lock 74,1-At."! and 732 River Road, Block 71, Lot 2



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                                                             SCHEDULE 7C
                                                    ENvIRONA ENT'AL REPORT

0             benaissance Square Edge water,New erse• Appcndix.G - Geberal Site PCB.Contamination
              Characterization (includes Fathi'bit 1, 2 and 3) prepared by Paulus: Sokolowski and Sailor Ina. dated.
              September 1986.

              Itcrmedial W-Yestigation/Feasibility Study- Former Atel a.A1umin m Works, Edgewater; New Jersey,
              Volume I prepared for Amland Propcttios Corporation by Woodward-Clyde Consuutaiits dated November,
              1989.

              Remedial inve5tigation/Feasibillity Study - ForwerA °lcoa Aluminum . Works, Edgewater, New jersey,
              Volume 3 Appendices A-F, prepared for' AmlanttProperties Corporationby Woodward =Clyde Consulianis-
              dated Noverber 1988.
                                                                                                                A :3

              Remedial lnvestigation/Fcasibility Study -Former A lcoa. A luminum Works, Edgewater,. New Jersey,
              Volume 3 Appendices G-I,prepared for.A4nbzd Properties Corporation by Woodward-Clyde Consultants
              dated November 198$.

              Interim Response Action Final Report- A.P. New Jersey- Inc. - prepated by Metcalf & Eddy, Inc. dated-
              .September 1993.

              Detailed Options Evaluation Report-Aluminum Company ofAmeriea-Edgewater, New Jersey ('
              Project No. 3589) prepared by DuPont Environmental Rcmediatiop Services dated July 11,1996.




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                                                                                                                    EX IBIT "A"'

                                     THE PROPERTY to be conveyed shall consist of all those parcels of land' and premises
                                     situate, lying and being in the Borough of Edgewater in the County of Berg en and State
                                     of New Jersey, more particularly described as follows:

                                     PARCEL A

                                     BEGINNING at the inter:                                                ofthe Southerly line of Russell Avenue and the. Westerly
                                     line of River Road; thence

                                                   (L Along the Westerly line of River Road South 21 degrees 41' 51 " West a
                                                        distance of 84.55 feet to •a point; thence

                                                     -) Along the Westerly line of River Road South 20 degrees5$`5,1" WeZa,
                                                          distance of 132.06 feet to a point; thence.

                                                   (3) Along. the Westerly line of River Road forming a curve to the right with it
                                                       radius of 283.9.7 feet (or 300.47 feet as the rase may be) and an arc distance
                                                       of 98.13 feet to a point; thence

                                                   (4) Along the Westerly line of River Road South 4Q degrees 46' 51" West a
{
                                                       distance of 154.71 feet to a point; thence

                                                   (5) Along the Westerly line of River Road South 40 degrees 43' Si" West a
                                                       distance of 213.02 feet to a point; thence

                                                   (6) Along the Westerly line of River Road South 37 degrees 05' 21" West
                                                       157,71, to a spike in the pavement at the intersection of the Westerly line of
                                                       River Road and the Northerly line of Vreeland Terrace; thence

                                                   (7) Along the Northerly line:of Vreeland Terrace North 53 degrees 38' 09"
                                                       West a distance of 463.00 feet to the Easterly line of Undercliff Avenue=
                                                              thence

                                                              A o gthe Easferty—Itne. of Uiideicls           - orih---
                                                                                                         vep.ue     23 degrees 23 •
                                                                                                                                  51"'East
                                                              a distance of 162.02 feet to a point; .thence

                                                    (9) Along. the Easterly line of,Undercliff Avenue North 27 degrees 21' 56" East
                                                        204.30 feet to a point; thence

                                                   (10) Along the Easterly line of Undercliff Avenue North 27 degrees 38' 51"East
                                                        463.84 feet to a point on the Southerly line. of Russell Avenue; thence

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                   j 1) Along the Southerly line of Russell Avenue South 54 degrees 54' 09" East a
                          distance of 566.09 feet to the p oint and place of beginning.

             EXCEPTING; however, from the above described parcel all that paial o ` Earid kn6wh as;
                                                                                             ~



             The .Edgewater Cemetery and bounded and described as :follows;

             BEGINNING at a point which point is North 23 degrees 00' 16" East a distance of
              161.72 feet from the intersection of the Westerly line of River Road with the Northerly
             line of Vreeland Terrace ; thence

                    (1) Pat allet with the Northerly line of Vreeland Terrace North 53 degrees 38'
                        09" West a distance of 340 . 63 feet to . a point ; thence

                    (2) 'Nonlr 35 degrees 0.8' 31" East . a distance of l85.'I l feet to .a point ; theacek.

                    (3) South 54 degrees 51 29" East a distance of 233.25 feet to a point, thence

                    .(4) South 35 degrees 08 31" West a .d stance of 54 .64 feet to a point ; thencle,
                                                '




                    (5) South 54 degrees . 51' 29" East a distance of 107.28 feet to a point ; thence,.

                    (6) South 35 degrees . 07' 57 " Westa:distnce of 137.74 , feet to a point andplace
                        of beginning.


0            SAID P REMI SES are laiown as Lots:1, 2 and 3 iin Block 74 as ,shown on the Tax Map of
             the Borough of Edgewater.,

             BEING the same premises conveyed as Parcel l to Ainland Properties Corporati on by
             Indenture between 700 River Road Realty , dated Jitnuary 3, 1983 and recorded January 3,
             1983 in the- Office of the Clerk of Bergen County iii Deed Book 6728 , page 760.
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                        EXHIBIT C
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                            ENVIRONMENTAL ?OJEMNITYAGREEI                           T
         THIS AGREEMENT made this l3' day of March, 1999' ,

         BETWEEN:                A. P. NEW JERSEY, INC.
                                 a New Jersey corporation
                                 (heren er called "A, P.')

         AND:                   NORTFJ RIVER MEWS ASSOCIATES, L.L.C;.
                                a New Jersey hunted liability company
                                (hereinar.cafle"NorthRivef')

         AND.                   RIVER ROAD IMPROVEMENTS PHASE It INC;.
                                a Delaware corporation
                                  ereinaer called. "Riuertoasl")`

                                               WITNESSEm•

                WHEREAS, North River is the owner of certain real estate located in the
         Borough of Edgewater, County of Bergen, Stater of New Jersey pursuant to an Agreement
         to Purchase and Sell RealEstate enter'eclinto on June 27,1997, by and betweenNorth
        River and A. P. (the 'Purchase Agreement") and a Transfer. Deed executed by A. P. on
        August 25, 1997, and recorded on.August26, •1997 as Instrument Number 104092 (the
        'Trope'); and
                WHEREAS, North River,. River Road, A. P. and the County of Bergen, New
        Jersey, were all parties to a Multi-Party Property Acquisition Agreement also entered into
        on June 27, 1997, whereby, inter alias North River and River Road agreed that they would.
        cause to be demolished all of the structures on the Property; and
                'VV   REAS, North River, River Road, A. P. and the County of Bergen, New
        Jersey, were all parties to a Funding Agreement entered into on September 23, 1997,
        whereby, inter alma, the parties agreed that, to the extent that Building 12. on the Property
        is not demolished; A. P. shall withhold or cause Bergen County to withhold payment of
        $500,000 of the. demolition .funding until, among other conditions, A. P. receives a "No
        Further Action' letter from the NJDEP .cbvermg alt the entire Property, including
        Building. 12; and
                WIiI:;RE 45,.North River presently does not intend to demolish Building 12.

                NOW, THEREFORE, in consideration of the premises and of such mutual
        promises, covenants and. undertakings, which the partiesacknowledge to be received and
        sufficient the parties hereto agree as follows:
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                 I.       In addition to and notwithstanding any other agreement or obligation of.
        the parties , to the extent that Budding 12 is not demolished , North River and River Road
        shall indemnify, defend and hold A. P. harmless from any and all claims, demands,
        causes of action and. suit or suits, including all foreseeable and unforeseeable
                        ,



        consequential damages, occurring at any time before during or after North River's
                                                             ,



        ownership of the Property, relating to Building 12 and. the land under and adjacent
        thereto , arising under ;Applicable Law (as defined in the Purchase Agreement), including,.
        but not limited to, remediation and disposal costs and expenses related to PCBs.

                IN WITN  ESS WHEREOF, the parties hereto have executed this Agreement as
        of the day, and year first above written:

        Witness.                                             A P. New JerseyyInc.

                                                      By:
                                                             I             ETT, Vice President.

                                                                 girth Riven Mews Associates,,
                                                             L.L.C.


                                                      Bf:
                                                               rth Rives Mews Inc., Managing
                                                                                 ,



                                                             Member; FRED A. DAIBES.,
                                                             President

                                                             River Road Improvements
                                                             Phase II, Inc.


                                                      BY              I'                          )
                                                             FRED A DAIBE§, Pz esid
                                                                       .             ~
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               STATE OF NEW JERSEY

               COUNTY OF BERGEN
                       BEFORE ME a Notary Public, in and for said State, personally appeared Fred A.
               Daibes, President of North.. River Mews, Inc., which is the managing member of North
               River Mews Associates, L.L.C., a New Jersey limited liability .company, and President of
               River Road rmprovements Phase ] Inc., and stated and acknowledged that he was duly;,
               authorized in his capacities to execute the foregoing instrument for and in the name and
               behalf of the company and further stated and acknowledged that he had so signed,
               executed and delivered said foregoing instrument for the consid               pqzposes.
               therein mentioned and set'
                      WITNESS my handand official seal'on.tb s 1"3 d f                               1999:.

                                                                                 A.


                                                                    N.o      c
                                                                    NAR J OK     •CH
                                                                    Att orn y at Law
                                                                     State of New Jersey
               COMMONWEALTH OF PENNSYLVANIA
                                                                           ss:
               COUNTY OF ALLEGHENY
                      BEFORE? M8, a Notary Public, and. for said State, personally appeared John
              Miilett, Vice President ofA.P.•New Jersey, Inc., and stated and acknowledged that he
              Was duly authorized in his capacity to execute the foregoing instrument for and in the
              name and behalf of the company and further stated and acknowledged that he had so
              signed, executed and delivered said foregoing instrument for the consider on and
              purposes therein mentioned and. set.
                     WITNESS: my hand and official seal .oxi this   •1
                                                                          "   9f.               199.



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                                                                    Att rkey a
                                                                    State of New Jersey




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                                 EXHIBIT 9
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   William H. Hyatt, Jr.
   Michael E. Waller
   Karyllan D. Mack
   K&L Gates LLP
   One Newark Center, Tenth Floor
   Newark, New Jersey 07102
   Tel: (973) 848-4000
   Attorneys for Alcoa Domestic LLC,
   as successor in interest to Defendant/
   Third-Party Plaintiff.A.P. New Jersey, Inc.
                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

   BOROUGH OF EDGEWATER,
                     Plaintiff,
          V.


   WATERSIDE CONSTRUCTION, LLC; 38     Civil Action No.: 2:14-CV-05060-(ES-MAH)
   COAH, LLC; DAIBES BROTHERS, INC.;
   NORTH RIVER MEWS ASSOCIATES, LLC, TmRD-PARTY COMPLAINT OF
   FRED A. DAIBES; TERMS               ALCOA DOMESTICLLC, AS
   ENVIRONMENTAL SERVICES, INC.;       SUCCESSOR IN INTEREST TO A.P.
   ALUMINUM COMPANY OF AMERICA;        NEW JERSEY, INC..
   A.P. NEW JERSEY, INC.; JOHN DOES 1-
   100, and ABC CORPORATIONS 1-100,.
                     .Defendants,
   Of which
   ALCOA DOMESTIC; LLC, as successor in
   interest to A.P. NEW JERSEY, INC.,
                     is a Third-Party Plaintiff,
          V.


   COUNTY OF BERGEN and RIVER ROAD
   IMPROVEMENT PHASE II, INC.,
                     Third-Party Defendants
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           Alcoa Domestic LLC, a Delaware limited liability company having its principal place of,
   business at 201 Isabella Street, Pittsburgh, Pennsylvania 152i2-5858, as the successor in interest
   to 'DefendantlThird -Party Plaintiff A.P. New Jersey, Inc., (hereinafter "Alcoa") by its counsel
   K&L Gates LLP, files this Third-Party Complaint against Third -Party Defendants the County of
   Bergen and River Road Improvement Phase. II, Inc. and alleges as follows,
                                    JURISDICTION AND VENUE

                  This Court has supplemental ;jurisdiction over this action pursuant to 28 U.S.C.
   § 1367, as Alcoa's third-party claims arise from the same case or controversy as the claims set
   forth in Plaintiff Borough of Edgewater's First Amended Complaint. This Court also has
   jurisdiction over this action pursuant to 28 U.S.C. § 1332(a).

          2.Venue in this Court is proper pursuant to 28 U;S.C. § 1391(b).
                                            THE PARTIES

                  A.P. New Jersey, Inc. was a Delaware corporation that merged into Alcoa
   Domestic LLC, a wholly-owned subsidiary of Alcoa Inc., in 2010.
          4.      Alcoa Domestic LLC is a Delaware limited liability company having its principal
   place of business at 201 Isabella Street, Pittsburgh, Pennsylvania 15212-5858.
           5.     County of Bergen is a body politic and corporate of the State of New Jersey,
   maintaining an administration building located at One.Bergen County Plaza, Hackensack, New
   Jersey 07601-7076.
           6.     River Road Improvement Phase II, Inc. is a corporation organized under the laws
   of the State of New Jersey with offices at 1000 Portside Drive, Edgewater, New Jersey 07020.




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                            STATEMENT OF THIRD-PARTY CLAIMS

          7.      Alcoa adopts and reasserts its previous defenses and allegations set out in its

   Answer to the First Amended Complaint, Affirmative Defenses, Counterclaim, and Crossclaims,

   as appropriate, in this Third-Party Complaint as if set forth verbatim herein.

          8.      On or about June 27, 1997, Defendant/Third-Party Plaintiff A.P. New Jersey, Inc.

   ("A.P."), Third-Party Defendant River Road Improvement Phase II, Inc. ("RRIP"), Third-Party

   Defendant County of            (the "County"), and Defendant. North River Mews Associates, LLC

   ("North River") entered into a valid contract (the "Multi-Party. Property Acquisition
   Agreement"). A copy of the Multi-Party Property Acquisition Agreement is annexed hereto as

   Exhibit A.

          9.      On or about June 1997, A.P. and North River entered into a valid contract (the

   "Purchase and Sale Agreement"), pursuant to which North River agreed to purchase real
   property located in the Borough of Edgewater, Bergen County, New Jersey, fromA.P. A copy

   of the, Purchase and Sale, Agreement is annexed hereto as Exhibit B.

          10.     Upon information and belief, the real property identified as the "Alcoa Site" in

   Plaintiff Borough of Edgewater's First Amended Complaint was the subject of the Purchase and

   Sale Agreement.

          11.     Pursuant to the Multi -Party Property Acquisition Agreement, RRIP and North

   River agreed to develop certain properties located in the Borough of Edgewater, including the

   Alcoa Site, in accordance with plans developed by the County.

          12.     Pursuant to Paragraph 2: of the Multi-Party Property Acquisition Agreement,

   RRIP agreed to demolish and remove the structures on the Alcoa Site in accordance with the
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   Remedial Action Workplan submitted to the New Jersey Department of Environmental
   Protection and the demolition plan reviewed and approved by A.P.

           13.    Pursuant to Paragraph 16 of the Multi-Party Property Acquisition Agreement,

   RRIP agreed to defend and save A.P. harmless from any and all claims that maybe filed in any

   Court arising from the performance of the Multi-Party Property Acquisition Agreement. RRIP
   further agreed to reimburse A.P. for the cost of any legal, expert or other fees expended by A.P.

   should A.P. be named as a party in any court, administrative or other action or proceeding.

           14.    Pursuant to Paragraph 4 of the Multi-Party Property Acquisition Agreement, the

   County agreed to supervise the demolition at the Alcoa Site and to disburse funds to RRIP to pay

   for said demolition.

          15.     Pursuant to Paragraph 10 of the Multi-Party Property Acquisition Agreement, the

   County guaranteed to A.P. that the demolition and removal of structures on the Alcoa Site would

   be completed in accordance with the Remedial Action Workplan and the demolition plan

   approved by A.P.

          16.     Pursuant to Paragraph 13 of the Multi-Party Property Acquisition Agreement, the

   .County agreed to inspect the work performed by RRIP at the Alcoa Site not less than two times

   per month.

           17.    On or about March 13, 1999, A.P., North. River, and RRIP entered'into a valid

   contract (the "Environmental Indemnity Agreement"), pursuant to which RRIP agreed to

   indemnify, defend, and hold A.P.. harmless from any and all claims, including all foreseeable and

   unforeseeable consequential damages, occurring before, during, or after North River's ownership

   of the Alcoa Site, relating to Building 12 and the land under and adjacent thereto including




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   remediation and disposal costs and expenses related to PCBs. A copy of the Environmental
   Indemnity Agreement is annexed hereto: as Exhibit C.
           18.     Plaintiff Borough of Edgewater (the "Borough"), in its First Amended Complaint,

   alleges that Alcoa Inc. and A.P. are liable under the Comprehensive Environmental Response,
   Compensation, and Liability Act of 1980 ("CERCLA"), 42 U.S.C. § 9601 et seq , the New
   Jersey Spill. Compensation and Control Act (the "Spill Act"), N.J.S.A. 5$:10-23.11 et seq., and
   New Jersey's common law of unjust enrichment for contamination of the Borough's property
   known;as Veteran's Field.
           19.     Upon information and belief, the Borough alleges that Defendant TERMS

   Environmental Services, Inc., and various entities owned or controlled by Defendant Fred A.

   Daibes, including Defendants North River, Waterside Construction, LLC, 38 COAH, LLC, and
   Daibes Brothers, Inc., caused contaminated fill material to be disposed of at Veteran's Field.

           20.     Upon information, and belief, the Borough alleges that Defendant Waterside
   Construction, LLC stated that the contaminated fill material disposed of at Veteran's Field

   originated: at the Alcoa Site.

           21.     Upon information and belief, the Borough alleges that the contaminated fill

   material disposed of at Veteran's Field. contained crushed concrete from Building 12 at the Alcoa

   Site.

           22.     Alcoa has and will continue to Emcur costs to defend itself:against the Borough's

   claims as set forth in the First Amended Complaint as well as related Crosselaims.

           23.     Although Alcoa continues to deny the material allegations of the Borough's First

   Amended Complaint, upon information and belief, the Borough seeks to require Alcoa to clean

   up or pay for the cost to clean up contaminants at Veteran's Field.



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                                COUNT I: BREACH OF CONTRACT

                                              (as to RRIP)
          24,     Alcoa repeats and incorporates herein by reference the allegations set forth in

   Paragraphs 1 through 23 of this Third-Party Complaint as if set forth more fully herein.

          25.     The Multi-Party Property Acquisition Agreement is a valid contract between



          26.     A.P. has duly performed all of its obligations under the Multi-Party Property

   Acquisition Agreement.

          27.     RRIP did not demolish and remove structures from the Alcoa Site in accordance

   with the Remedial Action Workplan and/or the demolition plan approved by A.P.

          28.     Although Alcoa continues to denythe allegations that contaminated fill material

   transported to or disposed at Veteran's Field originated at the Alcoa Site, to the extent it is shown

   that any Defendant caused contaminated fill material from the Alcoa Site to be transported to or

   disposed at Veteran's Field, such transportation or disposal constitutes a breach of the Multi-

   Party Property Acquisition Agreement by RRIP.

          29.     As 'a direct and proximate result of RRIP's breach of contract, Alcoa has suffered

   damages in an amount to be determined at trial.
                                  COUNT U: INDEMNIFICATION '

                                               (as to RRIP)
           30.    Alcoa repeats and incorporates herein by reference the allegations set forth in

   Paragraphs l through 29 of this Third -Party Complaint as if set forth more fully herein.
           31.    The Multi-Party Property Acquisition Agreement is a valid contract between




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          32.     A.P. has duly performed all of its obligations under the Multi-Party Property

   Acquisition Agreement.

          33.     The Environmental Indemnity Agreement is a valid contract between RRIP and

   A.P.

          34.     A.P. has duly performed all of its obligations under the Environmental Indemnity

   Agreement.

          35.     Pursuant to the Multi-Property Property Acquisition Agreement and the

   Environmental Indemnity Agreement, RRIP agreed to indemnify A.P. from any claims arising.

   from the performance of the Multi -Party Property Acquisition Agreement and from any claims

   relating to Building 12 and remediation costs related to PCBs.

          36.     Although Alcoa continues to deny the allegations that contaminated fill material

   transported to or disposed   at Veteran's Field originated at the Alcoa Site or originated
   specifically at Building 12, to the extent it is shown that any Defendant caused contaminated fill

   material from the Alcoa Site or specifically from Building 12 to be transported to or disposed at

   Veteran's Field, Alcoa is entitled to indemnification in an amount to be determined at trial from

   RRIP for any costs, expenses, or liability borne by Alcoa arising from such transportation or

   disposal.

          37.     Pursuant to the Multi-Party Property Acquisition Agreement, Alcoa is entitled to
   reimbursement from RRIP for the cost of any legal, expert, or other fees expended by Alcoa

   arising from such transportation and disposal.




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                               COUNT III:. BREACH OF CONTRACT

                                           (as to the County)
          38.      Alcoa repeats and incorporates herein by reference the allegations set forth in
   Paragraphs l through 37 of this Third Party:Complaint as if set forth more fully herein.
          39.      The Multi-Party Property Acquisition Agreement is a. valid contract between the
   County and A.P.
          40.      A.P. has duly performed all of its obligations under the Multi -Party Property
   Acquisition Agreement.
          41.      The County failed to. supervise the demolition done by,RRIP at the Alcoa Site as
   required by the Multi-Party Property Acquisition Agreement,. which failure constituted a.material
   breach of the Multi-Party Property Acquisition Agreement.
          42.      The County failed to. inspect the work performed by RRIP as required by the
   Multi-Party Property Acquisition Agreement, which failure constituted a material breach of the
   Multi-Party Property Acquisition Agreement.
          43.      Asa direct and proximate result of the County's breach of contract, Alcoa
   Domestic LLC, as. successor in interest to A.P., has suffered damages in.. an amount to be
   determined at trial.
           44.     Although Alcoa continues to deny the allegations that contaminated fill ; material
   transported to or disposed at Veteran's Field originated at the.Alcoa Site, to the extent it is shown
   that any Defendant caused contaminated fill material from the Alcoa Site tube transported to or
   disposed at Veteran's Field, such transportation or disposal was not in accordance with the
   Remedial Action Workplan or the approved demolition plan.




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            45.    Pursuant to its guaranty that the demolition and removal of'structures at the Alcoa

   Site would be completed in accordance with the Remedial Action Workplan and 'the approved

   demolition plan, the County is liable to Alcoa for any damages borne by Alcoa as a result of any

   improper demolition and removal of structures from the Alcoa Site.

                                        PRAYER FOR RELIEF

            WHEREFORE, Third-Party Plaintiff respectfully requests the following relief from this

   Court:

            A.     Enter judgment in favor of Alcoa and against RRIP finding, that: RRIP hai.

   breached its obligations to Alcoa under the Multi-Party Property Acquisition Agreement.

            B.     Enter judgment for all damages, monetary, consequential, and otherwise,

   available under law to Alcoa arising from RRIP's breach of the Multi-Party Property Acquisition

   Agreement.

            C.     Declare that RRIP is obligated to indemnify; defend, and hold harmless Alcoa

   with respect to the Borough's claims in this action and any crosselaims, third-party claims, or

   other claims asserted against Alcoa in this action.

            D.     Order RRIP to reimburse Alcoa for the cost of legal, expert, or other fees incurred

   by Alcoa arising from the demolition and removal of structures on the Alcoa Site.

            E.     Enter judgment in favor of Alcoa and against the County finding that the. County

   has breached its obligations to Alcoa under the Multi-Party Property Acquisition.Agreement.

            F.     Enter judgment for all damages, monetary, consequential, and otherwise,

   available under law to Alcoa arising from the County's breach of the Multi-Party Property

   Acquisition Agreement.




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         G.     Grant any other relief that the Court deems just and proper.
   Dated: December 5, 2014
                                                      Respectfully submitted,
                                                      K&L GATES LLP
                                                      By: Is! Michael E. Waller
                                                         Michael E. Waller
                                                          William H. Hyatt, Jr.
                                                          Karyllan D. Mack
                                                          One Newark Center, Tenth Floor
                                                          Newark, New Jersey 07102
                                                         Tel: (973) 848-4000
                                                         michael.waller@klgates.com
                                                         williarn.hyatt(a~klgates.eom
                                                         karyllan.mack@klgates.com

                                                         Attorneys for Alcoa Domestic LLC, as
                                                         successor in interest to Defendant/Third-
                                                         Party Plainttj[fA.P. New Jersey, Inc.




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         I hereby certify that the matter in controversy is not the subject of any other action
   pending in any court, or of any pending arbitration or administrative proceeding.


   Dated: December 5, 2014

                                                         ;Cha E. Waller




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      •     '•.,                                      .                .   .              .




                             MULTI-PARTY PROPERTY ACQWST1ON                     AGREEPAENT

                   THIS                                        dayof                   1997

                   BETWEEN:              A.P.NEW JERSEY, INC.
                                         aNwiey($xporation
                                                      I                                   I

                   AND:                  COUNTY OF BERGEN

                                         of the State ofl4wJersey .
                                                aftetheCouñtyi

                   AND.-                 NORTH RWERMEWS4SSOCIATES1 LLC
                                         a New Jersey Lrmited Liab4ity Company
                                         Ocr6nafber call} 1 Nth vie"?

                   MW; ............................. RIVER ROAD ThiPR0VEMENTP!ASEfl 1 INc,
                                                     A l$év Jersey COrpc*iflon-
                                                     (hereinafter called the "RRIP")

                                                    WITNtSSETH

                           WHEREAS, North River is the fee owner arWor icoatr= Owner f cerWin lands

  I                                                                                   iJ
                   under devel pmeiitor subject to plans4or development, such lands being Idjaced or in

                   proximity to a segment of River Road (Phase II) located in the

                   County of Bergen, State of New 3ersey, as designted on aCoimty plan eritIc4 'Phsc IL

                    UverRoar; an4

                           WHEREASt the various projects and developments have been or a in the

                   process of being desrgned and/or approved by the Bergen County Planpin Board arid

                    Borough of Edgewater in connection with Phase U River Road: and

                           WHEREAS, said Bergen County approvals provide for certain vx rk to be



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                    performed on portions of Phase U River Road, including the extension relignnent.and
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            improvement of segments of same, as set forth on certain preliminary plans prepared by

           the County of Bergen; and

                   WHEREAS, the work for Phase 11 River Road is set forth in that certain

            Agreement dated November 1, 1996 between the Borough of Edgewater, County of

           Bergen and Edgewater Residential Community, L.L.C. (hen inafter called "ERC"); and

                   WHEREAS, the project is known as New River Road (Phase II) and involves the

            construction and reconstruction and realignment along portions of existing River Road

            and the acquisition of certain other properties currently owned or under contract of

            purchaseby ERC to facilitate the*new alignment to construct and install other. private and

           public facilities; and

                   WHEREAS, it has been determined by the respective governing bodies of the
            Borough of Edgewater and County of Bergen that portions of existing River Road and

            improvements therm are unsightly and detrimental to the re- development of the area

           including, without limitation, areas at the intersection cif River Road and Dempsey-

           Avenue, areas in the vicinity,of the post office Mail Bag Facility and' areas in proximity

           to the former Alcoa plant and Binghamton Complex including on site conditions, its
           improvements, entrances and exits; and

                   WHEREAS, the execution of the Phase II River Road plans involves

           participation and cooperation by the County of Bergen, the Borough of Edgewater and

            ERCC to perform required work as set forth on the County Plans; and

                   WHEREAS, the Borough of Edgewater has by its Resolution dated August 12,

            1996, approved and endorsed the conceptual County plan entitled "Phase II River Road"

           dated July 30, 1995, consisting of Sheets I through 4, for the redesigning and realignment

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           of a portion of River Road (Phase II) by the County of Bergen, which redesign and

           realignment is the subject matter hereof; and

                  WHEREAS, .ERC has agreed to perform:the work referred to in the Phase R

           River Road plans and in accordance with construction plans to be prepared by Boswell

           Engineering Co. ("the Boswell Plans"), such work commencing atthe northerly property

           line of Hess OR located on River Road north to and including`its intersection with Route

           5, extending to a point approximately sixty (t 0) feet north of'saidIntersection, all of

           which work shall be completed in accordance with the Boswell Plans and specifications

           and approved by the County of Bergen; and

                       iEitLbS, in addition to the work set forth in the Tri-Parte Agreement between

           the Borough of Edgewater, County of Bergen and ERC, certain other work is deemed

           necessary by the County of Bergen to fully execute and safely implement the Phase Ii

           River Road plan including, without li`mitati€rn:

                  a)     'Road improvements per the Boswell Plans;

                  b)      Relocation Of utilities, sewer,`water,,gas, electric;

                  c)      Traffic signalization,-relocation and new installations;

                  d)      Demolish and removal and/or relocation of buildings and structures within

                          or in close proximity of the proposed right of way of Phase II River Road;

                  e)      Removal, rerun ediation, and abatement of conditions, structures or other

                          improvements which, in the opinion of the County negatively' impact oh

                          the efficient and safe movements of vehicular andpedestrian traffic on

                          Phase I and Phase II River Road.




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                       In connection with the above objectives and criteria the County has taken into its
                                                                                 ,




r'              planning consideration the public elementary school in close proximity to River Road and          ~.
                Russell Avenue the Alcoa property as well as the residential areas surrounding same.
                                , (                      ),




                       WB'ERE4S ERC has agreed to acquire and convey or cause to be conveyed and
                                      ,




                dedicated for roadway purposes to the County of Bergen by Deed of Easement and/or
                                                                             ,                                    ~.
                conveyance in fee, the right of way for road purposes as set forth in the Phase 11 River
                                                ,                                           :     .




                Road plans to the following properties:
                           ,




                               1.         Lands comprised of the former Right of Way of the Susquehanna

                                          Railroad abutting the Binghamton Complex and the Alcoa

                                          Property ("A P") on both sides of Russell Avenue and existing

                                          River Road in the general vicinity of the Alcoa property ( A.P:')
                                                                                                      "




                                          on. River Road;
                               2..        Lands comprised of the PMG Realty Associates , L.L.C, property,

                                          formerly : known as the J : Fletcher Creamer Property, and access

                                          easement abutting existing River Road;

                               3.         Lands comprised of the former • RRight of Way of -the Susquehanna

                                          Railroad abutting the U.S. Postal Mail Bag Repair Facility and

                                          existing River.roar -,

                               4.         All right-of-way required through , properties of the Borough of

                                          Edgewater the current Municipal Parking Lot, the Department of

                                          Public Works Garage Property , the Ferry Plaza Building, the

                                          properly owned by Ferry Bank Associates, L.P.,property owned

                                          by Borough Associates, L.P. (formerly Ferry Plaza North), and

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                                  A&D• Marine, Inca and including the Router 5 River Road

                                  intersection and extending to a point approximately sixty (60) feet

                                  northerly of said intersection and as shown on the Phase 11 River

                                  Road plans; and

                  WHEREAS, certain properties required for the roadway improvement, as set

          forth on the Phase II River Road plans, are not under the control or current ownership of

           the County or ERC and require acquisition by the County, North River, or ERC

           respectively, and specifically property owned by A.P., also known as Alcoa property and

           buildings, the U.S. Postal Mail Bag Facility, and the Ferry Plan, Office and Retail

           Building; and

                  WHEREAS, ERC has agreed to contribute the sum of $3,852,698.00 to the
           Borough and County jointly toward the acquisition of such properties (excepting the A:P.
           property) and the construction of segments of the new roadway (Phase II River Road) and

           further to give the County an appropriate guarantee, Letter of Credit, Bond or similar

           security in form and content satisfactory to Bergen County Counsel, for the performance'

           of the roadwork and ancillary work contemplated herein: and set forth on the Phase II

           River Road plans and the Boswell Plans, drawings and specifications and approved by

           the County of Bergen;; and                                                       .

                  WHEREAS, the County, as a participant, agrees to contribute a total sum of

           $5,000,000 for the purposes of road construction and inspection, including the sum of

           $1,000,000 for such other public and private costs related to the acquisition,

           reconstruction and inspection of ancillary facilities of New River Road .(Phase II) which

           funds shalt be disbursed to the Borough and ERC for such use; and.
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                    WHEREAS, the road construction by ERG shall also include segments of New

            River Road (Phase II) extending from the Route 5/River Road intersection to an area at

    •       the property north of Hess Oil Co. and existing River Road, as set forth on the County

        •   plans and the Boswell construction plans and specifications; and

                    WHEREAS, the County has determined that the demolition and removal of the

            structures upon the A.P property are required for the efficient and safe movement of

            vehicular and pedestrian traffic, and said demolition and removal is in the best interest of

            the general public and region as a whole; and

                   WHEREAS, A.P. has        agreed to pay RRIP, as set forth in this Agreement, for the
            demolition, removal and remediation of the structures on the A.P. property provided,

            however, that the funds shall be administered and disbursed by the County of Bergen, and

            provided further that said demolition, removal and remediation is supervised,; inspected

            and guaranteed by the County of Bergen,• and

                   WHEREAS, A.P. and the County, as a condition to said funding shall review and
            approve the demolition and rernediation plan prepared by RRIP and approved by New

            Jersey. Department of Environmental Protection ("DEP"), which shalt,, when completed

            and approved, provide and guarantee to A.P. and Alcoa the issuance of a No Further

            Action letter from DEP in form acceptable to A.P.

                   NOW, THEREFORE, in consideration of the premises and of such mutual

            promises, covenants and undertakings, the parties hereto agree as follows:

                   I AP agrees to sell and North River agrees to buy that property located on

            River. Road in the Borough. of Edgewater known as the' "Alcoa Property; as more fully

            described in the Purchase and Sale of Real Estate Agreement.
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                            2.'     North River and RRIP agree that they will cause to be demotished and

                     removed from the AP property all structures and improvements currently existing on the

                     property. Said demolition and removal shalt be completed in accordance with the

                     Remedial Action Workplan submitted to the DEP and the demolition plan reviewed and
                     approved by AF.

                            3.      AP agrees to pay is RRIP the'sum of $9,500,'0.00 for fl idethdljti on      f

                     removal of the structures as described in paragraph 2 above. In addition, AP agrees to

                     pay to RRIP costs of disposal of PCB-contaminated material (PCB concentrations greater

                     than 50 ppm) at approved TSCA landfills, if those disposal costs exceed $250,004:00, up
                     to a maximum of $2,500,000.00. AP's total liability for demolition of the structures and

                     disposal of waste material will not exceed $12,000,000{30.

                            4.      The County shall supervise,the demolitionof the A.P. property and shall

                     administer the.disburseament of funds to RRIP 'with the °fund's provided: toil by A.P. A.P:,

                     upon the execution of this Agreement, shall make an initial deposit with the County of

                     Bergen in the sum of $2,000,000 to be dish5ursed In at;coidartce with'the terms of this
                     Agreement The RRlP shall -make periodic requisitioris for demolition rerr oval and the

                     related work completed, and-said requisitions sl>allbe .'fiinded`at a mitaunum of once per

                     month, or more frequently as the approved--demolition -and removal schedule may r etire.
    .........   ..



                     Upon satisfactory. monthly inspections, the County shall, upon notice to A.P., forthwith

                     authorize the disbusernent'of funds to RRIP.

                            AP will provide additional funds to the County of Bergen in the amount of, and

                     upon receipt of, approved requisitions from RRIP for work performed on the demolition



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           and removal of the structures. AP shall continue tt5 provide funds to the County of

           Bergen until the County of Bergen has received sufficient funds to satisfy AP's liability
                                                                                                          r
                                                                                                          ~

          to RRIP forthe.dem©lition and removal of the structures.

                   5:      The acquisition of the, A.P. property and the demolition, removal and

           remediation of the A.P. (Alcoa) buildings and structures shall be performed at the same

           time as construction of New River Road (Phase II) which shall be performed by ERC or

           its agents, in accordance with the Boswell Plans and specifications,

                   6.      Upon commencement of theroadway construction and upon the request of

           Bergen County, A.P. and North River shall execute Deeds of Easement or fee title (at the

           County's option) , and make such Right of Way dedications in favor of the County as may

           be required.to implement the Phase B River Road plans in the general area of the A.P.

           property on existing River Road.,

                   7.      Itis the intent of the: parties that the excess portions of land acquired by   Y•

           the County and purchased by North River or ERC shalt be deeded and/or abandoned by

           the County to North Riveror ERC. All legal formalities to accomplish this will be

           implemented by the County in an expeditious manner.

                   8       AP shall fund:the demolition;reroovat and remediatfon . as set forth in

          paragraph 4 of this Agment. The construction and reconstruction of segments of New

           River Road (Phase It) shall be the sole responsibility. of ERC and the County jointly,

           pursuant to-the Developer's Agreement dated November 1, 1996, as amended.

                   9.      RRIP.shall deposit with the County of Bergen a Performance Bond or

           Letter of Credit in an amount over and' ,above•tbe estitnaateed derr aiition costs of

           $12,000,000, . Said bond of RRIP to the County of Bergen shall be inform approved by

                                                           8
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            Bergen County Counsel 's office and it thffli '' tuiiyi-nu       tce• the,demolition.and :remov2J.

             ostSer UiII'dirigsaiid 'stnictvices'u `a manner and schedule pre`ods ~ `%PPxo+ed ,

            by-E1' rthe,Cour ty;-and ~A.P-.

                        10.       The County guaiadtees>te AP -that the -demolition and,removd of the AP

            :structure §`and -building'-w fl'betompleted as prvmided 'i.n the the'Remedial =Action

            Workplari nd•the approved :demolition plan . This guarantee is effective and enforceable

            only if AP is not in default of its obligations set forth in paragraph . 4 of this Agreement.

                    11.           The County of Bergen, RRIP and North River .ag ta `re-use the rubble

            from the demolished striiatures that-aie root contaminated with --PCB 's` greater:than 5O ppm

            in accordance with applicable New Jersey laws.

                    12.           ERC agrees that portions of the various drainage facilities which are

            constructed within the areas adjacent to the ;County Road shall be conveyed to and
                                                               .




            become the property of the County, and the County may make such other drainage.

            connections thereto as it may desire , provided that such other connections shall not

            interfere or negatively impact on proper drainage of the lands of the ERC.

                    13.           The County shall from time to time, but not less than two times per month,
                                                                                  -




            be responsible for the periodic inspection of the work performed by ERC and RRIP. All

            costs and expenses of such inspections shall be paid by RRIP and shall be over and above
                                                                       .




            the estimated cost of demolition removal and remediation of A.P property RRIP shall
                                                   ,                                  .         .




            regpcst tnspections ofooznpleted work by the County at least five 5)!di sptiorto
                    .                                  `                                  (




            disbursetnent of funds attributable thereto ; The requisitions for payment of completed
                              ,                            :       .




            work shall be made by RRIP to the County with notice to A.P. Approval by the County
                                                                              .




            shall be required prior to funding said requisition:


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                  14,. RRIP shall notify the DEP, County Department of Public Works and

           County Engineer, in writing; at least five (S) days priorto the commencement of any.

           demolition, removal or remediation work affecting the A.P: property and, to the extent

           required, the commencement of construction of segments of (Phase II) New River Road

           at the intersection of Russell Avenue and River-Road.

                  15.     Upon the execution of this Agreement by RRIP and the County, RRIP

           shall within thirty (30) days, furnish to the County, with a copy to A.P.: the demolition,

           removal and remediation plans and schedules. Same are to be prepared by RRIP in.

           conjunction with the approved environmental consultant and engineer.. Said plans shall

           be approved by DEP, A.P. and the County.'

                  16.     It Is understood and agreed that North River and MP shall defend and

           save tile-County and A.P. harmless•from any and all claims that may bellied in any Court

           arising,from the. performance of this Agreement. In connection with the defense.of any

           claim, the County and A.P. shall be entitled to select their own counsel. The County and

           A.P. shall fully cooperate in any such litigation provided, however, that neither the

           County nor A.I', shall be under-any obligation to expend any funds for any purpose

           whatsoever in connection with such litigation. Should the County or A.P. be named -as a

           party in any court.'administrative or other action or proceeding, North 'River and R.RIP

           agree to reimburse the County and/or A.P. (as applicable) for the cost of any legal, expert
           or other'fees.expended by the County and/or A.P. in such action or proceeding.

                   17.   . Incorporated herein and made a part hereof are the following documents:

           a) the Developer's Agreement between ERC and Bergen County;



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                b) the Joint Reports, with reference to site planmos. 2618 R-1 and 2366 R-1;

                c) the Joint Report requirements of other developments which will participate in Phase

                    ii River Road reconstruction, including without Ilunitation, A&1) Marine, PMG

                    Realty, L.L.C., Kings Ferry, lnc., Ferry Bank Associates, Borough Associates, L.P.,

                    North River Mews Residential Development (A.P.) and others, including the owners

                    of property known as the U.S. Mail Bag and Ferry Plaza Building;

                d) the Resolution of the Borough. dated: September 16, 1996, which authorizes, interalia,

                   the Borough's participation in Phase II and the commitment to promptly cooperate in

                   the acquisition of properties necessary to complete Phase II River-Road and the other

                   improvements set forth on the County Plans;

                e) the Boswell Plans approved by the County of Ber$en identified as follows:

                                           "River Road Improvements;Phase II"


a     .'
                       .                            Construction Plans
                                     Bergen County, Borough of Edgewater, NewJersey
                                                    Sheets I through 4
                                                     Job No. 96-215 - -

                as;may be revised from time to time upon the mutual consent of the parties.

                           18.   This project involving the A.P. property, shall be designated, for all intents

                and purposes, as an element of a local governmental improvemcntproject with North

                River,, RRIP, and County as participants.

                                 The County, ERC, and North River shall review and approve the Phase U

                River Road design by Boswell and shall obtain all approvals and permits required for the

                construction of the Phase ii New River Road segment, and specifically permits from all

                utility companies involved or affected by the roadway improvements.

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                         In this connection, RRIP, as contractor, shall participate in and coordinate

          the efforts of the County and Borough of Edgewater with respect to the, utility companies

          and any other permits or approvals which are required to demolish the A.P._buildings and

          structures and to construct New River Road Phase Ii segment,

                 20.     A.P. will cooperate with the County, its engineering consultants, and RRIP

          in overseeing the performance of the demolition, removal and rernediation work.

                 21.     This Agreement shall be binding on the parties hereto and their heirs,

          executors, administrators, successors and assigns.

                 22.     All parties hereto have the requisite power and authority to enter into this

          Agreement and it is the intention of theparties.to be bound by the terms hereof: The.

          execution and delivery of this Agreement is valid and binding upon the parties hereto and

          the genuineness of any and all corporate resolutions executed may be assumed to be

          genuine by the parties in receipt thereof

                 23.     This Agreement may be executed in any number of counterparts, each of

          which when executed and delivered shall constitute an original of this Agreement, but all
          such counterparts shall constitute one and the same instrument.




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              IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
              day and year first above written.

              Witness: .                                            A.P. NEW JERSEY, INC.

                                                           By:
                                                                    KEVXN L, MCKNIGHT, Vice-President


              Witness:                                              COUNTY OF BERGEN

                                                           By:                       (,7 -=
                                                                    WILL      P. SCHUBER
                             CAROL QURTEL
                     NOTARY PUBLIC OF NEW JERSEY                    County Executive
                     My Corrxntsst Expires Aug. 11,1998

              Witness.                                              NORTH RIVER MEWS ASSOCIATES,
                                                                    L.L.C:

                                                               y=     ,


                                                                    North River Mews,' Inc., Managing Member
                                                                    FRE) A, DAISES, President


0             Witness:


                                                           By
                                                                    RIVER ROAI IMPROVEMENT PHASE II,



                                                                    FRED A. DAISES, President




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          IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the

          day and year first above written.

          Witness:                                      A.P. NEW JERSEY, INC.

                                                  By
                                                         KEVIN L. MCKNIGRT, Vice-President


          Witness:                                       COUNTY OF BERGEN

                                                  By:
                                                         WILLIAM P. SCHUBER
                                                         County Executive


                                                         NORTH,RIVER MEWS ASSOCIATES,


                                                  By:
                                                                                     aging Member
                                                         FRED A. DAISES, President

          Witness,                                       RIVER ROADD___r_OVEM
                                                                    IMPR      INT PHASE U,
                                  (

                                                  By-
                                                         FRED A. DAISES, Presideht




                                                  13
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             STATE OF NEW JERSEY                  )



                                                  )        :SS
             COUNTY OF BERGEN                     )




                     BEXT REWIMERED that on this 24 thday ofJune

             1997, before me the subscriber, A NOTARY PUBLIC.                          of the State of New Jersey,
                                  W)LJZAt1 P. S1ThER
            personally appeared/wno being by me ciuly sworn, did depose and .makeproof to my
                                                 Executive
            saiisfaetion that he is the County I         of County of Bergen, a Body Politic

            and Corporate of the State of New Jersey;habxx,czx zxz xz xz xz ,

                                                                                       that the execution,, as well

            as the making of this Instrument has been duly authorized by a proper Resolution of the

            Board of Chosen Freeholders of the 'County of Bergen; that deponent well knows that

            corporate seal of said County of Bergen; and that the seal affixt to said InstrCntis

            such corporate seal and by the said Wil 11pm P. Schuher, as and for his voluntary

            act and deed and as and for the voluntary act and deed of the said County of Bergen.




                                                                 S•   ••••••••••••••
           SWorn
           this -0    day of     Qi_c.                 ,1997




                            CAROL GURTEL
(
                     NOTARY PUBLIC OF NEW JERSEY
                     MyGommissn Expires Aug. 11,1998
                                                         14.
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(            STATEOF.NEW JERSEY                    )
                                                   )       :SS
             COUNTY OF BERGEN                      )


                     BE IT REMEMBERED that on this _day of. ____________

             1997,. before .me thesubscriber, Kevin L. McKnight of the Commonwealth of

             Penñsylvatha personally appeared who being by me duty sworn, did depose and make

             proof to my satisfaction that he is the Vice-President of A.P. NEW JERSEY, INC, the

             Corporation named in the within instrument;

              that the execution, as well as the making of this instrument bas been duly authorized by a

             proper Resolution. of the Board of Directors of said Corporation; and that the seal aixed

             to said instrument signed and delivered by said President as for the voluntary act and

             deed of said Corporation, in presence of deponent, who thereupon subscribed his name

             thereto as attesting witness.
                                                                                                           F..
                                                                   A.P. NEW JERSEY, INC.




             Sworn and sibcribed.to before me
             this _____ day of                          1997




                                                          15
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                     STATE OF    NEW JERSEY                 )
                                                                   .SS
                     COUi:Y OF BERGEN


                            BE IT REMEMBERED that on tb                    day of

                     1997, before me                                                   f the State ofNew 3ersey,

                     persomfly:appe4by me duly sworn, did depose and make p> >oof to my

                     satisfaefon that he is the                       of RIVER ROAD IMPRUVEv1ENT
                                                                                                   1    -
                     PHASE U. INC., the Corporation named in the within• instrument; that I

                                             is the President ofsaid Corporation; that the execution, as well as

                     the making of this instrument has been duly autborizet by a proper R so i "cm-of the

                     Board of Directors of said Corporation; and that the seal affixed to said i            signed
;ate.
                     and delivered by said President as for the votuntari► act and deed of said Corporation, in

                     presence of deponent, who thereupon subscribed his name thereto as attesting witness:



                                                            RIPER ROAD IMPROVEMEN11 PHASE II, INC.




                     Sw and subscribed             ore me
                     thisr day of                                 1997




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                STATE OF NEW JERSEY                  }



                                                   •}        :SS
                COUNTY OF BERGEN                     }




            •         BE IT REMEMBERED that on                         y of

                1997, before me the subscriber,     - .                          f the State of New Jersey.

                personally appeard who being by me duly sworn, did depose and make proof to my

                satistaction that he is' the Managing Member of NORTH RIVER MEWS 4SSOCIATES,

                LL.C., the Corporation named is the within instrunnent*

                That the exec ufton, as well as the making of this instrwneut has been duly autboriz sl by a

                proper Resolution of the Board of Directors of said Cowration, and that the seal affi ed

                to $aid:instrwnent signed. and delivered by said President as for the voluntary act and
                decd ofsaid Corporation, in presence of deponent, who thereupon subscribed his name
        •       thereto as attesting wits.                                                  -




                       and subscri
                        ,_ day of




                                                              17
                                                                                                I.
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~--~                                              Do We need these???

                                                        EXHIBITS



               I.       Bergen county -planning Board Application No. SP2618R

               2,       Bergen County Planning Board Application No. SP2366R-1

               3.       Borough of Edgewater Res6lution No. R195-96

               4.       River Road Phase II Edgewater Plans; Drawings I through 4

               5.       No Further Action Letter (Form ) - New Jersey Department of FnvI jronmenta1
                        Protection.
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          .                                                                          F




                    IN WITNESS WHEREOF. the parties hereto have duly executed!this
              Agreement in duplicate as of the day and year fast above wiittcn.

              WITNESS:                                   A. F. NEW JERSEY, IIN



              By;
                                                         Its VC.(-    f




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                             AGREEMENT TO PURCHASE AND SELL REAL ESTATE
                               TrS AGREEMENT TO PURCHASE AND SELL REAL ESTATE (this
                        "Agreement"} as made and entered into as of the     day of June, 1997, by and between A. P.
                        NEW JERSEY, INC., a Delaware corporation with a place of business at 1501 Alcoa Building,
                        425 Sixth Avenue, Pittsburgh, Pennsylvania 15219 ("Seller"), and NORTH RIVER MEWS
                        ASSOCIATES, LLC, a New Jersey limited liability company with a place of business c%o Mr,
                        John De Sheplo, Esquire, 260 Columbia Avenue, Fort Lee, New Jersey 07024 ("Buyer").


                                2.       Purchase And Sale. Seller agrees to sell, transfer, and convey to. Buyer, and
                        Buyer agrees to purchase from Seller, upon the terms, provisions and conditions hereinafter set
                        forth those certain tracts, Jots or parcels of real property situated in the Borough of Edgewater,
                        County of Bergen and State of New Jersey, described in Exhibit A atiachedhereu, and
                        incorporated herein by reference (collectively the "Property ").                          -                                             ~




                               2.      Purchase Price. The purchase price which Seller agrees to accept for the Property
                        and which Buyer agrees to pay therefor shall be a minimum of$8,000,000, and shall increase by
                        $20,000 for each-unit approved for construction on the Property in excess of 400 units (the
                        "Purchase Price"). The Purchase Price shall be payable as follows:

                                (a)             At the Closing (defined below), Buyer shall deliver•to Seller.

                                       (i)      Buyer's fully executed unconditional promissory note (the "Note"),
                               secured by Buyer's mortgage to the Property (the "Mortgage"), in the principal' amount of
                               the Purchase Price less $2,000,000, for a term of eighteen (18) months from the Closing
                               Date and with an annual interest rate of 6% accruing until fully satisfied, substantially in
                               the form and substance attached hereto as Exhibits B and C, respectively. Upon maturity
                               of the Note, Buyer shall pay to Seller the amount of the Note, principal plus interest, by
                               wire transfer in immediately available funds to the following account (the "Mellon
                               Account"):

                                                                                Mellon Bank NA, Pittsburgh, PA
                                                                                      ABA -4043 000 2 1 -                  6



                                                                                  AccountNumber: #000-1206
                                                                         Account Name: Aluminum Company of America;

                                        (ii)    An, irrevocable, unconditional letter of credit (the "Leter of Credit") issued
                               by PNC Bank, or a reputable commercial bank, savings bank or savings and lDai
                               association acceptable to Seller, to the benefit of Seller in the amount of $2',• )0t? 800, with
                               an expiration date of not earlier than twenty-four (24) months after the Closing, in a form
                    •          acceptable to Seller. The Letter of Credit shall be payable upon presentation of Seller's
                               sight draft dated 18 months from the date of the Closing or upon presentation of Seller's
                               sight draft dated earlier than 18 months from the date of the Closing accompanied by
                               Seller's notarized written statement as follows: "North River Mews Associates LLC is in                                              ,




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                  M'r ~                                                      +_           , •..- •- :~--~c ~coe..-w-. ~,:e.••
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               default of its obligations under a certain Agreement to Purchase and Sell Real. Estate dated
               June , 1997 (the "Agreement"), with the undersigned, as Seller, and such default has
               norbeen cured in accordance with paragraph 8(b) of the Agreement.

                (b)     Payment for Additional Units .- In the event Buyer, or anyone who acquires title to
        the Property or any part thereoffrom Buyer, receives approval to construct more than 400 units
        at the Property during the time period from May 1, 1997 through May 1, 21 17, then at Closing,
        or within 15 days of receiving such approval, Buyer shall notify Seller of such approval and,
        within two (2) days following receipt of a building, permit to construct the additional units shall
        pay to the Mellon Account, by wire transfer in immediately available funds, the amount of
        $20,000 for each additional unit for which approval was granted;

                       (i) Covenant . This Section 2(b) shall be a covenant running with the land, and
                       shallbe recorded in the form of a Memorandum of Agreement with the Deed.
                       Any subsequent transfer of il,e property is subject to Section 2(b), and eon
                       2(b) shall not merge with and into the Deed on Closing.

                        (ii) Estoppel. Certificate . From time to time, upon Buyer's request, Seller shall
                        execute an estoppel certificate in a form reasonably acceptable to Buyer stating
                        that Buyers not in default of Section 2(b)-, -


                3.      Instruments Of Transfer. At the Closing, Seller shall convey title to the
        Property to Buyer by Seller's warranty deed with covenant against grantor's acts (the "Deed")
        and Seller and Buyer shall execute and deliver to the other, and, where applicable, file and record
        such instruments of conveyance, transfer and assignment, as , shall be necessary' or appropriate in
        the opinion of their respective counselor as required by the Title Company (defined below)'to
        transfer to Buyer all of the aforesaid right, title and interest of Seller in the Property pursuant to
        this Agreement.


              4.    ' Title Matters.

               (a) Title Commitment . Seller shall, at its sole cost and expense, as soon as reasonably
         possible following the execution of this Agreement, cause Chicago Title and Insurance Company
         (the " the Comg                                 t-.foran_.owe ee-pohcift                       e-- —
         Property in the amount of the punhnse price and designating Buyer as the proposed insured (the
         "Commitment"). Buyer shall, within fifteen (15) days after receipt of the Commitment, either:

                        (i)   Approve the form and substance of the Commitment; or               T_
                        (ii) Notify Seller in writing (the "Notice") to remove or satisfy any reasonable
                matters relating to the title or interests which are objectionable to Buyer as shown on the
                Commitment. Seller shall have.ninety (90),days following the receipt of the Notice to
                correct those objections specified in the Notice. In the event that Seller is unwilling or
                     le to correct such objections, then, as Buyer's sole remedy and at Buyer's option to be
                erterciseil v ►;r tteri notice within thirty {30) days following the expiration of such 90-
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               day period, either accept such title and interest as Seller is able to furnish without
               reduction in or abatement of the Purchase Price and without liability of Seller to Buyer or
               terminate this Agreement. Upon such termination, neither party hereto shall thereafter
               have any further liability or obligation to the other party hereunder. Unless Buyer objects
Ô              to the title condition and terminates this Agreement, said title condition shall be deemed
               to be acceptable and any objection to the condition shall be deemed to have been waived
               by Buyer for all purposes,

              (b) Surve .:Seller shall cause to be prepared an ALTA survey of the Property from aNew
        Jersey licensed surveyor sufficient to delete the survey exception from the Commitment. The
        cost of the Survey shall be borne by Seller unless this Agreement is terminated before. Closing, in
        which case the.cost of theSSurvey shall be borne by Buyer.

              (c) Title Insurance. Buyer shall bear the cast of the Policy of Title Insurance.
                                                                                                  r ii'



                5.     Warranties and Representations.

                (a)     Litigation and Claims, Except as set forth;on Schedule 5(a), to Seller's knowledge
        there are no legal actions, suits, arbitrations or other .legal, administrative or governmental
        _proceedings pending or threatened against Seller which would materially adversely affect the
        condition or ability to use the Property as contemplated by this Agreement, nor is Seller aware of
        any basis for the foregoing.

              (b)  OTHER THAN THE REPRESENTATION ANTI WARRANTY SET
        FORTH IN THIS SECTION, BUYER SPECIFICALLY ACKNOWLEDGES THAT
        SELLER IS SELLING AND BUYER IS PURCHASING THE PROPERTY ON AN "AS
        IS, WITH ALL FAULTS" BASIS AND THAT BUYER SHALL RAVE AN
        OPPORTUNITY TO INSPECT THE PROPERTY AND IS NOT RELYING ON ANY
        REPRESENTATIONS OR WARRANTIES OF ANY KIND WHATSOEVER, EXPRESS
        OR IMPLIED, FROM SELLER•, ITS AGENTS, OR REPRESENTATIVES AS TO ANY
        MATI'LRS;CONCERNICNG THE PROPERTY, INCLUDING WITHOUT LIMITATION:

                                the quality, nature, adequacy and physical condition of the Property,
                including, but not limited to, the structural elements, foundations, roofs, floors,
                appurtenances, access, landscaping, parking facilities, and the electrical, mechanical ;
            —   ]TVAC p urn tng, sewage, and utility systems, facilities and appliances;

                       (ii) the quality, nature, adequacy, and physical condition of soils, geology and
                any groundwater,

                        (iii) the existence, quality, nature, adequacy and physical condition of the
                Property;

                        (iv)   the development potential of the Property, and the Property's use,
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                                                     (v)      the zoning or other legal status of the Property or any other public or
                                             private restrictions on use of the Property;

                                                         (vithe compliance of the Property or its operation with any applicable codes,
                                             laws, regulations, statutes, ordinances, covenants, conditions and restrictions of any -
                                                                                                                                                                                      ri:.
                                             governmental or quasi-governmental entity or of any other person or entity ,

                                                     (vii) the presence or removal of hazardous or toxic materials, substances or
                                             wastes in, on, under, or about the Property or the adjoining or neighboring property;

                                                    (viE) the quality of any labor and materials used-in any improvements on the
                                             Property;

                                                     (ix) subject to Section 4 hereof, the condition of title to the Property.ut er than
                                             those, representations and v arranties, if any, contained in the Deed by operatiolt of law;

                                                         (x)            the leases, service contracts, or other agreements affecting the Property;
                                             and

                                                          (xi)          the economics of the operation of the Property.



                                             6.           Conditions Precedent To Closing.

                                        (a)     Buyer's and Seller's.Conditions. Unless all of the following conditions are
                               satisfied, t Buyer shall not be obligated to purchase, and Seller shall not be obligated to sell,
                               convey, or transfer, the Property (except as such conditions may hereafter be expressly waived
                               by Buyer and Seller in writing):

                                                    (i)     The New Jersey Department of Environmental Protection ("NJDEP") shall
                                             have executed and issued a Memorandum of Agreement providing for the issuance of a
                                             "No Further Action" letter substantially in the form and substance attached hereto as
                                             Exhibits D and E, respectively.

                                                    (ii) Seller, Buyer; River Road Improvement Phase 11, Inc. aiid theCounty c
                                             Bergen, New Jersey, shill have entered into a Multi Party Property Acquisition
                                             Agreementsubstantially in the form and substance attached hereto as Exhibit F (the
                                             "Multi-Party Agreement") The Multi-Party Agreement, once fully executed, shajbe
                                             incorporated into this Agreement by reference and attached as Exhibit (3 The `4 ti
                                             Party Agreement shall contain provisions for;

                                                                                                u•         •     •    ♦ •      rs         •'   •                      ' sr'       r
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                                                  (2) the requirements that: (i) Seller will be responsible for payment of
                                          Demolition costs in the Amount of $9,500,000, (ii) Seller will be responsible for
                                     = costs of disposal of material contaminated with PCB's at concentrations greater.:` •
                                          than 50 ppm at approved TSCA landfills if those disposal costs exceed $250,000
                                          up to a maximum of $2,500,000, and (iii) Seller's total liability for Demolition
                                          and disposal ofwaste material will not exceed $12,000,000; and

                                                 (3) the establishment of an acceptable funding mechanism for the
                                           Demolition.'


                                   (b)     Buyer's Conditions. Unless all of the following conditions are satisfied, Buyer
                           shall not be obligated to purchase the Property (except as such conditions may hereafter be
                           expressly waived invTiting by Buyer):

                                           (i)     Buyer shall have received the necessary, final, nonappealableapprovals
                                   of its development plans for the-Property from the Borough of Edgewater, New Jersey.
                                   Seller agrees to execute all required consents to enable Buyer to meet this condition and
                                   all other requisite approvals; and

                                           (ii) From'the date of this Agreement until the Closing, there shall nothave
                                   occurred any material adverse change in the physical condition of the Property or the
                                   rcindition of title to the Property.

                                   (c)     Seller's Conditions.' Unless all of the, following conditions are satisfied, Seller
                           shall not be obligated to sell, convey, and transfer the Property to Buyer (except as such
                           conditions mayhereafter be expressly waived in writing by Seller):

                                           (i)    Seller shall have received from the County of.Bergen, New Jersey, a
                                           guarantee of performance acceptable to Seller for the Demolition.

                                  7.     Environmental Conditions. Tlie.following terms and conditions shall survive
                           Closing hereunder and shall not be merged with and nto the Deed.

                                    (a) Hazardous Substance. For the purposes hereof, the term "Hazardous Substance"
                            shall mean any substance, chemical or waste that is listed or defined as hazardous, toxic, or
                           TdangerousiifidfApplicabt e L aw e snea below), andany asbestos containing materials,
                            radioactive materials or. petroleum products.

                                  (b) Applicable Law , For the purposes hereof; the term "Applicable Law" shall mean
                           the Comprehensive Environmental Response, Compensation and Liability Act (".CERCA."), 42
                           US.C. §§ 9601 et seer•.; the Resource Conservation and Recovery Act ("RCRA"), 42 U.S.C. §§
                           6901, et seg.; the Federal Water Pollution Control Act, 33 U.S.C. if 1251 et g; the Clean Air
                          Act, 42 U.S.C. §§ 7401, et s q ,the Hazardous Materials Transportation Act, 49 U.S.C. if 1471
                          et ~ .; the Toxic Substances Control Act 15 U.S.C. if 2601 through 2629; and the Safe
                                  g Water Act,•42 U.S.C..§§ 300f through 300,1; each as amended from time to time,
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         informal, orders, decrees or requests from the united States Environmental Protection Agency,
         the appropriate. New Jersey state governmental and regulatory bodies, or any other governmental
         agency, authority or instrumentality having jurisdiction and any similar state and local laws and
         ordinances and the regulations implementing such statutes; together with any and all federal;
         state, and local environmental or land use laws, rules, ordinances, or regulations.

                   (c)     Environmental Reports Seller shall make available to Buyer the reports listed
                                                  .



         on Schedule 7(c), attached hereto and incorporated by reference, concerning the environmental
         condition of and contamination in, on, under, or about the Property (the "Environmental
         Reports"). The parties agree that the Environmental Reports and any and all reports, analyses,
         surveys, assessments, evaluations or the like prepared by Buyer and its representatives pursuant
         to Section 7(d) will establish the known environmental condition of the Property as of the
         Closing Date. The- Environmental Reports, and any and all reports, surveys and assessments,
         including all copies thereof, produced by Buyer or its representatives pursuant to this.
         Agreement, shall be held in strict confidence by Buyer and shall not be disclosed by Burr or
         its employees, consultants, :agents and representati; es, without the prior written consent of
         Seller.

                 (d)     Buyer's Assessment . Buyer,.at its sole cost and expense, may conduct an
         environmental transfer assessment of the Property prior to Closing (" Buyer's Assessment' . Seller
         shall permit Buyer or its representatives, at all reasonable times prior to the Closing Date, to enter
         upon any and all of the Property for the purposes of inspections, making tests, taking samples and
         soil borings, and/or conducting groundwater studies and sut h other investigations as Buyer shall
         deem appropriate, in order to complete Buyer's Assessment.

                  (e) Restrictions on Buyer's Assessment . Notwithstanding any other provision of this
         Agreement, Buyer's right to enter the Property for purposes of conducting Buyer's Assessment
         shall lie subject to the following restrictions:

                           (i)    Buyer shall notify Seller at least twenty-four (24) hours prior to entry onto
                   the Property to conduct such activity;

                           (ii) All activities undertaken in connection with Buyer's Assessment shall
                   fully comply with any Applicable Law, and other laws relating to worker safety and to
                   proper disposal of any samples taken, and any soil or water generated in the process of
                   taking the sam ples, and Buyer shall provide Seller with split samples of all soil, air or
                   water sample so taken;

                           (iii) Seller shall be permitted to have a representative present duffing all such
                   investigations, and copy the results of on-site testing and visual inspections, and shall
                   have complete access to all samples taken, test results, and boring records,--'

                           (iv) In the event that Buyer shall not consummate this transaction for any
                   reason, Buyer shall restore the Property to its condition prior to such investigative
                   activities;
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                       (v) Buyer shall take all-actions and implement all protections necessary to
               ensure that actions taken hereunder and equipment, materials, and substances generated,.
               usedor brought onto the Property pose no threat to the safety or health of persons or the
               environment, and cause no damage to the Property of Seller or of any other person; -

                     (vi) Buyer shall be solely responsible for the security of the activities,
               equipment and materials brought on the Property prior to the Closing Date;

                        (vii) Buyer for itself, its successors and assigns, covenants and agrees that it
               shall-ndemnify and save harmless Seller, its successors and assigns, from and against any
               and all loss or liability, and all claims, damages, fees, costs and expenses resulting from,
               incident to or in any way arising out of the entry onto the Property to conduct Buyer's
               Assessment,-or any other act done pursuant to the rights, privileges and authority hereby
               granted. Buyer shall reimburse Seller for actual damage to the Property resulting from
               said activities.                                                                g a.

                       (viii) Unless'specifrcally required by New Jersey law, any and all reports,
               surveys and assessments, including all copies thereof, produced by Buyer or its
               representatives pursuant to this Agreement shall be held in strict confidence by Buyer,
               shall not be disclosed by' Buyer or its employees, consultants, agents and representatives,
               without the prior written consent 6f Seller, and shall be forthwith delivered to Seller at no
               cost or expense to Seller;

                       (ix)       Without limiting the effect of the last clause, Buyer shall require that any
               party performing services hereunder waive all rights to assert any lien or claim against
               Seller or the Property arising out of services performed hereunder and provide insurance
               against injury and damage to Seller or any other person, in coverage amounts and terms
               satisfactory to Seller, arid shall obtain Seller's written approval of such coverage prior to
               that: party's; first entry onto the Property,• and

                       (x)     Buyer and its representatives shall comply with all governmental laws-and
               regulations and all policies and regulations of Seller in effect at such time, including, but
               not limited to, those relating to health and safety, and with such special regulations, rules
               or policies as may be considered appropriate by Seller under the circumstances and Seller
               shall have the right to refuse initial or continued access to the Property to any person
               when it determines that such action is necessary or desirable.

                 (f) ' Indemnification of Seller. Buyer shall indemnify, defend and hold Seller
        harmless from any and all claims, demands, causes of action, and suit or suits, including all
        foreseeable and unforeseeable consequential damages, occurring on or after the Closing sate
        arising under Applicable Law related to Buyer's (or, during Buyer's ownership of the-lroetty,
        any operators' or any third parties') use of the Property andior any and all activities relating
        thereto.

                                           Except in the event that Seller remains in. default on any
                                            notice of such default and'opportunity. to cure as set forth in
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                 (a) By Seller. If Seller fails to perform any of its obligations under thisAgreement or
         the Multi Party Agreement, the same shall constitute a default of this Agreement and thereupon
         Buyer, at its option, may declare a forfeiture by written notice to Seller ("Notice of Seller's
         Default"). At the expiration of forty-five (45) days after the Notice of Seller's Default, if Seller
         has not remedied the default, or if Seller has not exercised all efforts to remedy the default as
         quickly as possible where the default is not capable of being remedied in forty-five (45) days,
         Buyer may declare this Agreement null and void. In any event if such default is not4u tidied
         Nvitbin 120 days after the Notice of Seller's Default, Buyer may declare this Agreement null and
         void.

                 (b)    B :Bu er.. If Buyer fails to perform any of its obligations under this Agreement
         or the Multi Party Agreement, the same shall constitute a default of this Agreement and
         thereupon Seller, at its option, may declare a forfeiture by written notice to Buyer ("Notice of
         Buyer's Default"). At the expiration of forty-five (45) days after the Notice of Buyer's Default,
         if Buyer has not remedied the default, or if Buyer has not exercised all efforts to remedy the
         default as quickly as possible where the default is not capable of being remedied in forty-five
         (45) days (an "Extended Default"), Seller may at its option:

                        (i)     if the default occurs before Closing and is not cured as described in
                'Section 8(b), declare the Agreement null and void, or

                       (ii). if the default occurs after Closing and Seller is not in default, upon thirty
                (30) days' written notice, demand irnmediate payment of the Note and/or Letter of Credit
                or immediately foreclose on the Mortgage..

         In any event, if an Extended Default is' not remedied within 120 days after the Notice of Buyer's
         Default, Seller may elect to exercise its remedies under this Section 8(bXi) or (ii).


                 (c)      Limitation of-Liability :.In the event :f default under this Agreement, the
         remedies of the parties are limited to the remedies set forthin Sections ,8(a) and (b) above. No
         party shall be liable for any incidental or consequential damages for default under this
         Agreement.

                (d) Waiver of Breach. The waiver by either party of any condition or breach by the
         other party of any term, covenant, or condition herein contained shall not be deemed to be a
         waiver of any other condition of any subsequent breach of the same or any other term, covenant,
         or condition herein contained.                                                   ---
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                 9.      Force Majeure,

                  (a)- "Force Majeure" shall mean an act, event or condition having a material adverse' .
         effect upon the rights or obligations of either party hereunder if such act, event, or condition is
         beyond the reasonable control of the parties to this Agreement and is relied upon as justification
         for the failure to perform any obligation set forth herein or to comply with any condition required
         of the respective parties pursuantto this Agreement. Such acts, events or conditions shall be
         limited to the following: (i).any labor strike or interruption, or "(ii) the action or inaction of any
         governmental body of the United States of America or the State of New Jersey and any other
         subdivisions thereof. exercising jurisdiction.

                 (b)     Each party hereto is excused from failure or delay in the performance of any act
         required hereunder.(except for payment of the Letter of Credit, accrual and payment of interest
         on the Note and Seller's payment obligations vith respect to the Demolition) by reason of Force
         Majeure. In the event .a party is rendered unable, either in whole or in part, to carry oIt t e terms
         of this Agreement, such affected party shall give immediate notice ("Force 1. lajeurelotice')to
         the other party and the obligations (other than payment of the Letter of Credit, accrual and
         payment of interest on the Note, and Seller's payment obligations with respect to the Demolition)
         of such affected party, to the extent affected, by such Force Majeure and to the extent that due
         diligence is being used to resume performance at the earliest practicable date, shall be suspended.
         The parties hereto shall use their best efforts to overcome or remove any Force Majeure and to
         minimize the effect of such Fore Majeure. Notice shall be given to the other party when`the
         effect of the Force Majeure has ceased The parties hereto acknowledge that notwithstanding any
         Force Majeure,; all payment obligations shall continue to be performed without delay,, including
         but not limited to the payment of the Letter of Credit and the Note:

                 (c)    If any event of Force Majeure claimed by a party is not overcome or removed
         within'two (2) years of the Force Majeure Notice being given, then, at the option of the other
         party, upon ten (l-0) days' written notice, this Agreement shall be null and void.

                 9.      Closing..

                 (a)     Date and Location. The purchase and sale' ' transaction contemplated by this
         Agreement shall close (the "Closing on or before October 31, 1997, or on such other date as the
                                               ")



         parties may otherwise mutually agree (the "Closing Date'), provided, however, that the Closing.
         Date shall not be later than December 31, 1997 The Closing shall be held at a location which is


                 (b)     Seller's Obligations. Atthe Closing, Seller shall;

                         (i)    Deliver to Buyer a duly executed and acknowledged deed iz#-sultially
                 the form and substance as Exhibit H, attached hereto (the "Deed");

                        (ii) Deliver to Buyer a duly executed Affidavit of Title.in substantially the.form-
                 and substance as Exhibit I attached hereto;
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                        (iv) Deliver to Buyer reasonable evidence of Seller's capacity and authority for
                clustng:the transaction as required by the Title Company;

                        (v) Deliver documents reasonably requested by the Title Company as
                 administrative requirements for closing this transaction, including but not limited to an
                ALTA survey; and

                       (vi) Deliver to Buyer an Owner's Policy of Title Insurance in the amount of the
                Purchase Price, dated as of the Closing Date.

                 (c)     Buyer's Obligations. At the Closing, Buyer shall:

                         (i)     Delh er to Seiler the Note, Mortgage and Letter of Credit. Buyer shall pay
                 io Seller the cost of the Policy of Title Insurance and the title search:

                         (ii) Deliver to Seller reasonable evidence of Buyer`s capacity and authority for
                 closing the transaction; and

                        (iii) Deliver documents.reasonably requested by:the Title Company as
                 administrative requirements for closing this transaction.

                 (d)      Taxes._ General real estate taxes for the then -curr
                                                                            y ent year relating to the Property
         shall be prorated as of the Closing Date and shall be -adjusted in cash at Closing. If the Closing
         shall occur before the tax rate is fixed for the then current year, the apportionment of taxes shall
         be upon the basis of the tax rate for the.next preceding year applied to the latest assessed
         valuation. All special taxes or assessments prior to the Closing Date shall be paid by Seller. Any
         rebated or refunds of taxes paid prior to Closing shall be for Seller's benefit. Seller shall pay all
         transfer tax on the Property that becomes due as a result of the transactions contemplated by this
         Agreement.

                 (e)      Costs. Except to the extent specifically allocated in this Agreernent, :each party
         shall pay its share of the. normal and incidental costs associated with the Closing which are
         routinely incurred by a:Seller and Buyer in a transaction of this character in the county where the
         Property is located.


                 10.       Risk Of Less; Condemnation. Seller shall assume the risk of loss, destruction or
         damage to the Property by fire, Act of God, other casualty, or condemnation prior to the Closing
         Date and the transfer of title to the Property to Buyer Buyer assumes, as of the Closing hate and
         transfer of title, all hazards of damage to or destruction of the Property and of the takingcf the
         Property or any part thereof for public use, and agrees that no such damage, destruction or taking
         shall constitute a failure of consideration. Upon the execution of this Agreement, Buyer shall
         have an insurable interest in the Property_
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                      11. Brokers . Seller and Buyer each . represent and warrant to the, other that no real
              estate brokers or finders are or were involved with respect to any of the transactions
              contemplaied by this Agreement , Each party hereto will indemnify and save harmless the other - -
r             from any claim or claims made by any brokers or finders for any commissions or compensation
              alleged to be due byreason of the : indemnifying party involving such brokers or finders_


                      12. Notices . All notices , demands, elections , • requests , consents and other
              communications hereunder shall be in writing and shall be given by personal delivery or sent by
              certified or registered mail, postage prepaid , return receipt requested and addressed to the parties
              hereto at the addresses below , or sent by facsimile to the parties at the facsimile numbers below,
              drat such other address or facsimile number as a party rni ay designate:

              Seller

              Attention:       Mgr. - Corporate Real Estate
                               2109 Alcoa Building
                               425 Sixth Avenue
                               Pittsburgh, PA 15219
                               Facsirile No.: (412) 553: 2661
                               Telephone No.: (412) 553-2614

              Buer'
              Attention :      Mr. John Oe Sheplo
                               260 Columbia . Aveune
                               Fort Lee , NJ 07024
                               Facsimile No.: (201 ) 224-0572
                               Telephone No.: (201) 224-6679

                               Mr. Fred Daibes
                               725 River. Road
                               Edgewater, NJ 07020.
                               Facsimile No.: (201 ) 313-9044
                               Telephone No .: (201) 224 -0003

              with copy to: David Carmel, Esquire

                               Edgewater, NJ 07020
                               Facsimile No .: ( 201)943-5614
                               Telephone No.: (201) 943-9160.


                       13.      Non-Foreign Person.

                       (a) _                          Seller certifies and au us that Seller is not a "foreign.
                                                      a 1445 of the Internals Revenue Code of 1954 as amended :
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                                                                            ~         r dal It or 8tfidaviits as may
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             be necessary to evidence same in accordance with Treasury Department Regulation 1.1445-
                                                                 <




                      ", . , ..
             2T(b)(2xiii).

(                   (b)      Buyer s Certification Buyer certifies and affirms that Buyer is not a "foreign
                                     '



             person within the meaning of the federal International Investment Survey Act of 1976, as
             amended 22 U.S C. §3101 et seg Buyer will execute at or prior to the Closing Date such
             appropriate affidavit or affidavits as may be necessary to evidence the same:


                          _     ,
                     14. Like Kind Exchange. Seller may transfer or convey the Property to Buyer as a
                                                                                                        ,
             like-kind exchange pursuant to Section 1031 of the Internal Revenue Code of 1986 as amended,
             and the regulations promulgated thereunder through the use of a qualified intermediary;
             provided that the like-kind exchange does not delay Closing or affect any obligation or
             requirement of this Agreement that certain Agreement to Purchase and Sell Real Estate between
                                                ,            :



             the parties related to the parking lot Parking Lot Agreement or the Multi P, rl) ,1 re nenu. If
                                                        ("                      ")



             Seller elects in its sole discretion to convey or transfer the Property pursuant to suctl a like -kind
                             :                      ,                                               '



             exchange Buyer shall cooperate with Seller in good faith to effect such exchange . Buyer shall
                         ,



             not incur any additional costs as a result of Seller ' s election to convey or transfer the Property
             pursuant to a like -kind exchange.


                     15. Headings. The headings contained in this Agreement are for referencepurposes
             only and shall '.not be deemed to be a part of this Agreement or to affect the meaning or
             interpretation of this Agreement.


                     16. Merger . All understandings and agreements heretofore lied between the parties,
             oral or written , are merged into this Agreement , which alone fully and completely expresses their
             understanding.


                     17. Modification . This Agreement shall not be modified or amended except by a
             written instrument duly executed by the parties hereto.


                       19. Binding Effect And Assignment . This Agreement shall be binding upon and

             the prior written consent of the other , which consent shall not be unreasonably withheld: Any
             attempted assignment without such prior written consent shall be void.


                    ,19. Governing Law. This Agreement shall be construed and governed in accordance.
             with the laws of the State of New Jersey.


              •       20. Prohibition Against Recording. Neither Buyeer nor Seller shall cause this
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                                                            to i l id orfrl' ect ofecord.
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                 21r — Modified Time Of The Essence. If full performance of this Agreement is not ..
         completed by the Closing Date, either party shall have the right thereafter to declare time to be of
         the essence of this Agreement by giving written notice thereof to the other party. Such notice
         shall contain a declaration that time is of the essence and shall fix the time, place and date of
         final settlement, which date may not be sooner than thirty (30) days following the effective date
         of such notice.

               22. Survival:. Sections 2(b), 5,7 and 8 shall survive the Closing and the
         consummation of the transaction contemplated by this Agreement.

                 23.     Counterparts. This Agreement may be executed in any number' of counterparts,
         each of which ti''hen executed and delivered shall constitute an original of this Agreement, but all
         such counterparts shall constitute one and the same instrument.                         *s




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                                   IN WITNESS WEER]EOF, the parties hereto have duly executed this Agreement in
                            duplicate as of the day'"and year first above written.

                            WITNESS:                                                                               SELLER:
                                                                                                                   A. P. NEW JERSEY, INC.


                            By:                                                                                    By:

                                                                                                                   Its:


                            WITNESS:                                                                               BUYER:
                                                                                                                   NORTH RIVER bIE ; S«SOU. S, LLC

                                                                                                                                                  "
                            By                                                                                     S                                           ---- --



                                                                                                                   Noxth 'ver Mews, Inc., Managing Member
                                                                                                                   Fred A. Daibes, President




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Case 2:14-cv-05060-JMV-AME Document 110-3 Filed 03/11/16 Page 151 of 195 PageID:
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                   IN WrI ESS WHEREOF, the parties hereto have duly executed this
             Agreement in duplicate as of the day and year first above written.

             WITNESS:                                   SELLER
                                                        A. P. NEW JERSEY, INC.

            By:

                                                        its:   L, ,v


                                                                                    .a~
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                                                             Schedule 5(a)

                                                               Litigation

                Complaint filed in Tax Court of New Jersey contesting 1997 real property tax assessments an 700 River
                Road, Block 74, Lot land 732 River Road, Block 71, Lot 2.




                                                                                                              z a<




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                                                         SCHEDULE 7C

-,                  —                            ENVIRONN EN 'rAI.REPORTS


           Renaissance Square, Edgewater, New Jersey - Appendix 0- General Site PCB-Contamination
           Characterization (includes Exhibit 1, 2 and 3 ) prepared by Paulus Sokolowski and Sailor Inc- dated
           September 1986.

           Remedial Invesiigation /Feasibri1ity Study Former Alcoa Aiwuinwn Works, Edgewater New Jersey,
                                                    -                                             ,


           Volume 1 prepared for Amland Properties Corporation by Woodward-Clyde . Consultants dated November
           1988.

           Remedial luvestipation /Feasibility Study- Former Alcoa Aluminum , Works , Edgewater, New Jersey,
           Volume 2 Appendices A-F, prepared ' for Amland Properties Corporation by Woodward - Clyde Consultants
           dated November 1983.
                                                                                                             z   ~
           Remedial lnvcstigation /Feasibility Study - Former Alcoa Aluminum Works , Edgewater, New Jersey,
           Volume 3 Appendices G I, prepared for Amland Properties Corporation by Woodward -Clyde Consultants
                                    -


           dated November 1988.

           Interim Response Action Final Report - A . New Jersey, Inc. -prepared by Metcalf & Eddy, inc dated
           September 1993.

           Detailed Options Evaluation Report - Aluminum Company ofAmenca - Edgewater, New Jersey (DERS
           Project -No. 3589) prepared by. DuPont Environmental Remediation Services dated July 11, 1996.




               rs
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                                                   EXIT "A"

              THE PROPERTY to be conveyed shall consist of all those parcels of land and premises
j
              situate, tying and being in the Borough of Edgewater in the County of Bergen and State
                                                          as
              of New Jersey, more particularly described follows:

              PARCEL A

              BEGINNING at the intersection of the. Southerly line of Russell Avenue and the Westerly
              line of River Road; thence

                     (1) Along the Westerly tine of River Road South 21 degrees 41'.51" West.a
                                                 to
                         distance of 84.55 feet a point; thence

                     (2) Along the Westerly line of River. Road South 20 degrees 58' 51" West a
                         distance of 132.06 feetto a point; thence

                     (3) Along the Westerly line of River Road forming:a curve to the right with'a
                         radius of 28397 feet (or 300.47 feet as the case may be) and an arc distance
                         of 98.13 feet to a;point; thence -

                     (4) Along the Westerly Iine of River Road South 40 degrees 46 S1" West a
                         distance of 154:71 feet to a point; thence

                      (5) Along the Westerly line of River Road South 40 degrees 43' 51" West a
                                                   to
                          distance of 213.02 feet a point; thence
                      (6) Along the Westerly line ofRiver Road South 37 degrees 05' 21" West
                          157.71, to a spike in the pavement atthe intersection of the Westerly line of
                          River Road and the Northerly Iin : '01Y         Terrace, thence

                      (7) Along The Northerly line of Vreeland Terrace North 53 degrees 38' - 09"
                          West a distance of463.00 feet to the Easterly line of Undereliff Avenue;
                          thence


                           a distance of 162,02 feet to a point; thence              -

                      (9) Along the Easterly line of Undercliff Avenue North 27 degrees 21' 56" East
                         • 204.30 feet.to a point; thence

                      (10) Along the Easterly line of Undercliff Avenue North 27 degrees 38' 51" East
                           463.84 feet to a point on the Southerly line of Russell Avenue; thence

1



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                        1) Along the Southerly line of Russell Avenue South 54 degrees 54' 09" East a
~   .}                     distance of 566.09 feet to the point and place of beginning,'

               EXCEPTING, however, from the above described parcel all that parcel of land known as
               The Edgewater Cemetery and bounded and described as follows:

               BEtINNING'at a point which point is North 23 degrees 00 16" East a distance of
                                                                           '



               161.72 feet from the intersection of the Westerly line of River Road with the Northerly
               line of Vreeland Terrace ; thence

                      (1) Parallel with the Northerly line of Vreeland Terrace North 53 degrees 38'
                          09" West a distance of34063 'feet to a point; thence

                      (2) North 35 degrees 08' 31" East a distance of 185.11 feet to a paint; theacei

                      (3) South 54 degrees 51' 29" East a distance of 23325 feet to a point thence
                                                                                              ;




                      (4) South 35 degrees 08' 31" West a distance of 54 64 feet to a point thence
                                                                               .              ;




                      (5) South 54 degrees 51' 29" East a distance of 107 28 feet to a point; thence
                                                                               ;




                      (6) South 35 degrees 07' 57" West a distance of 13774 feet to a point and place
                          of beginning.

               SAID PREMISES are known as Lots I, 2 and 3 in Block 74 as :shown on the Tax Map of
                                 ,



               the Borough Of Edgewater.,

               BEING the same premises conveyed as Parcel Ito Amland Properties Corporation by
               Indenture between 700 River Road Realty, dated January 3,1983 and recorded January 3,
               1983 in the Office of the Clerk of Berg en County in Deed Book 6728; page 760.
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                                        t
Case 2:14-cv-05060-JMV-AME Document 110-3 Filed 03/11/16 Page 158 of 195 PageID:
                                       1692
  Case 2:14-cv-05060-JMV-JBC Document 23-3 Filed'12/05/14 Page 2 of 5 PagelD: 463




                              ENVIRONMENTAL INDEMNrrYAGREEMENT

            Tkt1;S AGREEMENT made this 13t day of Match,1999

    •       BETWEEN:                    A. P. NEW JERSEY, INC,
                                        a New Jersey corporation
                                        (hereinafter called "A. P.")

            AND:                    NORTH RIVER MEW ASSOCIATES, L.L.C.
                                    a New Jersey limited liability company
             •                      (hereinafter called "North River")

            AND:                    RIVER: RO DIMPROVEMENTS PIAASB 17 INC.
                                    a Delaware corporation
                                    (hereinafler called `Liver Road")

                                                     WI'I'NESSETH

               WHEREAS, North River i s the owner of certain real estate located in the
        Borough of Edgewater County ofBergen, State of New Jersey pursuant to an Agreement
                                    ,



        to Purchase and Sell Rdal Estate entered into on June 27,1997, by and between North
        River and A P. (the Purchase Agreement and a Transfer Deed executed by A. P. on
                          .     "                          '



        August 25 1997, and recorded on August 26, •1997 as Instrument Number 104092 (the
                      ,



        'P ope~ y");a`d

                WHEREAS, North River, River Road, A. P. and the County of Bergen, New
        Jersey, were all parties to a Multi-Party Property Acquisition Agreement also entered into
        on rune 27,1997, whereby, inter airs, North River and River Road agreed that they would
        cause to be demolished all of the structures on the Property; and

                WHEREAS, NorihRiver, River Road, A. P. and the County of Bergen, New
        Jersey, were all parties to a Funding Agreement entered into on September 23, 1997,
        whereby, inter she, the parties agreed that, to the extent that Building 12: on the Property
        is not demolished ; A.P., shall withhold or cause Bergen County to withhold payment of
        $500,000 of the demolition funding until , among other conditions, A. P, receives a "No
        Further Action" letter from the NJDEP covering all the entire . Property, including
        Building 12; and

                   WHEREAS, North River presently does not intend to demolish Building 12.
                NOW, THEREFORE, in consideration of th e premises and of such mutual
        promises, covenants and undertakings, which the parties acknowledge.to be received and
        sufficient, the parties hereto agree as follows:
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                     1.       In addition to and notwithstanding any other agreement or obligation of.
            the parties, to the extent that Building 12 is not demolished , North River and . River Road
            shall indemnify, defend and hold A . P. harmless from any and all claims, demands,
                                                                                                               6
            causes of action , and suit or suits , including all foreseeable and unforeseeable
            consegnent al damages, occurring at any time before , during or after North River's
            ownership of the Property, relating to Building 12 and the land under and adjacent
            thereto, arising under Applicable Law (as defined in the Purchase Agreement), including,
            but not liiuited to, renaediation and disposal costs and expenses related to . PCBs.

                    IN WITNESS WHEREOF, the parties hereto have executed . this Agreement as
            of the day and year first above written.

            Witness '                                             A.P. New Jersey, Inc.


                                                          By:
                                                                  J9N MILLBTT, Vice President

                                                                    o                Mews Associates,
                                                                  L.L.C.

                                                          B~                     1
                                                                  N7rth River Moms, Inc. : Managing
                                                                  Member, FRED A. DAIBFS,
                                                                  President
                                                                  River Road Improvements'
                                                                            s•                             .

                                                                  Phase II, Inc.
                                                                        '




                                                          By
                                                                  PREI7F A. I)AIBES, P




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         STATE OF NEW JERSEY
                                                      as:
         COUNTY OF BERGEN

                BRFORE ME, a Notary Public, in and for said State , personally appeared Fred A. -
        Daibes, President of North RiverMews, Inc., which is the rnaaaging member of North
        River Mews Associates , I.L.C ., a New Jersey limited liability company , and President of
        River Road Improvements Phase U, Inc .,: and stated and acknowledged that he was duly..
        authorized in his capacities to execute the foregoing instrument for and in the name and
        behalf of the company and further stated and acknowledged that: he had so signed,
        executed and delivered said foregoing instrument for the consid              d p . - ses
  •     therefnmentioned and set ,`                                 +~
               WITNESS my hand and official seal on this       (')          f            Uk    1999.



                                                             N=P c
                                                              Attorn at Taw
                                                              State of New Jersey
        COMMONWHALTR OF FENNSYLVA141A
                                   •                                 as:
        COUNTY OF ALLEGIIBNY

                BEFORE MJ , a Notary Public, in and for said State, personally , appeared
        Millett, Vice President of A:P :New Jersey , Inc., and stated and acknowledged that he
        was duly authorized in his capacity to execute the foregoing instrument for and in the
        name and behalf of the company and further stated and acknowledged that he had so
        signed, executed and delivered said foregoing instrument for the consider on.and
        purposes therein mentioned and set.
                WITNESS my hand and official seal on this I                    '             1999.




                                                             Ath r}eyy a
                                                             Sta a of New Jersey
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   William H. Hyatt, Jr.
   Michael E. Waller
   Karyllan D. Mack
   K&L Gates LLP
   One Newark Center, Tenth Floor
   Newark, New Jersey 07102
   Tel: (973) 848-4000
   Attorneys for Alcoa Domestic LLC,
   as successor in interest to Defendant/
   Third-Party Plaintiff A.P. New Jersey, Inc.

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


  BOROUGH OF EDGE WATER,

                      Plaintiff,

          V.


  WATERSIDE CONSTRUCTION, LLC; 38                   Civil Action No.: 2:14-CV-05060 (ES-MAH)
  COAH, LLC; DAIBES BROTHERS, INC.;
  NORTH RIVER MEWS ASSOCIATES, LLC;                      CERTIFICATION OF SERVICE
  FRED A. DAIBES; TERMS
  ENVIRONMENTAL SERVICES, INC.;                            Document Filed Electronically
  ALUMINUM COMPANY OF AMERICA;
  A.P. NEW JERSEY, INC.; JOHN DOES 1-
  100; and ABC CORPORATIONS 1-100,

                      Defendants,

   Of which

   ALCOA DOMESTIC, LLC, as successor in
   interest to A.P. NEW JERSEY, INC.,

                      is a Third-Party Plaintiff,

          v.

   COUNTY OF BERGEN and RIVER ROAD
   IMPROVEMENT PHASE II, INC.,

                      Third-Party Defendants
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          I, Michael E. Waller, of full age, hereby certify as follows:

           1.     I am a partner with the law firm of K&L Gates, LLP, attorneys for Defendants

   Aluminum Company of America and A.P. New Jersey, Inc.

          2.      On December 5, 2014, I caused to be served, via ECF: (1) Third-Party complaint

   of Alcoa Domestic, LLC as Successor In Interest to A.P. New Jersey, Inc. and (2) this

   Certification of Service, on all counsel of record.

          I hereby certify that the foregoing statements made by me are true to the best of my

   knowledge and belief. I am aware that if any of the foregoing statements made by me are

   willfully false, I am subject to punishment.

   Dated: Newark, New Jersey
          December 5, 2014

                                                         Respectfully submitted,

                                                         K&L GATES LLP


                                                         By: /s/ Michael E. Waller
                                                         Michael E. Waller
                                                         William H. Hyatt, Jr.
                                                         Karyllan D. Mack
                                                         One Newark Center, Tenth Floor
                                                         Newark, New Jersey 07102-5285
                                                         Telephone: (973) 848-4000
                                                         Facsimile: (973) 848-4001
                                                         (michael.waller@klgates.com )
                                                         (william.hyatt@klgates.com )
                                                         (karyllan.mack@klgates.com )

                                                         Attorneys for Alcoa Domestic LLC, as successor in
                                                         interest to Defendant/Third-Party PlaintiffA.P. New
                                                         Jersey, Inc.
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                                 EXHIBIT 10
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American Commercial Lines LLC v. Water Quality Ins. Syndicate, Not Reported in...
2010 WL 1379763




                                                               The Insurance Policy
                      2010 WL 1379763
                                                               The Barge was insured under WQIS policy number
   Only the Westlaw citation is currently available.           40-27083 (the "Policy") at the time of the accident.' The
            United States District Court,
                                                               insuring provisions, which are found in Part I of the
                  S.D. New York.
                                                               Policy, required WQIS to (1) indemnify ACL for "such
 AMERICAN COMMERCIAL LINES LLC, Plaintiff,                     amounts as [it] shall have become liable to pay and shall
                              V.
                                                               have paid forr pollution response or damages" as owner or
   WATER QUALITY INSURANCE SYNDICATE,                          operator of the Barge, and (2) reimburse ACL for "certain
               Defendant.                                      other costs and expenses." Those "other costs and
                                                               expenses" included costs or expenses ACL incurred by
                   No. 09 Civ. 7957(x)•                        reason of or with respect to:

                        March 29,    2010.
                                                                    • "[t]he Discharge or Substantial Threat of a
                                                                    Discharge of Oil" ("Coverage A"),

                                                                          • "[t]he Discharge or Substantial Threat of a
                                                                          Discharge of Hazardous Substances"
                                                                          ("Coverage B"), and
                MEMORANDUM AND ORDER                                      • "Investigation and Defense" ("Coverage C ").9
                                                               Coverage A covers six categories of liability, principally
                                                               related to the Oil Pollution Act of 1990, for which WQIS
LEWIS A. KAPLAN, District Judge.                               must reimburse ACL. 10 Coverage B covers three
                                                               additional categories." Coverage C provides that WQIS
*1 This action concerns a dispute between an insured,
                                                               must reimburse ACL for "[c]osts and expenses incurred
American Commercial Lines LLC ("ACL"), and its                 by [ACL] with prior consent of WQIS for investigation
insurer, the Water Quality Insurance Syndicate ("WQIS"),
                                                               of, or defense against, any liabilities covered under
about the extent to which a WQIS-issued insurance policy
                                                               COVERAGE A or B of PART I of the Policy. "12 None of
covers ACL's investigation and defense costs related to a
                                                               these three insuring clauses contains any relevant limits
maritime accident and oil spill on the Mississippi River in
                                                               on WQIS's reimbursement obligation."
July 2008. The parties disagree as to whether WQIS's
obligation to reimburse ACL's investigation and defense
                                                               Part II, Article A, of the Policy contains limits on WQIS's
costs ended when its payments under two other coverage
                                                               liability under the Policy:
clauses reached the policy limits for those coverages. The
matter is before the Court on the parties' cross-motions            "1) LIMIT APPLICABLE TO COVERAGE A and
for partial judgment on the pleadings.'                             B of PART I: The limit of liability under this Policy
                                                                    with respect to all indemnity provided under
                                                                    COVERAGE A and B of PART I shall be the
                                                                    amount stated on the Vessel Schedule. This limit
                            Facts2                                  shall apply to each Vessel with respect to each
                                                                    separate Occurrence ....
                                                                    "2) LIMIT APPLICABLE TO COVERAGE C of
                                                                    PART I: The amounts payable for costs and
The Accident                                                        expenses incurred by [ACL] with the prior consent
On July 23, 2008, an unmanned, non-self propelled vessel            of WQIS for investigation of, or defense against, any
named Barge DM-932 (the "Barge") was involved in an                 liabilities covered under COVERAGE A and B of
accident on the Mississippi River near New Orleans.' The            PART I shall be in addition to the limits of liability
Barge sank, and approximately 300,000 gallons of fuel oil           stated in ARTICLE A(1) of PART IL "1'
spilled into the river,' ACL, as owner of the Barge, has
been sued as a result of the accident and oil spill.' ACL      *2 WQIS's payments under Coverage A have reached the
promptly notified WQIS.'                                       policy limit for that coverage set out in the Vessel
                                                               Schedule." The parties disagree as to whether WQIS
                                                               nevertheless remains obligated to reimburse ACL under
      y'""; x     ©   2016 Thomson Reuters. No claim to original U.S. Government Works.
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American Commercial Lines LLC v. Water Quality Ins. Syndicate, Not Reported in...
2010 WL 1379763

Coverage C for investigation and defense costs incurred          Coverage C obligation is found in Part II, Article A(2).
by reason of the discharge of oil in the accident.               Far from limiting WQIS's reimbursement requirement,
                                                                 this provision expressly provides that the amounts
                                                                 payable by WQIS under Coverage C "shall be in addition
                                                                 to the limits" the Policy imposes on WQIS's Coverage A
                                                                 and B. This language makes clear that the parties did not
                          Discussion                             intend to limit WQIS's obligations under Part I, Coverage
                                                                 C as they did for Part I, Coverage A and B.
A motion for judgment on the pleadings under Rule 12(c)
is governed by the same standard applicable to dismissals
                                                                 *3 WQIS argues that its obligation to make payments for
pursuant to Fed.R.Civ.P. 12(b)(6). 16 The Court therefore
                                                                 investigation and defense costs under Coverage C has
views the pleadings in the light most favorable to, and
                                                                 ended, as there no longer are any "liabilities covered"
draws all reasonable inferences in favor of, the
                                                                 under Coverage A or B because its payments already have
non-moving party." Judgment is appropriate if, based on
                                                                 reached the limits set out in Part II, Article A(1). This
the pleadings, the moving party is entitled to judgment as
                                                                 interpretation is unreasonable for three reasons.
a matter of law.'$
                                                                 First, as noted above, the Policy explicitly provides that
Under New York law, 19 the terms of the insurance policy
                                                                 WQIS's obligation under Part I, Coverage C is "in
determine the insurer's obligations. Insurance policies,
                                                                 addition to the limits of liability" stated in Part II, A(l).
like all other contracts, are "interpreted to give effect to
                                                                 The plain meaning of this is that WQIS's Coverage C
the intent of the parties as expressed in the clear language     obligation does not terminate merely because WQIS's
of the contract. "20
                                                                 payments under Coverage A or B have reached the cap on
                                                                 such payments.
The Court's initial obligation is to determine whether the
contract is unambiguous with respect to the issue disputed
                                                                 Second, the Policy text shows that the parties did not
by the parties. 21 Ambiguity exists when a contract term
                                                                 intend to limit WQIS's Part I, Coverage C obligation. The
"could suggest more than one meaning when viewed
                                                                 parties knew how to restrict WQIS's reimbursement
objectively by a reasonably intelligent person who has
                                                                 obligations when they wanted to do so. 29 The Policy,
examined the entire integrated agreement" and who is
                                                                 however, is devoid of any such restrictions Coverage C.
aware of the customs and usages of the relevant trade. 22
                                                                 The fact that the Policy contains express language
Otherwise clear language is not made ambiguous,
                                                                 limiting the insurer's obligation in some instances
however, "merely because the parties urge different
                                                                 undercuts any inference that the parties intended to do so
interpretations in litigation" unless each interpretation is
                                                                 where such language is absent.'°
"reasonable. There is no ambiguity where one party's
            " 23

interpretation of the contract "strains the language beyond
                                                                 Third, while the "limits on liability under th[e] Policy" in
its reasonable and ordinary meaning.      " 24
                                                                 Part II, Article A(1) cap the maximum amount that WQIS
                                                                 may be obliged to pay under Coverage A or B for any
If the text of the contract is unambiguous, its meaning is a
                                                                 particular incident, they do not limit the scope of the
question of law for the court. 2' If, on the other hand, the
                                                                 coverage provided under those provisions. The fact that
contract's terms are ambiguous, extrinsic evidence may
                                                                 WQIS has reached the payment limits does not change
be used to determine the parties' intent. 26 The meaning of
                                                                 whether an incident is a "liability covered" by Coverage
an ambiguous contract when extrinsic evidence is
                                                                 A and B. The phrase "liability covered under
introduced is a question of fact •
                                     27
                                                                 COVERAGE A or B of PART I of the Policy" in Part 1,
                                                                 Coverage C plainly refers to ACL's potential grounds for
When the Policy is read as a whole, its language with
                                                                 financial responsibility, not WQIS's obligation to pay, as
respect to WQIS's obligation to pay ACL's investigation
                                                                 it contains no reference to the Part II, Article A(1) limits.
and defense costs is unambiguous. Coverage C obliges
WQIS to reimburse ACL for "costs and expenses incurred
by [ACL] with the prior consent of WQIS for
investigation of, or defense against, any liabilities covered
under COVERAGE A or B of PART I of the Policy.            " 28
                                                                                         Conclusion
This provision, on its face, contains no temporal or
quantitative limit on WQIS's reimbursement obligation.           For the foregoing reasons, ACL's motion for partial
                                                                 judgment on the pleadings determining that WQIS's
The Policy's only other provision relating to WQIS's             contractual obligation under the Policy to reimburse ACL
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for costs incurred and to be incurred by ACL in the                   All Citations
investigation and defense of all claims asserted against
ACL as a result of the subject oil spill continues until all          Not Reported in F.Supp.2d, 2010 WL 1379763
such costs are reimbursed, regardless of whether other
indemnity limits under the Policy have been reached [DI
9] is granted. WQIS's cross-motion for partial judgment
on the pleadings and other relief [DI 13] is denied.


Footnotes

1       The parties have submitted affidavits in connection with their opposition and reply papers. The Court did not consider
        these affidavits in rendering this opinion and hereby excludes them. The affidavits would not have changed the result
        had they been considered.

2       The following facts were alleged in the complaint and admitted in the answer.


3       Cpt. ¶¶ 8, 15.


4       Id. ¶¶ 18, 17, 18.


5       Id.¶¶11,22.


6       Id. ¶ 30.


7       Id. ¶¶ 8, 28.

8       Id. ¶ 24.


9       Id.

10      Id.

11      Id.

12      Id. (emphasis in original).

13      The Policy provisions specifically exclude from coverage liabilities under specific provisions of the Oil Pollution Act of
        1990 and the Comprehensive Environmental Response, Compensation and Liability Act. See id.

14      Id. (emphasis added).

15      Id. ¶ 34. There is some dispute about when WQIS's payments reached the $5 million Coverage A limit. ACL contends
        that this occurred on August 28, 2008. Id. ¶ 33. WQIS argues that it exhausted its indemnity limits on or about August
        26, 2008. Ans. ¶¶ 33, 42.

16      See Hayden v. Paterson, 594 F.3d 150, 160 (2d Cir.2010) (citing Johnson v. Rowley, 569 F.3d 40, 43 (2d Cir.2009)).

17      See id.; Sheppard v. Beerman, 18 F.3d 147, 150 (2d Cir.1994); Madonna v. United, States, 878 F.2d 62, 65 (2d
        Cir.1989).


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18    Bums v. Int'l Sec. Servs. v. Int'l Union, 47 F.3d 14, 15 (2d Cir.1995).


19    The parties agree that New York law applies to the interpretation of the insurance policy. See, e.g., P1. Br. at 8; Def.
      Opp. Br. at 12-13. In addition, the insurance policy contains a choice of law provision which states that "the law
      applicable to the interpretation of this Policy shall be federal maritime law or, in the absence of federal maritime law,
                                                     ...


      the law of the State of New York, without regard for New York's choice of law rules." Cpt. ¶ 24; Ans. ¶ 24.
20    Morgan Stanley Group Inc. v. New England Ins. Co., 225 F.3d 270, 275 (2d Cir.2000) (quoting Vill. of Sylvan Beach v.
      Travelers Indem. Co., 55 F.3d 114, 115(2d Cir.1995)).

21    Law Debenture Trust Co. of New York v. Maverick Tube Corp., 595 F.3d 458, 465-66 (2d Cir.2010); Int'l Multifoods
      Corp. v. Comm. Union Ins. Co., 309 F.3d 76, 83 (2d Cir.2002).

22    Law Debenture Trust Co., 595 F.3d at 466 (quoting Intl Multifoods, 309 F.3d at 83).

23    Id. at 467.

24    Id.; see Readco, Inc. v. Marine Midland Bank, 81 F.3d 295, 300 (2d Cir.1996) ("[Where consideration of the contract
      as a whole will remove the ambiguity created by a particular clause, there is no ambiguity.   ").




25    Postlewaite v. McGraw-Hill, 411 F.3d 63, 67 (2d Cir.2005).

26    Intl Multifoods, 309 F.3d at 83.


27    JA Apparel Corp. v. Abboud, 568 F.3d 390, 397 (2d Cir.2009).


28    Cpt. ¶ 24.


29    See, e.g., Part II, Article A(1).

30    See Law Debenture Trust Co., 595 F.3d at 467; W.W.W. Assocs. Inc. v. Giancontieri, 77 N.Y.2d 157, 163, 565
      N.Y.S.2d 440, 566 N.E.2d 639 (1990).




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                                 EXHIBIT 11
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                                                            Motions will be denied, Summit Defendants' Motion for
                 2014 WL 6895270
                                                            Judgment on the Pleadings will be granted and their
   Only the Westlaw citation is currently available.        Motion for Summary Judgment will be dismissed as
             NOT FOR PUBLICATION                            moot.
            United States District Court,
                  D. New Jersey.

             Drew BRADFORD, Plaintiff,                      I. Plaintiff's Motions
                           V.                               Local Civil Rule 7.1(i) requires any Motions for
           Joe BOLLES, et al., Defendants.                  Reconsideration to be filed within 14 days after the entry
                                                            of the order or judgment on the original motion.
                    Civ. No. 13 -1910.                      Plaintiff's Motion for Reconsideration was filed on
                                1                           October 20, 2014, more than two months after the Court's
                   Filed Dec.       5, 2014.                August 4, 2014 Order was entered. Nevertheless, in light
                                                            of Plaintiffs recent abandonment by his lawyer, the Court
                                                            has considered Plaintiffs Motion for Reconsideration and
Attorneys and Law Firms                                     fmds no grounds for reconsideration. In order to . succeed
                                                            on a motion for reconsideration, the moving party must
Drew Bradford, Bedminster, NJ, pro se.                      demonstrate (1) an intervening change in controlling law;
                                                            (2) the availability of new, previously unavailable
John Charles Allen, Law Offices of John Charles Allen,      evidence, or (3) the need to correct a clear error of law or
LLC, New Brunswick, NJ, for Plaintiff.                      to prevent manifest injustice. See North River Ins. Co. v.
                                                            CIGNA Reins. Co., 52 F.3d 1194, 1218 (3d Cir.1995).
Scott D. Rodgers, Cooper and Rodgers, P.C., Somerville,
                                                            Reconsideration is an "extraordinary remedy" and thus
NJ, Timothy P. Beck, DiFrancesco, Kunzman, Coley,
                                                            granted "very sparingly." Ivan v. Middlesex Cnty., 612
Yospin, Bernstein & Bateman, PC, Warren, NJ, for
                                                            F.Supp.2d. 546, 551 (D.N.J. May 6, 2009). After
Defendants.
                                                            reviewing Plaintiffs briefs in support of his Motion (Doc.
                                                            No. 52, 53, 60, 62, 67), Plaintiff has demonstrated no
                                                            facts, no change in controlling law, and no clear error of
                                                            law or manifest injustice that warrants reconsideration.
                                                            Therefore, Plaintiffs Motion to File Out of Time will be
             MEMORANDUM OPINION                             dismissed as moot, and his Motion for Reconsideration
                                                            will be denied.

THOMPSON, District Judge.                                   Plaintiffs Motion to Amend the Complaint seeks to add a
                                                            new Judiciary Defendant, Elizabeth Lipari. Under
*1 Presently before the Court are multiple motions filed    Fed.R.Civ.P. 15(a) (2), leave to amend the complaint is
by Plaintiff Drew Bradford and by Summit Defendants.'       freely granted unless there is undue delay, bad faith,
On October 20, 2014, Plaintiff filed a Motion to File Out   undue prejudice, or futility. See Foman v. Davis, 371 U.S.
of Time, a Motion for Reconsideration of this Court's       178, 182, 83 S.Ct. 227, 9 L.Ed.2d 222 (1962). Here,
August 4, 2014 Opinion and Order,' and a Motion to          Plaintiffs amendment would be futile. The Court's
Amend Plaintiffs Complaint. (Doc. No. 52).                  August 4, 2014 Opinion granted Judiciary Defendants'
Subsequently on October 24, 2014, Summit Defendants         Motion to Dismiss on the basis of these Defendants'
filed a Motion for Judgment on the Pleadings and a          immunities, among other reasons. (Doc. No. 49 at 6). As a
Motion for Summary Judgment on Count I of their             fellow staff member of Somerset County court, Ms. Lipari
Counterclaim. (Doc. No. 54). On December 1, 2014, this      enjoys the same immunities as her co-workers, the
Court held a show cause hearing to address the apparent     Judiciary Defendants. Therefore, Plaintiffs proposed
abandonment of Plaintiffs lawyer. This lawyer failed to     amendment to his Complaint is futile, and his Motion to
appear, and Mr. Bradford represented to the court that he   Amend the Complaint will be denied.
would be proceeding pro se. On that same day, Plaintiff
filed a Motion for Sanctions against Summit Defendants      *2 Finally, Plaintiff brings a Motion for Sanctions against
and their counsel. (Doc. No. 66). After reviewing the       Summit Defendants, their counsel, and counsel's firm.
parties' written submissions and considering the parties'   (Doc. No. 66). Fed.R.Civ.P. 11 allows the court in its
December 1, 2014 oral arguments, all of Plaintiffs
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discretion to impose appropriate sanctions against                   prosecute, and failure to investigate an arrest accrued in
attorneys and parties who have signed and filed pleadings,           2005 or 2006 and are thus time barred since Plaintiff did
motions, or other papers that after reasonable inquiry are           not file his Complaint until March 27, 2013. In addition,
not grounded in fact or warranted by law. Such sanctions             Plaintiff's claims against the City of Summit and the
should be imposed only in the "exceptional circumstance"             Summit Defendants are covered by a contractual release
and should be guided by equitable considerations.                    signed by Plaintiff and arise out of the same set of facts
Doering v. Union Cnty. Bd. Of Chosen Freeholders, 857                that were the subject of Plaintiff's Superior Court claim in
F.2d 191, 194-95 (3d Cir.1988). After reviewing                      the Bradford v. Gleason case. Thus, these claims are also
Plaintiff's Motion (Doc. No. 66) and in light of the                 precluded by the terms of the Release and by New
dispositive ruling in favor of Summit Defendants (see                Jersey's Entire Controversy Doctrine, N.J. Ct. R. 4:30A,
below), the Court does not find any grounds for sanctions            res judicata, and collateral estoppel. Lastly, to the extent
here. Therefore, Plaintiff's Motion for Sanctions will be            that Plaintiff asserts a claim based on the false testimony
denied.                                                              of one of the Summit Defendants, there is no such cause
                                                                     of action. Therefore, Summit Defendants' Motion for
                                                                     Judgment on the Pleadings is granted, and judgment will
                                                                     be entered in favor of Summit Defendants.
II. Summit Defendants' Motions
In assessing a Motion for Judgment on the Pleadings                  During the hearing on December 1, 2014, Summit
under Fed.R.Civ.P. 12(c) the Court must accept as true all           Defendants stated that they would withdraw their
of a plaintiff's well-pleaded factual allegations, construe          Counterclaims and instead seek reasonable attorneys' fees
the complaint in the light most favorable to the                     from Plaintiff for defending the lawsuit. Therefore
nonmoving party, and determine whether the movant is                 Summit Defendants' Motion for Summary Judgment on
entitled to judgment as a matter of law. See Mele v. Fed.            Count I of their Counterclaim will be dismissed as moot,
Reserve Bank of N.Y., 359 F.3d 251, 253 (3d Cir.2004).               and the Court will direct Summit Defendants to timely
Here, all of Plaintiff's claims against the Summit                   file their Motion for Attorneys' Fees, including an
Defendants are time-barred or otherwise precluded as                 affidavit of services.
they stem from events that occurred between 2005 and
2006.42 U.S.C. § 1983 claims are subject to the statute of
limitations applicable to the underlying personal injury
claim in the state in which the claim arises. See Kach v.            All Citations
Hose, 589 F.3d 626, 634 (3d Cir.2009). In New Jersey,
the statute of limitations for personal injury claims is two         Slip Copy, 2014 WL 6895270
years from the date of accrual. See N.J.S.A. 2A:14-2.
Plaintiffs claims of false arrest, false imprisonment,
malicious prosecution, conspiracy to maliciously

Footnotes

       These Defendants include: the City of Summit, the Summit Police Department, Captain Steve Zagorski, Andrew
       Bartolotti, and W. Paul Kelly.

       This Opinion and Order granted the Judiciary Defendants' Motion to Dismiss. (Doc. No. 49, 50). The Judiciary
       Defendants include: Joe Bolles, Mary Braunschweiger, Eugene Farkas, the Honorable Glenn A. Grant, J.A.D., Meryl
       Nadler, Patrice Rindok, the Trial Court Administration, and the Administrative Office of the Courts.




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                                 EXHIBIT 12
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Montville Tp. v. Woodmont Builders, LLC, Not Reported in F.Supp.2d (2009)
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                2009 WL 3 2539 11                            Attorneys and Law Firms
  Only the Westlaw citation is currently available.
            NOT FOR PUBLICATION                              Coffey & Associates, by: Gregory J. Coffey, Esq. and
           United States District Court,                     Richard J. Dewland, Esq., Morristown, NJ, for Plaintiff.
                 D. New Jersey.
                                                             Stem, Lavinthal, Frankenberg & Norgaard, LLC, by:
        MONTVILLE TOWNSHIP, Plaintiff,                       Mark S. Winter, Esq., Livingston, NJ, for Defendants
                           V.                                David and Nathan Mandelbaum, Ronald G. Targan, and
      WOODMONT BUILDERS, LLC, et. al.,                       Richard W. Koralek.
             Defendants.
                                                             Wolff & Samson, PC, by: Lee Henig—Elona, Esq., West
               Civ. No.   03-2680      (DRD).                Orange, NJ, for Defendant Woodmont Builders, LLC.

                      Oct. 7,   2009.




                                                                                     OPINION
West KeySummary
                                                             DEBEVOISE, Senior District Judge.
       Environmental Law                                     *1 This matter involves a dispute between Plaintiff
         Weight and Sufficiency                              Montville Township ("Montville" or "the Township") and
                                                             Defendants over which party is responsible for the cost of
       Township failed to present evidence that the          remediating environmental contamination on a parcel of
       previous property owners disposed of                  property purchased by the Township in 1999 ("the
       contaminants on the property purchased by the         Property"). Montville, which engaged in a voluntary
       township and thus, the previous owners were not       cleanup of the Property under the oversight of the New
       liable under the Comprehensive Environmental          Jersey Department of Environmental Protection
       Response, Compensation, and Liability Act             ("NJDEP"), seeks to recover cleanup costs from the
       (CERCLA). The township alleged that the prior         developer who contracted to build residences on a portion
       owners disposed of hazardous chemicals on the         of the Property, Woodmont Builders, LLC
       parcel, because they operated an orchard during       ("Woodmont"), and the group of individuals who owned
       the time they owned the property and used             the Property before it was purchased by the Township
       hazardous chemicals as pesticides. However, the       (the "Mandelbaums" ). 1 The Township originally filed a
       township's evidence consisted of a draft of a tax     14—Count Complaint asserting claims under (1) §§ 107(a)
       return, but no signed and authenticated copy was      and 113(f) of the Comprehensive Environmental
       ever produced, and one farm assessment form,          Response, Compensation, and Liability Act of 1980
       although the township alleged there were three,       ("CERCLA"), 42 U.S.C. §§ 9601-9675, as modified by
       that said that the entire property was used for       the Superfund Amendments and Reauthorization Act of
       fruit crops and the entire property was used for      1986, Pub.L. No. 99-499, 100 Stat. 1613; (2) the New
       woodland products. Comprehensive                      Jersey Spill Compensation and Control Act (the "Spill
       Environmental Response, Compensation, and
                                                             Act"), N.J. Stat. Ann. §§ 58:10-23.11 to 23.11(2); and (3)
       Liability Act of 1980, § 107(a)(2), 42 U.S.C.A.
                                                             various common law doctrines. In a ruling issued on
       § 9607(a)(2).
                                                             September 10, 2004 the Court dismissed nine of the
                                                             twelve claims asserted against the Mandelbaums.
       Cases that cite this headnote                         Subsequently, the Mandelbaums and Woodmont moved,
                                                             respectively, for summary judgment and judgment on the
                                                             pleadings. Those motions were granted and the remaining
                                                             claims dismissed on August 12, 2005. After the
                                                             Township's Motion for Reconsideration of that ruling was
                                                             denied, it timely sought review from the Court of Appeals
                                                             for the Third Circuit.
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                                                               enactment of environmental regulations banning their use.
While the Township's appeal was pending the Supreme            In 1970, the Property was purchased by the Mandelbaum
Court decided United States v. Atlantic Research Corp.,        Defendants. Those individuals held the Property for 29
551 U.S. 128, 127 S.Ct. 2331, 168 L.Ed.2d 28 (2007), a         years before splitting it into a 100–acre portion that was
case which overruled a prior decision by the Court of          sold to the Township for use as open space to be enjoyed
Appeals on which this Court had relied in dismissing           by Montville's citizens and a 30–acre portion on which
Montville's CERCLA claims. Based on that intervening           Woodmont contracted to develop a residential
change in law, the Court of Appeals on August 8, 2007          neighborhood.
reversed in part this Court's prior rulings and remanded
the case for further consideration in light of Atlantic        Prior to purchasing the Property, Montville hired the
Research.                                                      environmental engineering firm Post, Buckley, Schuh &
                                                               Jernigan, Inc. ("PBS & J") to perform an environmental
The Mandelbaum Defendants and Woodmont now move                assessment on the land. In its April 1998 report, PBS & J
for summary judgment. In response to those Motions,            noted that the Property contained various debris, but
Montville cross-moves for summary judgment on its              concluded that "none of the observed debris was
claims for declaratory judgment and cleanup costs under        considered hazardous, [but] additional material in lower
CERCLA § 107(a) and the New Jersey Spill Act. For the          layers could be classified as such. No sampling is
reasons set forth below, the Motions for Summary               recommended for this area at this time; however, when
Judgment submitted by the Mandelbaums and Woodmont             the debris is removed, the lower layers should be carefully
will be granted, and the Township's motion will be             examined." Before closing on the Property, Montville was
denied. The Township's claims under CERCLA and the             told that the debris had been removed, but did not take
Spill Act will be dismissed. The Court of Appeals did not      steps to investigate possible contamination in the lower
disturb the Court's earlier ruling dismissing all common       soil levels. After the purchase was complete, however, the
law claims, and that decision remains in effect.               Township discovered that the debris had not been
                                                               removed. A later environmental survey of the Property
                                                               revealed that the lower soil levels were contaminated.
                                                               After receiving the results of that survey, the Township
                                                               conducted a voluntary cleanup of the Property in
                   I. BACKGROUND                               cooperation with the NJDEP.
The facts out of which this litigation arises are
substantially similar to those in a related case, Bonnieview
Homeowners Association v. Woodmont Builders, LLC,              B. Prior District Court Proceedings
Civ. No. 03-4317(DRD). The Court's September 22,               On June 5, 2003, the Township filed suit seeking to
2009 Opinion in that case lays out much of the                 recover the cost of its cleanup from PSB & J, Woodmont,
background relevant to today's ruling, and is incorporated     and each of the individual Mandelbaum Defendants. In its
herein. See — F.Supp.2d , 2009 U.S. Dist. LEXIS                14–count Complaint, Montville asserted claims pursuant
86737 (D.N.J.2009). For the sake of brevity, the Court         to (1) § 107(a) and 113(f) of the CERCLA, (2) the New
will refrain from revisiting the majority of the facts         Jersey Spill Act, and (3) various common law causes of
outlined in that ruling.                                       action. 2 Both the Mandelbaum Defendants and PSB & J
                                                               moved to dismiss. In an Opinion and Order dated August
                                                               31, 2004, this Court granted in part those motions,
                                                               dismissing eight of the twelve counts asserted against the
A. The Property                                                Mandelbaum Defendants and ten of the thirteen counts
*2 As discussed above, this matter involves a dispute over     against PBS & J. On September 10, 2004, the Court
responsibility for the cost of remediating soil
                                                               amended its earlier Opinion and Order to dismiss an
contamination on the Property, which was sold by the
                                                               additional claim, Montville's action under CERCLA §
Mandelbaum Defendants to the Township and Woodmont
                                                               107(a) asserted against the Mandelbaums in Count I of its
in 1999. From 1941 until it was abandoned sometime
                                                               Complaint. See Montville Twp. v. Woodmont Builders,
prior to 1970, the Property was the site of a fruit orchard    LLC, No. 03-2680, 2004 U.S. Dist. LEXIS 30606 (D.N.J.
known as `Bonnieview Farms." During the orchard's
                                                               September 10, 2004).
operation, the Property's soil was contaminated with
several hazardous chemicals—including
                                                               *3 On September 27, 2005, PBS & J moved to dismiss
dichlorodiphenyltnchloro ethane ("DDT"), arsenic, and
                                                               the remaining claims asserted against it. That motion was
lead—that were widely utilized as pesticides prior to the      granted on Jan"                                          rt
                                                                               ary6 2006 In the same rulin g, i-1-,. C ou
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dismissed with prejudice Montville's claims against all        C. Appeal and Remand
individual Defendants except David and Nathan                  While the Township's appeal was pending the Supreme
Mandelbaum. The Township did not appeal that decision.         Court decided Atlantic Research, in which it held that (1)
Thus, PBS & J and the individual Defendants other than         CERCLA § 113(f) does not provide the exclusive means
David and Nathan Mandelbaum are no longer involved in          of seeking cleanup costs for environmental remediation,
these proceedings.                                             and (2) a PRP may seek such costs under § 107(a) of the
                                                               Act. That judgment overruled a previously-binding
After the Court's Amended Opinion and Order of                 decision by the Court of Appeals on which this Court had
September 10, 2004, the only remaining causes of action        relied in holding that the Township could not bring a
asserted by the Township against the Mandelbaum                claim under CERCLA § 107(a) because it was a PRP. See
Defendants were for (1) contribution under CERCLA §            E.I. DuPont de Nemours & Co. v. United States, 460 F.3d
 113(f) (Count II), (2) declaratory judgment under             515, 543 (3d Cir.2006) (holding that CERCLA § 113
CERCLA (Count III), and (3) negligent misrepresentation        provides the exclusive remedy for a PRP seeking cleanup
(Count XII). The Mandelbaums later moved for summary           costs from other PRPs, and such relief may not be
judgment on those claims, while Woodmont moved for             pursued under § 107(a) unless the party alleges that it is
summary judgment or judgment on the pleadings                  an "innocent owner.  "). In Atlantic Research, the Supreme
dismissing the claims against it. On August 12, 2005, the      Court distinguished actions to recover incurred cleanup
Court granted those motions and dismissed all remaining        costs under § 107(a)—which may be sought by any
claims. See Montville Twp. v. Woodmont Builders, LLC,          private party, including a PRP, at any time—from actions
No. 03-2680, 2005 U.S. Dist. LEXIS 18079, 2005 WL              for "contribution" under § 113(f), which may only be
2000204 (D.N.J. Aug. 17, 2005). In doing so, the Court         undertaken only by a party subject to a judgment or
found that the Township's CERCLA and New Jersey                settlement agreement based on §§ 106 or 107(a) that
Spill Act claims were barred by a January 22, 2004,            resulted in an inequitable distribution of common liability.
settlement agreement between entered into by the               Atl. Research, 551 U.S. at 139 n. 6 ("[C]osts incurred
Township and Woodmont in connection with a state court         voluntarily are recoverable only by way of §
proceeding. The agreement stated that the Township             107(a)(4)(B), and costs of reimbursement to another
would "make no claim of any sort under CERCLA or the           person pursuant to a legal judgment or settlement are
New Jersey Spill Act or any other environmental statute        recoverable only under § 113(f). ").


or law against Woodmont or its contractors in connection
with this cleanup." Id. at *3• In the alternative, the Court   *4 Based on the Supreme Court's ruling in Atlantic
found that Montville's claims should be dismissed on           Research, the Court •of Appeals reversed this Court's
their substantive merits. That holding was based partially     decision holding that Montville was not entitled to pursue
on a portion of the Court's September 10, 2004 ruling in       a claim under CERCLA § 107(a) or declaratory judgment
which it ruled that the Township could not bring a claim       against the Mandelbaum Defendants or Woodmont
under CERCLA § 107(a) because it was a "potentially            because it was a PRP, and remanded for further
responsible party" ("PRP")' and had not asserted an            proceedings. In doing so, it stated that:
"innocent owner" defense. Montville, 2004 U.S. Dist.
LEXIS 30606 at * 14. Having dismissed the Township's                       [T]he District Court was correct in
CERCLA § 107(a) claims in its earlier decision, the Court                  concluding the Township could not
stated in its August 12, 2005 ruling that Montville could                  sue for contribution under § 113(f)
not seek contribution for the costs of its cleanup under                   (because it faced no liability under
CERCLA § 113(f) because it faced no liability under                        §§ 106 or 107(a)), but incorrect in
CERCLA §§ 106 or 107(a). Montville, 2005 U.S. Dist.                        concluding the Township could not
LEXIS 18079 at * 21, 2005 WL 2000204. On August 30,                        sue to recover costs under § 107(a)
2005, the Montville moved for reconsideration of the                       (because it was a PRP). On remand,
Court's August 17, 2005 Order, and also sought leave to                    the District Court should reconsider
amend its Complaint to assert an innocent owner                            Counts I (CERCLA § 107(a)) and
defense-which would preclude its being a PRP and                           III (declaratory judgment under
thereby allow the Township to state a CERCLA § 107(a)                      CERCLA) of the Township's
claim. The Court denied both motions on September 28,                      complaint against the Mandelbaum
2005, after which the Township sought review from the                      Defendants and Woodmont in light
Court of Appeals.                                                          of Atlantic Research Corp.

                                                               Montville Twp. v. Woodmont Builders, LLC,          244 Fed.

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App'x 514, 518 (3d Cir.2007). Additionally, the Court of       jury could fmd for the non-moving party." Kaucher v.
Appeals stated that, "[g]iven the District Court's focus on    County of Bucks, 455 F.3d 418, 423 (3d Cir.2006). For a
the merits of the CERCLA claims against the                    fact to be material, it must have the ability to "affect the
Mandelbaum Defendants and Woodmont in its summary              outcome of the suit under governing law." Id. Disputes
judgment opinion, the court should also re-visit the           over irrelevant or unnecessary facts will not preclude a
question of whether the settlement agreement bars the          grant of summary judgment.
Township's § 107(a) claim against Woodmont." Id. at 519
n. 8.                                                          The party moving for summary judgment has the burden
                                                               of showing that no genuine issue of material fact exists.
The Court of Appeals noted that Montville's claims under       Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct.
the New Jersey Spill Act were not briefed by either party      2548, 91 L.Ed.2d 265 (1986). When the moving party
or addressed on appeal. It stated, however, that this          does not bear the burden of proof at trial, the moving
Court's ruling dismissing those claims would be vacated,       party may discharge its burden by showing that there is an
"if necessary," in light of the Supreme Court's decision in    absence of evidence to support the non-moving party's
Atlantic Research. Id. at 519. In its pending motion,          case. Id. at 325. If the moving party can make such a
Montville alleges that it is entitled to summary judgment      showing, then the burden shifts to the non-moving party
on its Spill Act claims. The Supreme Court did not             to present evidence that a genuine fact issue exists and a
address that statute in Atlantic Research. Therefore, there    trial is necessary. Id. at 324. In meeting its burden, the
has been no intervening change in law that would affect        non-moving party must offer specific facts that establish a
the validity of the Court's earlier ruling. In light of the    material dispute, not simply create "some metaphysical
broad language used by the Court of Appeals in vacating        doubt as to the material facts." Matsushita Elec. Indus.
that ruling, however, Montville's claims under the Spill       Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586-87,
Act arguably remain open and will be addressed in               106 S.Ct. 1348, 89 L.Ed.2d 538 (1986).
today's decision.
                                                               In deciding whether an issue of material fact exists, the
                                                               Court must consider all facts and their reasonable
                                                               inferences in the light most favorable to the non-moving
                                                               party. See Pa. Coal Ass'n v. Babbitt, 63 F.3d 231, 236 (3d
                    II. DISCUSSION                             Cir.1995). The Court's function, however, is not to weigh
                                                               the evidence and rule on the truth of the matter, but rather
The parties now move for summary judgment on their             to determine whether there is a genuine issue for trial.
respective claims. Montville contends that it is entitled to   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249, 106
cleanup costs under CERCLA § 107(a) and a declaratory
                                                               S.Ct. 2505, 91 L.Ed.2d 202 (1986). If there are no issues
judgment as to the liability of both Woodmont and the          that require a trial, then judgment as a matter of law is
Mandelbaum Defendants. Additionally, the Township              appropriate. Id. at 251-52.
claims that it is entitled to summary judgment on its
claims under the New Jersey Spill Act. Woodmont argues
that (1) Montville's claims against it are barred by the
January 22, 2004 settlement agreement and (2) the              B. Common Law Claims
Township has failed to demonstrate that it disposed of any     The substantive merits of the Township's common law
hazardous substances on the open space parcel of the           claims, which are laid out in Counts V through XII of its
Property. Similarly, the Mandelbaums claim that the            Complaint, need not be revisited. All but one of those
Township has not adequately demonstrated that they             claims—the Township's negligent misrepresentation
disposed of any hazardous materials, and on that basis         allegations contained in Count XII—were dismissed as to
contend that the CERCLA and Spill Act claims against           the Mandelbaums in this Court's September 10, 2004
them must be dismissed.                                        Opinion and Order. See Montville, No. 03-2680, 2004
                                                               U.S. Dist. LEXIS 30606 at *43. The Court granted
                                                               summary judgment in favor of the Mandelbaums and
                                                               dismissed the remaining common law claim against them
A. Standard of Review                                          on August 12, 2005. In the same ruling, it granted
*5 Summary judgment is proper where "there is no
                                                               Woodmont's request for judgment on the pleadings on
genuine issue as to any material fact and ... the moving
                                                               Counts V through X and summary judgment on Counts
party is entitled to judgment as a matter of law."
                                                               XI and XII. See Montville, 2005 U.S. Dist. LEXIS 18079
Fed.R.Civ.P. 56(c). For an issue to be genuine, there must
                                                               at * 37-38, 2005 WL 2000204.
be "a sufficient evidentiary basis on which a reasonable

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In its Motion for Reconsideration of the latter ruling, the    litigation between Montville and Woodmont, stated that
Township only made arguments relating to its claims            the Township would "make no claim of any sort under
under the CERCLA and New Jersey Spill Act. There was           CERCLA or the New Jersey Spill Act or any other
no mention whatsoever of Montville's common law                environmental statute or law against Woodmont or its
claims in the brief it filed in support of its Motion. See     contractors in connection with this cleanup." See
generally (Pl.'s Br. Supp. Mot. Reconsideration of August      Montville, 2005 U.S. Dist. LEXIS 18079 at *3, 2005 WL
26, 2005.) Similarly, the Township did not raise its           2000204. Pursuant to the settlement agreement, the state
common law claims in its appeal from this Court's denial       court in February 2004 entered a stipulation and Order
of its Motion for Reconsideration. In fact, the Court of       dismissing with prejudice the Township's claims against
Appeals specifically noted that "[t]he parties' briefing [on   Woodmont. Id. The Township has not sought in the
appeal] did not analyze the remaining New Jersey Spill         present action to void that Order or the settlement.
Act and common law claims, which is not surprising             Therefore, the settlement agreement remains effective,
because the focus of this action is on the CERCLA              and its specific language barring Montville's CERCLA
claims." Montville, 244 Fed. App'x at 519. The Court of        and Spill Act claims against Woodmont requires that
Appeals then stated that "[n]onetheless, we will vacate the    those claims be dismissed. See Fisher Dev. Co. v. Boise
District Court's disposition of the remaining claims for       Cascade Corp., 37 F.3d 104, 109-110 (3d Cir.1994)
reconsideration, if necessary, in light of this opinion" Id.   (holding that (1) parties may contractually allocate their
(emphasis added). As the emphasized portion of that            responsibility for environmental pursuant to CERCLA §
statement makes clear, the Court of Appeals vacated this       107(e)(1) and (2) an agreement including a general
Court's judgment only with respect to those issues that        release of liability is effective in barring future CERCLA
were raised in Montville's Motion for Reconsideration.         claims).
Thus, the Court of Appeals left undisturbed the portions
of this Court's September 10, 2004 and August 12, 2005         Even in the absence of the settlement agreement's bar,
rulings dismissing Montville's common law claims, and          Woodmont would be entitled to summary judgment on
that dismissal remains effective.                              Montville's CERCLA and Spill Act claims. In its initial
                                                               brief, the Township alleged that Woodmont was liable as
*6 Even if the Court of Appeals had not specifically           a "person who arranged for the disposal of hazardous
limited its decision to Montville's CERCLA and New             substances on the property of another" pursuant to
Jersey Spill Act claims, well-established precedent would      CERCLA § 107(a)(3). See 42 U.S.C. § 9607(a) (outlining
compel the conclusion that the vacatur did not apply to        the four categories of PRPs who may be held liable under
this Court's dismissal of the common law claims. It is         CERCLA § 107). The Court specifically found that
axiomatic that, "absent exceptional circumstances, issues      Woodmont was not an "arranger" in its September 22,
not raised before the district court are waived on appeal."    2009 ruling in the companion case brought by the
Fletcher–Harlee Corp. v. Pote Concrete Contractors,            homeowners on the 30–acre residential portion of the
Inc., 482 F.3d 247, 253 (3d Cir.2007). "[A]ny issue that       Property. Bonnieview, 2009 U.S. Dist. LEXIS 86737 at
could have been but was not raised on appeal is waived         *41-42 ("[T]here is no evidence that Woodmont took
and thus not remanded." Beazer E., Inc. v. Mead Corp.,         intentional steps to dispose of a hazardous
525 F.3d 255, 263 (3d Cir.2008). It is undisputed that the     substance—because it is undisputed that Woodmont was
Township made no arguments relating to its common law          unaware of the contamination in the soils at the time it
claims during its appeal. In fact, the Township made no        developed the Residential Lots—so it cannot be liable as
reference to those claims in its Motion for                    an arranger under § 107(a)(3).").


Reconsideration—the denial of which led to its
appeal—and has not raised those claims since the case          *7 In its reply brief, the Township changed its argument
was remanded. Therefore, the Township has waived its           to contend that Woodmont is liable under CERCLA §
opportunity to dispute the dismissal of its common law         107(a)(2) as an "operator" of the Property. In order to
claims.                                                        establish that Woodmont is liable as an "operator" of the
                                                               open space parcel, the Township must demonstrate that
                                                               Woodmont "disposed of' hazardous chemicals on that
                                                               section of the Property. It is undisputed that Woodmont
C. Montville's CERCLA and New Jersey Spill Act                 did not add any additional pesticides to the Property. The
Claims Against Woodmont                                        Township argues, however, that Woodmont's removal of
The Township's CERCLA and New Jersey Spill Act                 debris from the open space portion of the Property and
claims against Woodmont are barred by the January 22,          construction of two retention basins on that area
2004 settlement between the parties. That agreement,           constituted a disposal. That argument is premised on the
which was entered into in connection with a state
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Township's contention that Woodmont removed soil               pumping, pouring, emitting, emptying or dumping of
while building those basins and then spread that               hazardous substances into the waters or onto the lands of
soil—which Montville claims was contaminated—across            the State." N.J. Stat. Ann. § 58:10-23.11b. "New Jersey
the rest of the open space portion of the Property.            courts have consistently interpreted the definition of
                                                               `discharge' to exclude the migration of hazardous
The Township has not offered any evidence that                 substances already present in the soil or in groundwaters."
Woodmont's activities on the open space parcel of the          White Oak Funding, Inc. v. Winning, 341 N.J.Super. 294,
Property—as distinct from the 30–acre residential plot         775 A.2d 222, 225 (N.J.Super.App.Div.2001). Thus,
that is the subject of the suit in Bonnieview—resulted in      "[i]mposition of Spill Act liability ... requires some act or
the spread of contaminated soil. In fact, the Township has     omission of human conduct which causes a hazardous
presented no evidence that the small portions of soil on       material not previously present to enter the waters or
the open space parcel that were disturbed in connection        land." Id. at 225. As discussed above, it is undisputed that
with Woodmont's activities on that portion of the              Woodmont did not add any contaminants that were not
Property were, in fact, contaminated. Rather, the              previously present the soil of the open space parcel of the
Township makes the blanket statement that "[i]mpacts           Property. Therefore, Woodmont would be entitled to
from Woodmont Builders' activities have been well              summary judgment if the Court were to consider the
documented in the soil investigations conducted at the         merits of the Township's Spill Act claims.
Subject Property." (Pl.'s Br. Supp. Mot. Summ. J. 22.) In
making that statement, Montville presumably alludes to
an environmental report commissioned by the plaintiff's
in Bonnieview, which found that Woodmont's activities in       D. Montville's CERCLA and New Jersey Spill Act
clearing, aggregating, and then redistributing the top layer   Claims Against the Mandelbaums
of soil on the 30–acre residential parcel of the Property      Montville's claims against the Mandelbaum Defendants
likely resulted in the spread of hazardous chemicals to        also fail. The Township alleges that the Mandelbaums are
portions of that soil that had not previously been             liable under CERCLA § 107(a)(2) as former owners or
contaminated. See Bonnieview, 2009 U.S. Dist. LEXIS            operators of the Property. That section defines as a PRP
86737 at *1822 (discussing the report and its findings).       "any person who at the time of disposal of any hazardous
That report dealt only with the residential portion of the     substance owned or operated any facility at which such
Property. Although Montville could have commissioned a         hazardous substances were disposed of." See 42 U.S.C. §
similar report examining the open space parcel, they have      9607(a)(2). CERCLA § 101(29) adopts the definition of
not done so. Thus, the Court is left with nothing but the      "disposal" from the Solid Waste Disposal Act, 42 U.S.C.
Township's unsupported factual allegations that                § 6903(3), which states:
Woodmont's activities on the open space parcel resulted
in the disposal of contaminants. Such allegations, without                  The term "disposal" means the
more, cannot form the basis for a reasonable judgment in                    discharge, deposit, injection,
the Township's favor. See Anderson, 477 U.S. at 252 (A                      dumping, spilling, leaking, or
"mere scintilla of evidence [is] insufficient [to survive a                 placing of any solid waste or
motion for summary judgment]; there must be evidence                        hazardous waste into or on any land
on which the jury could reasonably find for the                             or water so that such solid waste or
plaintiff.
        ").  Therefore, the Court would be required to                      hazardous waste or any constituent
grant summary judgment in favor of Woodmont on the                          thereof may enter the environment
CERCLA claims asserted against it even if those claims                      or be emitted into the air or
were not barred by the January 22, 2004 settlement                          discharged into any waters,
agreement between the parties.                                              including ground waters.

*8 The merits of the Township's claim against Woodmont         The Court of Appeals has held that the term "disposal"
under the New Jersey Spill Act are similarly deficient.        includes "not only the initial introduction of contaminants
Under that statute, "[a]ny person who has discharged a         onto a properly but also the spreading of contaminants
hazardous substance, or is in any way responsible for any      due to subsequent activity." United States v. CDMG
hazardous substance, shall be strictly liable ... for all      Realty Co., 96 F.3d 706, 719 (3d Cir.1996). "[T]his
cleanup and removal costs no matter by whom incurred."         definition of disposal does not limit disposal to a one-time
N.J. Stat. Ann. § 58:10 23.1lg(c)(1). A "discharge" is         occurrence-there may be other disposals when hazardous
defined as, "any intentional or unintentional action or        substances are moved, dispersed, or released during
omission resulting in the releasing, spilling, leaking,        landfill excavations and fillings." Id. (quoting

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Tanglewood E. Homeowners v. Charles–Thomas, Inc.,             One portion of that form states that the entire Property
849 F.2d 1568, 1573 (5th Cir.1988) (internal quotations       was used for "fruit crops," while another specifies that the
omitted)).                                                    entire parcel was used for "woodland products." The
                                                              Mandelbaums argue that the inclusion of "fruit crops" on
*9 Montville contends that there are material questions of    the form was simply an error. That contention draws
fact as to whether the Mandelbaums disposed of                support from the testimony of local residents, who stated
hazardous chemicals on the open space parcel during the       that the orchard previously located on the Property ceased
period between 1970 and 1999 when they owned the              operation in the 1960s. Moreover, the Township has not
Property. The Township has produced no evidence that          produced any documentation—such as receipts from the
the Mandelbaums engaged in excavations that moved,            sale of the fruit that was supposedly produced on the
dispersed, or spread the contaminants that were in the soil   Property; payroll records for the orchard's workers; or an
when they took possession of the Property, and does not       expert report alleging that the hazardous chemicals in the
appear to make any allegations to that effect. Rather, the    soil were introduced in the late 1980s, when it alleges the
Township claims that the Mandelbaums continued to             Mandelbaums were operating the orchard, rather than
operate an orchard during the 29 years in which they          almost 20 years earlier;—that the Property was used for
owned the Property, and that operation resulted in the        fruit-bearing trees that would necessitate the use of
addition of the contaminants at issue in this case—which      pesticides rather than forest products.
include DDT, arsenic, and lead—to the soil in the open
space parcel. The Township presents only two pieces of        *10 In fact, Montville's own evidence lends credence to
evidence in support of that contention: (1) an Application    the Mandelbaums' claims that the inclusion of "fruit
for Farmland Assessment to the State of New Jersey            crops" on the Farm Assessment form was an error. The
("Farm Assessment form") submitted by David                   Township states in its brief that the Mandelbaums filed
Mandelbaum in 1989 in which he stated both that the           such an assessment for the years 1988, 1989, and 1990.
entire Property was used for "fruit crops" and that the       Tellingly, though, it has produced only the 1989 form. It
entire Property was used for "woodland products," and         is likely that the Township's omission of the other two
(2) an unsigned draft of a 1988 federal tax return for        forms was motivated by the fact that they do not include a
Bonnieview Farms that listed "fruit" as the principal         reference to fruit crops.' Moreover, it is highly
product or service.                                           improbable that the Mandelbaums could have operated a
                                                              fruit orchard for a period of only three years—the
No reasonable juror could hold that the Mandelbaums           investment of time and capital involved in planting the
disposed of hazardous materials on the Property based on      threes necessary for such a venture would have consumed
the Township's evidence. As a preliminary matter, the         several years, and it would have been completely
Court notes that the second form submitted by Montville       irrational to allow the trees to mature only to abandon the
in support of its claim the 1988 federal tax                  operation after such a short period of time.
return—appears wholly unreliable. As stated in
Bonnieview, 2009 U.S. Dist. LEXIS 86737 at *6 n. 2,           The implausibility of the Township's allegations that the
"[t]here is no evidence that this form was anything more      Mandelbaums added hazardous chemicals to the Property
than a draft prepared by an outside accountant or that it     by operating a fruit farm in the late 1980s is further
was ever finalized, signed or filed with the Internal         demonstrated by the fact that at least one of the chemicals
Revenue Service." The version of the form furnished by        present in the soil on that land, DDT, would not have
Montville in connection with this litigation does not bear    been available at that time. The sale and use of that
a signature, and the Township has been unable to produce      chemical in the United States was banned by the
a signed and authenticated copy—despite the fact that it      Environmental Protection Agency in 1972. See Envtl. Def.
could have easily done so at any point during the almost      Fund v. EPA, 489 F.2d 1247, 1249-50 (D.C.Cir.1973)
six-year duration of this case by making a discovery          (discussing the administrative proceedings leading up to
request for the Mandelbaums' tax records. Without such        the ban and upholding the agency action prohibiting the
evidence, no reasonable juror could attribute the             use of DDT). Even if the Mandelbaums had been
representation contained in the form that the Property's      operating a fruit orchard on the Property, they would not
principal product was "fruit" to the Mandelbaum               have been able to purchase and use DDT, and thus could
Defendants. Therefore, the Court will disregard the draft     not have been responsible for the addition of that
1988 federal tax return.                                      chemical to the soil on the open space parcel.

The 1989 Farm Assessment form submitted by the                In light of that fact and the unreliability of the only two
Township in support of its claim is similarly unreliable.     pieces of evidence submitted by Montville in support of

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its contention that the Mandelbaums operated a fruit                 Mandelbaums and dismiss the Township's Spill Act
orchard on the Property, the Court finds that no                     claims.
reasonable juror could rule that the Mandelbaums
disposed of hazardous materials during their period of
ownership. Therefore, the Mandelbaums' Motion for
Summary Judgment will be granted and the Township's
claims for cleanup costs under CERCLA § 107(a)(2) and                                   III. CONCLUSION
declaratory judgment will be dismissed. See Anderson,
477 U.S. at 252 (stating that unsupported factual                    *11 For the reasons set forth above, the Motions for
allegations that amount to a "mere scintilla" of evidence            Summary Judgment by Woodmont and the Mandelbaum
will not be sufficient to survive a motion for summary               Defendants are granted. The Township's Motion for
judgment).                                                           Summary Judgment is denied, and all remaining claims
                                                                     are dismissed.
The Township's claims under the New Jersey Spill Act
must also fail. "Imposition of Spill Act liability ...               The Court will enter an Order implementing this Opinion.
requires some act or omission of human conduct which
causes a hazardous material not previously present to
enter the waters or land." See White Oak, 775 A.2d at                All Citations
225. As discussed above, the Township has presented no
credible evidence that the Mandelbaums added any                     Not Reported in F.Supp.2d, 2009 WL 3253911
hazardous material to the soil on the Property. Therefore,
the Court will grant summary judgment in favor of the

Footnotes

        The prior owners include Defendants David and Nathan Mandelbaum, along with former Defendants Ronald G.
        Targan, Leslie J. Koralek, and Richard W. Koralek. As discussed below, Montville's claims against all individual
        Defendants other than David and Nathan Mandelbaum have been dismissed.

2       Count I was brought under CERCLA § 107(a); Count II was brought under CERCLA § 113(f); Count III was for a
        declaratory judgment under CERCLA; and Count IV was brought under the New Jersey Spill Act. The remaining
        counts were common law claims.

3       As stated by the Court of Appeals, "potentially responsible party" and "PRP" are EPA-created terms of art, and are not
        specifically used in CERCLA. However, they have been adopted and utilized by the Supreme Court. See At!.
        Research, 551 U.S. at 131.

4       A rough estimate of the time period on which the chemicals were introduced to the soil could presumably have been
        produced by tracking the degree to which the various pesticides had broken down into their component elements or
        combined with other substances in the soil, and then comparing that data to pesticides that had been introduced to
        similar soil at a known time.

5       It is worth noting that the Township has failed, despite repeated requests on the part of the Mandelbaums, to produce
        various documents related to the contamination on the Property. Those documents include (1) an environmental report
        relating to the remediation of the Property during the Township's cleanup, (2) minutes from meetings of the Township
        Committee and Executive Session, (3) reports of the Township Environmental Commission and Health Department, (4)
        and all Farm Assessment forms submitted by the Mandelbaums from 1970 until they sold the Property in 1999. On
        October 1, 2008, this Court entered an Order compelling the production of those documents. The Township has failed
        to comply with that Order, and the Mandelbaum Defendants have moved for sanctions under Federal Rule of Civil
        Procedure 37(b). Because today's ruling disposes of all remaining claims, the pending Motion for Sanctions need not
        be addressed. However, the fact that the Township is in default of its discovery obligations would be grounds for
        dismissal even if its claims were meritorious. See Fed.R.Civ.P. 37(b)(2)(A)(v) (authorizing dismissal of a party's claims
        for failure to comply with a discovery order); Nat'l Hockey League v. Metro. Hockey Club, 427 U.S. 639, 643, 96 S.Ct.
        2778, 49 L.Ed.2d 747 (1976) (affirming order of dismissal for repeated failure to comply with discovery orders).




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                                 EXHIBIT 13
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                     2015 WL 5822930                            [4]allegations were sufficient to state a claim of tortious
                United States District Court,                   interference with contract against exchange;
                       D. New Jersey.
                                                                [5]broker failed to state a claim of tortious interference
          New Jersey Physicians United Reciprocal               with prospective economic advantage against exchange;
                    Exchange, Plaintiff,                        and
                               V.
      Boynton & Boynton, Inc. Kevin Byrne; Does 1-10,           E61
                                                                   broker failed to state claims of tortious interference
                        Defendants.                             with contract or prospective economic advantage against
         Whitboy, Inc., d/b/a Boynton & Boynton,                employees of exchange.
                  Third—Party Plaintiff,
                               V.
          Joanna Elias; Eric Poe; and Does 1-10,                Plaintiffs motion granted in part and denied in part, and
                Third—Party Defendants.                         third-party defendants' motion granted.
         New Jersey Physicians United Reciprocal
                   Exchange, Plaintiff,
                               V.
        The Medical Protective Company, Inc. d/b/a
         Princeton Insurance Company; Does 1-10,                  West Headnotes (14)
                        Defendants.
         Civil Action No.   12-5610 (FLW)(LHG),   Civil                 Federal Civil Procedure
               Action No.   13-2286 (FLW)(LHG)                               Clear right to judgment
                                                                        Federal Civil Procedure
                    Signed October   1, 2015                            f   —Want of Fact Issue

                                                                        Judgment on the pleadings will be granted
Synopsis                                                                where the moving party clearly establishes there
Background: Not-for-profit reciprocal interinsurance                    are no material issues of fact to be resolved, and
exchange in the business of selling malpractice insurance               that he or she is entitled to judgment as a matter
to physicians and other potential policyholders brought                 of law. Fed. R. Civ. P. 12(c).
action against insurance broker, alleging, inter alia,
violation of Lanham Act. Broker filed counterclaim                      Cases that cite this headnote
against exchange and third-party complaint against two of
exchange's employees, alleging unfair competition and
false promotion in violation of the Lanham Act, and
tortious interference with contract and prospective
economic advantage. Plaintiff and third-party defendants         [2l    Antitrust and Trade Regulation
moved for judgment on the pleadings.                                         Pleading

                                                                        To maintain a cause of action for false
Holdings: The District Court, Wolfson, J., held that:                   advertising under the Lanham Act, a plaintiff
                                                                        must plead an injury to a commercial interest in
X13
   broker had standing to bring Lanham Act claims                       sales or business reputation proximately caused
against exchange;                                                       by the defendant's misrepresentations. Lanham
                                                                        Trade-Mark Act § 43, 15 U.S.C.A. § 1125(a).
[2]broker lacked standing to bring Lanham Act claims
against employees of exchange;                                          Cases that cite this headnote
[3]broker sufficiently stated unfair competition and false
promotion claims under Lanham Act against exchange;

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                                                                  [6]
                                                                        Antitrust and Trade Regulation
[3]
            Antitrust and Trade Regulation                                 Representations, assertions, and descriptions
              Persons protected and entitled to sue                     in general
                                                                        Antitrust and Trade Regulation
            Insurance broker, who alleged it suffered an                  -Presumptions, inferences, and burden of proof
            economic injury that was proximately caused by
            reciprocal interinsurance exchange's alleged                In order to state a claim under the Lanham Act
            misrepresentation of a favorable rating to                  to recover monetary damages for false
            broker's client, had standing to pursue its                 advertising, plaintiff must plead that the
            Lanham Act unfair competition and false                     falsification or misrepresentation actually
            promotion claims against exchange; broker's                 deceives a portion of the buying public;
            alleged injury, its commercial interest in sales to         however, this does not place upon the plaintiff a
            client, . fell within the "zone of interests"               burden of proving or pleading detailed
            protected by the Lanham Act. Lanham                         individualization of loss of sales, as such proof
            Trade-Mark Act § 43, 15 U.S.C.A. § 1125(a).                 goes to quantum of damages and not to the very
                                                                        right to recover. Lanham Trade-Mark Act § 43,
                                                                        15 U.S.C.A. § 1125(a).
            Cases that cite this headnote

                                                                        Cases that cite this headnote

[4]
            Antitrust and Trade Regulation
            &'Particular cases
                                                                  [7]   Antitrust and Trade Regulation
            Insurance broker lacked standing to pursue its                Particular cases
            Lanham Act unfair competition and false
            promotion claims against individual employees               Insurance broker sufficiently alleged an actual
            of reciprocal interinsurance exchange, based on             injury, as required to state unfair competition
            alleged misrepresentations made by employees                and false promotion claims under Lanham Act
            to broker's clients, absent allegation of loss              against reciprocal interinsurance exchange,
            resulting from such misrepresentations. Lanham              where broker alleged that exchange's
            Trade-Mark Act § 43, 15 U.S.C.A. § 1125(a).                 misrepresentation to broker's client, that it had a
                                                                        favorable rating, actually deceived a portion of
                                                                        the buying public that profited exchange, and
            Cases that cite this headnote                               that client was deceived by the
                                                                        misrepresentation, ceased using broker, and
                                                                        switched its insurance coverage to that of
                                                                        exchange, all based on that misrepresentation.
[s]                                                                     Lanham Trade-Mark Act § 43, 15 U.S.C.A. §
            Antitrust and Trade Regulation                              1125(a).
              Grounds, Subjects, and Scope of Relief

            A plaintiff seeking only injunctive relief for              Cases that cite this headnote
            false advertising under the Lanham Act needs
            only to plead a reasonable basis for the belief
            that plaintiff is likely to be damaged as a result
            of the false advertising. Lanham Trade-Mark
            Act § 43, 15 U.S.C.A. § 1125(a).                      [8]   Antitrust and Trade Regulation
                                                                        Qw-Advertising, Marketing, and Promotion
                                                                        Antitrust and Trade Regulation
            Cases that cite this headnote                               4 -Representations Concerning Others or Their
                                                                        Products; Disparagement

                                                                        To allege a claim of false promotion in violation

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       of Lanham Act, plaintiff must plead: (1)                           Act § 43, 15 U.S.C.A. § 1125(a)(1)(B).
       defendant made false or misleading statements
       about plaintiff' s, or his own, product; (2) there is
       actual deception or a tendency to deceive a                        Cases that cite this headnote
       substantial portion of the intended audience; (3)
       the deception is material in that it is likely to
       influence purchasing decisions; (4) the
       advertised goods traveled in interstate
                                                                 i ll y   Torts
       commerce; and (5) there is a likelihood of injury
       to the plaintiff. Lanham Trade-Mark Act § 43,                       mProspective advantage, contract or relations;
       15 U.S.C.A. § 1125(a)(1)(B).                                       expectancy

                                                                          Under New Jersey law, tortious interference
       Cases that cite this headnote                                      with contract or prospective economic benefit
                                                                          has four elements: (1) a protected interest; (2)
                                                                          malice—that is, defendant's intentional
                                                                          interference without justification; (3) a
                                                                          reasonable likelihood that the interference
[91
       Antitrust and Trade Regulation                                     caused the loss of the prospective gain; and (4)
         Advertising, Marketing, and Promotion                            resulting damages.

       Liability for false promotion arises under
       Lanham At if the defendant makes a commercial                      2 Cases that cite this headnote
       message or statement that is either literally false,
       or literally true but ambiguous such that it has
       the tendency to deceive consumers; if plaintiff
       alleges literal falsity, he need not show that the
       audience was misled, but if the advertisement is          1121     Torts
       literally true, plaintiff must persuade the court                    Insurance in general
       that the persons to whom the advertisement is
       addressed would fmd that the message received                      Allegations that insured was already a client of
       left a false impression about the product.                         insurance    broker      at    time    reciprocal
       Lanham Trade-Mark Act § 43, 15 U.S.C.A. §                          interinsurance exchange made
       1125(a)(1)(B).                                                     misrepresentation, and that insured ceased to be
                                                                          broker's client and began procuring medical
                                                                          malpractice insurance directly from exchange
       Cases that cite this headnote                                      based on the alleged misrepresentation, were
                                                                          sufficient, under New Jersey law, to state a
                                                                          claim of tortious interference with contract
                                                                          against exchange.
[10]
       Antitrust and Trade Regulation
         Particular cases                                                 Cases that cite this headnote

       Insurance broker sufficiently alleged that
       reciprocal interinsurance exhange's statements
       to broker's client, regarding its rating, were            [13]
       either literally false, or misleading and tending                  Torts
       to deceive, as required to state a false promotion                   Insurance in general
       claim under Lanham Act against exchange,                           Torts
       where broker alleged that an unknown                                 Pleading
       representative of exchange had verbally advised
       client's representative that exchange had                          To state a claim, under New Jersey law, of
       received a favorable rating, and explained why                     tortious interference with prospective economic
       such statement was false. Lanham Trade-Mark                        advantage against reciprocal interinsurance
                                                                          exchange, based on exchange's alleged
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        misrepresentation to insurance broker's client,        Poe ("Poe") (collectively "Third—Party Defendants"),
        broker was required to identify any prospective        seeking dismissal of the First Amended Counterclaim,
        economic advantage it expected from client that        Third Party Complaint and Demand for Trial by Jury
        exchange tortiously interfered with.                   ("Counterclaim") filed by Defendant/Third-party Plaintiff
                                                               Whitboy, Inc. d/b/a Boynton and Boynton's ("Boynton").
        2 Cases that cite this headnote                        For the following reasons, NJ PURE's motion to dismiss
                                                               is denied in part and granted in part, and Third—Party
                                                               Defendants' motion to dismiss is granted. Specifically, NJ
                                                               PURE's motion to dismiss Counts I and II of the
 [14]                                                          counterclaim is denied. NJ PURE's motion to dismiss
        Torts
                                                               Count III of the counterclaim is denied with respect to
        'Insurance in general
                                                               Boynton's claim of tortious interference with its contract
        Torts                                                  with OB/GYN of North Jersey. NJ PURE's motion to
           Pleading
                                                               dismiss Count III of the counterclaim is granted with
                                                               respect to Boynton's claim of tortious interference with its
        Under New Jersey law, to state claims of               prospective economic advantage with OB/GYN of North
        tortious interference with contract or prospective
                                                               Jersey, and tortious interference with its contract and
        economic advantage, based on alleged
                                                               prospective economic advantage with University
        misrepresentations made to broker's clients by
                                                               Radiology Group; Pulmonary & Allergy Associates; and
        employees of reciprocal interinsurance                 unknown, prospective customers. Third—Party
        exchange, broker was required to allege
                                                               Defendants' motion to dismiss the third-party claims is
        damages.                                               granted, and the third-party complaint is dismissed.

        2 Cases that cite this headnote
                                                               I. FACTUAL BACKGROUND AND PROCEDURAL
                                                               HISTORY
                                                               The following facts are drawn from Boynton's
                                                               counterclaim and third party complaint, the allegations of
Attorneys and Law Firms                                        which are assumed as true for the purposes of this motion.

Manuel J. Almeida, Jr., Rudolph & Kayal, Manasquan,            Boynton is an insurance agent that, among other things,
NJ, Stephen A. Rudolph, Rudolph & Kayal, Manasquan,            brokers the sale of medical malpractice insurance policies
NJ, for Plaintiff.                                             to physicians and other individuals engaged in the
                                                               provision of healthcare. Counterclaim ¶¶ 1, 5, 13. Plaintiff
Christina L. Capobianco, Jay Barry Harris, Fineman             NJ PURE is a "reciprocal inter-insurance exchange," that
Krekstein & Harris PC, Philadelphia, PA, James M.              is engaged in the "direct sale of medical malpractice
Nardelli, Parsons & Nardelli, Red Bank, NJ, for                insurance policies that it produces itself to physicians and
Defendants.                                                    other individuals and institutions engaged in the provision
                                                               of healthcare." Counterclaim ¶¶ 2, 6, 14. Third—Party
                                                               Defendants Elias and Poe were employees of NJ PURE
                                                               during the relevant time period asserted in the
                                                               Counterclaim. Counterclaim ¶¶ 3, 16.
                        OPINION
                                                               Boynton alleges it is in direct competition with NJ PURE
                                                               because NJ PURE markets its medical malpractice
WOLFSON, United States District Judge:                         insurance policies directly to potential insureds, without
                                                               the use of a broker. Counterclaim ¶q 15-17. Boynton
*1 This matter comes before the Court on a motion for          further alleges NJ PURE made false and misleading
judgment on the pleadings under Federal Rule of Civil          statements that NJ PURE was rated favorably by A.M.
Procedure 12(c) filed by Plaintiff New Jersey Physicians       Best Company ("A.M.Best")' to several existing and
United Reciprocal Exchange ("NJ PURE"), and                    prospective customers of Boynton, when it has not been
Third-party Defendants Joanna Elias ("Elias") and Eric         so-rated. Counterclaim ¶¶ 24-26. Specifically, Boynton
                                                               alleges:
        i.     © 2016 Thomson Reuters. No claim to original U.S. Government Works.                                      4
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     • On April 25, 2012, NJ PURE, through Poe, emailed         as a result of NJ PURE's false statements that NJ PURE
     a representative of Boynton's client, University           was favorably rated by A.M. Best. On March 21, 2014,
     Radiology Group ("URG"), and represented that NJ           NJ PURE and Third-Party Defendants filed a motion to
     PURE had an A.M. Best Capital Adequacy Ratio               dismiss Boynton's counterclaim and third-party
     ("BCAR") score of 183.6, which "qualifies [NJ              complaint.
     PURE] for an A++ (Superior) rating." Counterclaim
     ¶¶ 27-31.                                                  On April 21, 2014, Boynton filed a motion for leave to
                                                                amend the counterclaim and third-party complaint. On
     *2 • On May 11, 2012, NJ PURE, through Elias,              September 29, 2014, the Court ordered Boynton's
     emailed a representative of Boynton's client,              counterclaims and third-party complaint stricken, and
     Pulmonary & Allergy Associates ("PAA"), and                referred Boynton's motion to amend to Magistrate Judge
     represented that NJ PURE had an A.M. Best Capital          Bongiovanni. On November 25, 2014, Magistrate Judge
     Adequacy Ratio ("BCAR") score of 183.6, which              Bongiovanni granted Boynton's motion to amend its
     "qualifies [NJ PURE] for an A++ (Superior) rating."        counterclaim and third-party complaint.
     Counterclaim ¶q 32-35. In a later meeting in May
     2012, Elias also allegedly "touted NJ Pure's rating        On December 10, 2014, Boynton filed its first amended
     with A.M. Best Company" to a representative of             counterclaim and third-party complaint, in which Boynton
     PAA. Counterclaim ¶¶ 36-37.                                asserted four causes of action (in three counts) against NJ
                                                                PURE: (1) Unfair Competition in violation of the Lanham
     • At some point in May or June 2012, an unknown            Act, 15 U.S.C.A. § 1125(a)(1)(A); (2) False promotion in
     employee of NJ PURE verbally advised Boynton's             violation of the Lanham Act, 15 U.S.C.A. §
     client, OB/GYN of North Jersey ("OB/GYN"), "that           1125(a)(1)(B); and (3) tortious interference with (i)
     NJ PURE had received a favorable rating from A.M.          contract and (ii) prospective economic advantage.
     Best Company," and that "[b]ased upon [that]               Boynton alleges identical counts against Elias and Poe in
     solicitation ... [OB/GYN] left Boynton and began           its third-party complaint. On April 23, 2015, NJ PURE
     procuring its medical malpractice insurance coverage       and Third-Party Defendants answered the counterclaim
     through NJ PURE." Counterclaim ¶¶ 39-40.                   and third-party complaint. On May 29, 2015, NJ PURE
                                                                and Third-Party Defendants filed the instant motion to
     • On various other dates, unknown employees of NJ          dismiss the counterclaim and third-party complaint
     PURE contacted prospective and existing clients of         pursuant to Federal Rule of Civil Procedure 12(c).
     Boynton to solicit their medical malpractice business
     by providing false and misleading information
     concerning NJ PURE's rating with A.M. Best.
     Counterclaim ¶ 41.                                         II. STANDARD OF REVIEW
                                                                *3 Rule 12(c) of the Federal Rules of Civil Procedure
NJ PURE brought suit against Boynton and Defendant              allows a party to move for judgment on the pleadings
Kevin Byrne ("Byrne") on September 7, 2012, and filed           "after the pleadings are closed but within such time as not
an amended complaint on September 21, 2012, and a               to delay trial." Fed.R.Civ.P. 12(c). The applicable
second amended complaint on May 17, 2013, alleging              standard on a motion for judgment on the pleadings is
Lanham Act violations and common law claims for trade           similar to that applied on a motion to dismiss pursuant to
libel, libel, libel per se, slander, slander per se, tortious   Rule 12(b)(6). Spruill v. Gillis, 372 F.3d 218, 223 n. 2 (3d
interference with prospective contractual relations, and        Cir.2004). When reviewing a motion made pursuant to
unfair competition under the Insurance Trade Practices          Rule 12(c), a court must take all allegations in the
Act ("ITPA"), N.J.S.A. 17:29B-4(2)-(3).                         relevant pleading as true, viewed in the light most
                                                                favorable to the non-moving party. Gomez v. Toledo, 446
On July 17, 2013, Boynton and Byrne moved to dismiss            U.S. 635, 636 n. 3, 100 S.Ct. 1920, 64 L.Ed.2d 572
NJ PURE's claims for violation of the Lanham Act, libel,        (1980); Mele v. Fed. Reserve Bank of N.Y., 359 F.3d 251,
slander, and unfair competition under the ITPA. On              253 (3d Cir.2004). All reasonable inferences must be
January 28, 2014, the Court dismissed the Complaint only        made in the non-moving party's favor. See In re Ins.
as to the claim of unfair competition under the ITPA, and       Brokerage Antitrust Litig., 618 F.3d 300, 314 (3d
denied Boynton's motion to dismiss the other counts.            Cir.2010). "The motion should not be granted `unless the
                                                                moving party has established that there is no material
On February 28, 2014, Boynton filed a counterclaim              issue of fact to resolve, and that it is entitled to judgment
against NJ PURE, and a third-party complaint against Poe        in its favor as a matter of law.' "Mele, 359 F.3d at 253
and Elias, alleging that Boynton suffered economic injury       (quoting Learner v. Fauver, 288 F.3d 532, 535 (3d
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Cir.2002)). Accordingly, in order to survive a motion for        PURE and Third—Party Defendants move to dismiss
judgment on the pleadings, the non-moving party's                Boynton's Lanham Act counts on three grounds: (1) lack
pleading must provide "enough facts to state a claim to          of prudential standing under the Lanham Act; (2) failure
relief that is plausible on its face." Bell Atl. Corp. v.        to allege an actual injury, and (3) failure to allege any
Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167                  statement that is literally false or misleading and tending
L.Ed.2d 929 (2007). This standard requires the                   to deceive. The motion to dismiss Counts I and II of the
non-moving party to show "more than a sheer possibility          counterclaim is denied because Boynton has standing to
that a defendant has acted unlawfully," but does not create      pursue its Lanham Act claims against NJ PURE, and it
as high of a standard as to be a "probability requirement."      has sufficiently alleged NJ PURE made literally false or
Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173        misleading statements that proximately caused an actual
L.Ed.2d 868 (2009).                                              injury to Boynton. The motion to dismiss Counts I and II
                                                                 of the third-party complaint is granted because Boynton
 111 The Third Circuit has required a three-step analysis to     does not have standing to pursue its Lanham Act claims
meet the plausibility standard mandated by Twombly and           against Third—Party Defendants.
Iqbal. First, the court should "outline the elements a
plaintiff must plead to a state a claim for relief." Bistrian
v. Levi, 696 F.3d 352, 365 (3d Cir.2012). Next, the court
 should "peel away" legal conclusions that are not entitled
to the assumption of truth. Id.; see also Iqbal, 556 U.S. at       i. Boynton has Standing under the Lanham Act to
 678-79, 129 S.Ct. 1937 ("While legal conclusions can              Assert Claims against NJ PURE, but Not Against
provide the framework of a complaint, they must be                             Third—Party Defendants.
 supported by factual allegations. ").  It is well-established
that a proper complaint "requires more than labels and           *4 As a preliminary matter, the Court notes that the
 conclusions, and a formulaic recitation of the elements of      parties have expended considerable briefing on the issue
 a cause of action will not do." Twombly, 550 U.S. at 555,       of "prudential standing" under the Lanham Act, focusing
 127 S.Ct. 1955 (internal quotations and citations omitted).     specifically on the multi-factor balancing test articulated
Finally, the court should assume the veracity of all             by the Third Circuit in Conte Bros. Auto. v. Quaker
well-pled factual allegations, and then "determine               State—Slick 50, Inc., 165 F.3d 221 (3d Cir.1998).'
whether they plausibly give rise to an entitlement to            However, the Supreme Court established a new analytical
relief." Bistrian, 696 F.3d at 365 (quoting Iqbal, 556 U.S.      framework for determining standing under the Lanham
 at 679, 129 S.Ct. 1937). A claim is facially plausible          Act and other statutes in Lexmark International, Inc. v.
when there is sufficient factual content to draw a               Static Control Components, Inc., U.S. , 134
"reasonable inference that the defendant is liable for the       S.Ct. 1377, 1384, 188 L.Ed.2d 392 (2014). No party
misconduct alleged." Iqbal, 556 U.S. at 678, 129 S.Ct.           addresses the Lexmark decision.4
 1937. The third step of the analysis is "a context-specific
task that requires the reviewing court to draw on its            121 In Lexmark, the Supreme Court held that, rather than
judicial experience and common sense." Id. at 679, 129           employ the five-factor Conte test to determine
 S.Ct. 1937. Judgment on the pleadings pursuant to Rule          "prudential" standing (a label the Court described as
 12(c) will be granted where the moving party clearly            "misleading," 134 S.Ct. at 1386), or other tests utilized by
 establishes there are no material issues of fact to be          different circuits,' courts should instead apply (1) the
resolved, and that he or she is entitled to judgment as a        statutory zone-of-interests test and (2) the proximate
matter of law. DiCarlo v. St. Mary Hosp., 530 F.3d 255,          cause requirement, which, together, "suppl[y] the relevant
259 (3d Cir.2008).                                               limits on who may sue" under, inter alia, the Lanham
                                                                 Act. Id. at 1391. The Court held that under the statutory
                                                                 zone-of-interests test, to come within the zone of interests
                                                                 protected by § 1125(a), "a plaintiff must allege an injury
III. DISCUSSION                                                  to a commercial interest in reputation or sales." Id. at
                                                                  1390. And, under proximate causation principles, "a
A. Boynton has Alleged a Prima Facie violation of the            plaintiff suing under § 1125(a) ordinarily must show
Lanham Act against NJ PURE, but Not Against                      economic or reputational injury flowing directly from the
Third—Party Defendants.                                          deception wrought by the defendant's advertising; and
Boynton asserts two different causes of action under the         that that occurs when deception of consumers causes them
Lanham Act: Count I, "unfair competition" under 15               to withhold trade from the plaintiff." Id. at 1392. In other
U.S.C.A. § 1125(a)(1)(A), and Count II, "false                   words, to maintain a cause of action for false advertising
promotion" under 15 U.S.C.A. § 1125(a)(1)(B).' NJ                under § 1125(a), "a plaintiff must plead ... an injury to a
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commercial interest in sales or business reputation             *6 [51 161 NJ PURE argues that Boynton cannot recover
proximately caused by the defendant's                           monetary damages because it does not allege an "actual
misrepresentations." Id. at 1395.                               injury" under the Lanham Act. A plaintiff seeking only
                                                                injunctive relief to stop violations of Section 43(a) of the
*5 J31 Here, Boynton alleges in its counterclaim that it        Lanham Act needs only to plead "a reasonable basis for
suffered an economic injury—loss of a customer—which            the belief that plaintiff is likely to be damaged as a result
was proximately caused by NJ PURE's misrepresentation           of the false advertising." Warner—Lambert Co. v.
of its rating by A.M. Best:                                     BreathAsure, Inc., 204 F.3d 87, 95 (3d Cir.2000). In order
                                                                to state a claim under the Lanham Act to recover
  39. Upon information and belief sometime in May or            monetary damages, Boynton must plead that it was
  June 2012, an employee, representative or agent of NJ         damaged as result of NJ PURE's misrepresentation or that
  PURE, whose identity is presently unknown to                  NJ PURE profited from that misrepresentation. See 15
  Boynton, acting with the actual and apparent authority        U.S.C.A. § 1117. In other words, Boynton must plead
  of NJ PURE, verbally advised Boynton's customer               "that the falsification or misrepresentation actually
  OB/GYN of North Jersey that NJ PURE had received a            deceives a portion of the buying public." U.S. Healthcare,
  favorable rating from A.M. Best Company.                      Inc. v. Blue Cross of Greater Phila., 898 F.2d 914, 922
                                                                (3d Cir.) (citing Parkway Baking Co. v. Freihofer Baking
  40. Based upon the solicitation referred to in the            Co., 255 F.2d 641, 648 (3d Cir.1958), cert. denied, 498
  preceding paragraph, the customer left Boynton and            U.S. 816, 111 S.Ct. 58, 112 L.Ed.2d 33 (1990). However,
  began procuring its medical malpractice insurance             "[t]his does not place upon the plaintiff a burden of
  coverage through NJ PURE.                                     proving [or pleading] detailed individualization of loss of
                                                                sales. Such proof goes to quantum of damages and not to
Counterclaim ¶¶ 39-40. Based on these allegations, the          the very right to recover." Id. (quoting Parkway Baking,
Court fmds that Boynton has standing to pursue its              255 F.2d at 648); see also Warner—Lambert, 204 F.3d at
Lanham Act claims against NJ PURE Boynton has                   92 ("[A] plaintiff seeking damages under § 43(a) must
alleged an injury that comes within the "zone of interests"
                                                                establish customer reliance but need not quantify loss of
protected by the Lanham Act—its commercial interest in          sales as that goes to the measure of damages, not
sales to OB/GYN. 6 Lexmark, 134 S.Ct. at 1390. And              plaintiff's cause of action.
                                                                                           ").

Boynton avers that this injury was proximately caused by
NJ PURE's allegedly false and misleading statement to           171 Here, Boynton has alleged that NJ PURE's
OB/GYN regarding its A.M. Bestrating. id. at 1392.'
                                                                misrepresentation actually deceived a portion of the
                                                                buying public which profited NJ PURE—Boynton alleges
141 However, with respect to Boynton's third-party claims,
                                                                that OB/GYN was deceived by NJ PURE's
no such loss is alleged. Boynton alleges that Poe               misrepresentation regarding it's A.M. Best rating, ceased
misrepresented NJ PURE's rating to URG, but that                using Boynton as its broker, and switched its insurance
customer is not alleged to have ceased its business             coverage to NJ PURE, all based on that
relationship with Boynton. Counterclaim IT 27-31.               misrepresentation. Counterclaim ¶¶ 39-40. NJ PURE's
Likewise, Boynton alleges that Elias made similar               alleged conduct thus led Boynton to seek both injunctive
misrepresentations to PAA in email and in person, but
                                                                relief and monetary relief under the Lanham Act,
that customer is also not alleged to have ceased its            Counterclaim ¶ 65(a-e), which are proper requests for
business relationship with Boynton. Counterclaim ¶¶             relief here.
32-38. Although Boynton alleges that it has suffered
"substantial economic damages" as a result of these
statements, Counterclaim IT 74, 80, it does not allege any
loss of sales or damage to its business reputation that was
proximately caused by Third—Party Defendants.                    iii. Boynton has Alleged that NJ PURE's Statements
Accordingly, Counts I and II of the third-party complaint         were Literally False or Misleading and Tending to
are dismissed for lack of standing.                                                     Deceive.

                                                                181 NJ PURE also argues that Count II of the counterclaim
                                                                must be dismissed for failure to allege that NJ PURE's
                                                                statements were either literally false, or misleading and
  ii. Boynton has Alleged an Actual Injury under the            tending to deceive. To allege a Lanham Act violation
            Lanham Act against NJ PURE.                         under 15 U.S.C.A. § 1125(a)(1)(B), Boynton must plead:


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             (1) the defendant made false or                      02-3773, 2008 WL 108889, at *14-16, 2008 U.S. Dist.
             misleading statements about the                      LEXIS 1514, at *4447 (D.N.J. Jan. 9, 2008); Evco Tech.
             plaintiff's [or his own] product; (2)                & Dev. Co. v. Buck Knives, Inc., No. 05-6198, 2006 WL
             there is actual deception or a                       2773421, at *4-5, 2006 U.S. Dist. LEXIS 68549, at
             tendency to deceive a substantial                    *14.19 (E.D.Pa. Sept. 22, 2006); Gallup, Inc. v.
             portion of the intended audience;                    Talentpoint, Inc., No. 00-5523, 2001 WL 1450592, at
             (3) the deception is material in that                *13-14, 2001 U.S. Dist. LEXIS 18560, at *37-39
             it is likely to influence purchasing                 (E.D.Pa. Nov. 13, 2001); Max Daetwyler Corp. v. Input
             decisions; (4) the advertised goods                  Graphics, Inc., 608 F.Supp. 1549, 1556 (E.D.Pa.1985).
             traveled in interstate commerce;                     As a district court in New Jersey has explained:
             and (5) there is a likelihood of
             injury to the plaintiff.                                         [B]ased on [the] fraudulent element
                                                                              necessary in a Lanham Act claim,
Pharmacia Corp. v. GlaxoSmithKline Consumer                                   this Court has applied an
Healthcare, L.P., 292 F.Supp.2d 594, 598 (D.N.J.2003)                         "intermediate" pleading
(quoting Highmark, Inc. v. UPMC Health Plan, Inc., 276                        requirement to false advertising
F.3d 160, 171 (3d Cir.2001); see also Trans USA Prods.                        claims asserted under section
v. Howard Berger Co., No. 07-5924, 2008 WL 852324,                            43(a)(1)(B) that imposes a pleading
at *4-5, 2008 U.S. Dist. LEXIS 25370, at *13-14 (D.N.J.                       standard between those standard[s]
Mar. 28, 2008).                                                               required under Federal Rules of
                                                                              Civil Procedure 8 and 9. This
19]
  "[L]iability arises under section 43(a)(1)(B) if the                        intermediate approach, first applied
defendant makes a commercial message or statement that                        in Max Daetwyler Corp. v. Input
is either literally false, or literally true but ambiguous                    Graphics, Inc., 608 F.Supp. 1549
such that it has the tendency to deceive consumers."                          (E.D.Pa.1985), strikes a balance
Trans USA Prods., 2008 WL 852324 at *4-5, 2008 U.S.                           between application and outright
Dist. LEXIS 25370 at * 12-13 (citing Novartis Consumer                        rejection of Rule 9(b). The slightly
Health, Inc. v. Johnson & Johnson-Merck Consumer                              heightened pleading requirement is
Pharms. Co., 290 F.3d 578, 586 (3d Cir.2002); see also                        necessary in Lanham Act claims
Castrol Inc. v. Pennzoil Co., 987 F.2d 939, 943 (3d                           because, [i]n litigation in which one
Cir.1993) (noting "a plaintiff must prove either literal                      party is charged with making false
falsity or consumer confusion, but not both") (emphasis                       statements, it is important that the
in original). "[I]f the plaintiff alleges literal falsity, he                 party charged be provided with
need not show that the audience was misled." Trans USA                        sufficiently detailed allegations
Prods., 2008 WL 852324 at *5, 2008 U.S. Dist. LEXIS                           regarding the nature of the alleged
25370 at * 14 (citing Santana Prods., Inc. v. Bobrick                         falsehoods to allow him to make a
Washroom Equip., Inc., 401 F.3d 123, 136 (3d Cir.), cert.                     proper defense. Thus, Plaintiff must
denied, 546 U.S. 1031, 126 S.Ct. 734, 163 L.Ed.2d 569                         plead its Lanham Act claims with
(2005)). "If the advertisement is literally true, the plaintiff               more particularity than traditional
must persuade the court that the persons to whom the                          notice pleading under Rule 8 but
advertisement is addressed would fmd that the message                         something less than the specificity
received left a false impression about the product." Blue                     of Rule 9.
Cross of Greater Phila., 898 F.2d at 922-23 (citation and
internal quotation marks omitted).                                Trans USA Prods., 2008 WL 852324 at *5,2008 U.S.
                                                                  Dist. LEXIS 25370 at *1415 (citations and internal
*7 "When analyzing a challenged advertisement, the court          quotation marks omitted).'
first determines what message is conveyed." See id. at
922. In doing so, many district courts within this circuit        1101 Assuming  arguendo that this intermediate pleading
have applied a so-called "slightly heightened" or                 standard is applicable in Lanham Act false advertising
"intermediate" pleading standard for false advertising            claims, Boynton has clearly satisfied such a standard.
claims under the Lanham Act, although the Third Circuit           Here, Boynton alleges that in "May or June of 2012" an
has not yet addressed the issue.' See, e.g., Trans USA            unknown representative of NJ Pure "verbally advised" a
Prods., 2008 WL 852324 at *5, 2008 U.S. Dist. LEXIS               representative of OB/GYN that "NJ PURE had received a
25370 at *14..45; Wellness Publ'g v. Barefoot, No.                favorable rating from A.M. Best Company.             " 10




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Counterclaim ¶ 40. Although Boynton does not allege the         N.J.Super. 558, 567, 799 A.2d 555 (App.Div.2001), aff'd
exact content of the statement NJ PURE made to                  o.b., 172 N.J. 182, 797 A.2d 137 (2002)), certif, denied,
OB/GYN, it has provided a two-month date range, and             221 N.J. 218, 110 A.3d 931 (2015).
provided a specific allegation as to the nature of the
                                                                [12]
statement made and why that statement was false.                    [131NJ PURE incorrectly argues that "[w]ith regard to
Boynton's allegation rises above the level of specificity       [OB/GYN], Boynton has not alleged any facts that would
that other courts have rejected under the intermediate          give rise to a probability that, without interference of NJ
pleading standard for false advertising claims under the        PURE, this entity would have obtained their insurance
Lanham Act. See, e.g., Trans USA Prods., 2008 WL                coverage through Boynton as a broker." On the contrary,
852324 at *5-6, 2008 U.S. Dist. LEXIS 25370 at * 16-17          Boynton alleged that OB/GYN was already a customer of
(granting motion to dismiss where complaint did not             Boynton's when NJ PURE made its misrepresentation,
identify what devices were sold with counterfeit marks or       and that it ceased to be Boynton's client and began
the time period during which those products were sold);         procuring medical malpractice insurance directly from NJ
Barefoot, 2008 WL 108889 at *15_16, 2008 U.S. Dist.             PURE based on NJ PURE's alleged misrepresentation.
LEXIS 1514 at *45_47 (dismissing complaint where                Counterclaim ¶ 40. However, while this allegation
allegations did "little more than parrot the relevant           supports a claim for tortious interference with an existing
statute"); Max Daetwyler, 608 F.Supp. at 1554, 1556             contract, it does not support a claim of tortious
(fmding that allegation that defendants merely "falsely         interference with a prospective economic advantage. See
advertised the quality and nature" of a blade-shaped            Fineman v. Armstrong World Indus., 980 F.2d 171, 195
device for wiping excess ink from printing surfaces             (3d Cir.1992); Storis v. GERS Retail Sys., No. 94-4400,
"cannot be read as an allegation that defendants                1995 WL 337100, at *5, 1995U.S. Dist. LEXIS 7614, at
misrepresented the configuration of their blade to make it      * 14-15 (D.N.J. May 31, 1995) (while a plaintiff need not
appear that the blade was shaped similarly to plaintiffs'       prove "that it had sufficiently concrete prospective
blade."). Indeed, in contrast to the deficient allegations in   contracts with its customers" in opposition to a motion to
Max Daetwyler, Boynton not only alleges that NJ PURE            dismiss, it must "at least allege specific prospective
misrepresented the quality of its insurance services, but it    contracts that were interfered with" by the defendant).
specifically alleges that NJ PURE misrepresented that NJ        Boynton's counterclaim fails to identify any prospective
PURE had been rated favorably by A.M. Best. Boynton's           economic advantage it expected from OB/GYN that NJ
allegation regarding the nature of NJ PURE's allegedly          PURE tortiously interfered with, and, accordingly, that
literally false or misleading statement-i.e., that in May       cause of action is dismissed without prejudice. 12
or June of 2012, NJ PURE falsely represented that it had
(1) a rating from A.M. Best and (2) that that rating was        *9 1141 Boynton has also not alleged any damage with
favorable-is "sufficiently detailed" so as to allow NJ          respect to the misrepresentations that Third-Party
PURE to mount a proper defense. See Trans USA Prods.,           Defendants made to URG and PAA (on behalf of NJ
2008 WL 852324 at *4-5, 2008 U.S. Dist. LEXIS 25370             PURE), because there are no allegations that those entities
at *12_14; Evco Tech., 2006 WL 2773421 at *4, 2006              ceased their relationship with Boynton. Nor is Boynton's
U.S. Dist. LEXIS 68549 at *14.                                  vague allegation that unknown, prospective customers
                                                                may have been lost sufficient to survive dismissal. See
                                                                Graco Inc. v. PMC Global, Inc., No. 08-1304, 2012 WL
                                                                762448, at *17, 2012 U.S. Dist. LEXIS 188865, at
B. Boynton has Alleged a Prima FacieCase of Tortious            *49-50 (D.N.J. Feb. 15, 2012) ("Economic damages are a
Interference with Contract Against NJ PURE, but not             substantive element of a tortious interference claim. These
Third-Party Defendants.                                         damages must be identified with a certain degree of
*8 1111NJ PURE and Third-party Defendants move to               specificity. `[C]laimed loss of ... unknown customers' is
dismiss Count III of the counterclaim and third-party           insufficient.") (quoting Eli Lilly and Co. v. Roussel Corp.,
complaint based on a failure to plead damages with              23 F.Supp.2d 460, 494 (D.N.J.1998)); Advanced Oral
sufficient specificity." Under New Jersey law, tortious         Techs., L.L.C. v. Nutrex Research, Inc., No. 10-5303,
interference with contract (or prospective economic             2011 WL 1080204, at *4, 2011 U.S. Dist. LEXIS 28625,
benefit) has four elements: "(1) a protected interest; (2)      at *10 (D.N.J. Mar. 21, 2011) ("Plaintiff `must allege an
malice-that is, defendant's intentional interference            injury that is more concrete than lost business of
without justification; (3) a reasonable likelihood that the     unknown, unsolicited, or hypothetical customers.' ")
interference caused the loss of the prospective gain; and       (quoting Novartis Pharmaceuticals Corp. v. Bausch &
(4) resulting damages." Vosough v. Kierce, 437                  Lomb, Inc., No. 07-5945, 2008 WL 4911868, at *2-3,
N.J.Super. 218, 234, 97 A.3d 1150 (App.Div.2014)                2008 U.S. Dist. LEXIS 92133, at *7 (D.N.J. Nov. 13,
(quoting DiMaria Const., Inc. v. Interarch, 351
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2008)). However, in the event Boynton should learn in                 counterclaim is denied. NJ PURE's motion to dismiss
discovery the identity of any prospective customers it lost           Count III of the counterclaim is denied with respect to
as a result of NJ PURE's alleged misrepresentations, it               Boynton's claim of tortious interference with its contract
may amend its pleadings accordingly.                                  with OB/GYN of North Jersey. NJ PURE's motion to
                                                                      dismiss Count III of the counterclaim is granted with
Accordingly, NJ PURE's motion to dismiss Count III of                 respect to Boynton's claim of tortious interference with its
the counterclaim is granted in part with respect to                   prospective economic advantage with OB/GYN of North
Boynton's claims regarding URG, PAA, and unknown                      Jersey, and tortious interference with its contract and
prospective customers, and tortious interference with                 prospective economic advantage with University
prospective economic advantage with OB/GYN, and                       Radiology Group; Pulmonary & Allergy Associates; and
denied in part with respect to Boynton's claim of tortious            unknown, prospective customers. Third–Party
interference with its contract with OB/GYN. Third–Party               Defendants' motion to dismiss the third-party claims is
Defendants' motion to dismiss Count III of the third-party            granted, and the third-party complaint is dismissed.
complaint is granted, and all claims against these
individuals are dismissed.

                                                                      All Citations

IV. CONCLUSION                                                        --- F.Supp.3d ----, 2015 WL 5822930, 2015-2 Trade
For the foregoing reasons, NJ PURE's motion to dismiss                Cases P 79,349
is denied in part and granted in part, and Third–Party
Defendants' motion to dismiss is granted. Specifically, NJ
PURE's motion to dismiss Counts I and II of the

Footnotes

       Boynton alleges that A.M. Best is a well-known company devoted to issuing in-depth reports and financial strength
       ratings of insurance companies, and that a favorable rating from A.M. Best is a "coveted assurance of an insurance
       company's financial strength." See generally Counterclaim ¶¶ 18-23.

       "Section 1125(a) of Title 15 of the United States Code creates two distinct bases of liability: false association, §
       1125(a)(1)(A), and false advertising, § 1125(a)(1)(B)." Knit With v. Knitting Fever, Inc., — Fed.Appx. , No.
       12-3219, 2015 WL 5147749, at *8, 2015 U.S.App. LEXIS 15575, at *27 (3d Cir. Sept. 2, 2015). Specifically, Section
       43(a) of the Lanham Act provides:
           Any person who, on or in connection with any goods or services, or any container for goods, uses in commerce
           any word, term, name, symbol, or device, or any combination thereof, or any false designation of origin, false or
           misleading description of fact, or false or misleading representation of fact, which—
              (A) is likely to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or association
              of such person with another person, or as to the origin, sponsorship, or approval of his or her goods, services, or
              commercial activities by another person, or
              (B) in commercial advertising or promotion, misrepresents the nature, characteristics, qualities, or geographic
              origin of his or her or another person's goods, services, or commercial activities,
           shall be liable in a civil action by any person who believes that he or she is or is likely to be damaged by such act.
         15 U.S.C.A. § 1125(a)(1).

       Those five factors are "(1) The nature of the plaintiffs alleged injury: Is the injury of a type that Congress sought to
       redress in providing a private remedy for violations of the antitrust laws? (2) The directness or indirectness of the
       asserted injury. (3) The proximity or remoteness of the party to the alleged injurious conduct. (4) The speculativeness
       of the damages claim. (5) The risk of duplicative damages or complexity in apportioning damages." Conte Bros., 165
       F.3d at 233 (citations and internal quotation marks omitted).

       Although no party addresses Lexmark, additional briefing in not necessary on the issue. In abrogating Conte, the
       Supreme Court described that test as a "commendable effort to give content to an otherwise nebulous inquiry," but
       found it "slightly off the mark." Lexmark, 134 S.Ct. at 1392. The Court observed that Conte's "first factor can be read as
       requiring that the plaintiffs injury be within the relevant zone of interests and the second and third as requiring
       (somewhat redundantly) proximate causation," but took issue with the Third Circuit's treatment of these requirements
       as factors that could be balanced against each other. Id. Additionally, the Court found the fourth and fifth factors
       (relating to damages) were inappropriate considerations when determining standing. Id. By analyzing the first three

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            factors under Conte, the parties implicitly addressed the two factors required under Lexmark, and, accordingly, the
            Court can consider their arguments within the appropriate context of Lexmark to determine whether Boynton has
            standing under the Lanham Act.

            In Lexmark, the Supreme Court also rejected the direct-competitor test and reasonable interests test. Id. at 1392-93.


            Relying on the deposition testimony of Byrne, NJ PURE argues that Boynton, as a broker, is not compensated directly
            by procurers of medical malpractice insurance, but instead is paid by insurers based on the premiums Boynton's
            generates on their behalf. However, the Court must accept Boynton's allegation that it lost OB/GYN as a customer as
            true for purposes of this motion. Mele, 359 F.3d at 253.

            NJ PURE argues, within the rubric of Conte, that Boynton has failed to allege a competitive and direct injury, and that
            Boynton's damages are too remote because another class of plaintiffs—other insurance companies—were more
            directly injured by NJ PURE's alleged misrepresentations. These arguments are unavailing. First, the Supreme Court
            in Lexmark also rejected application of a "direct-competitor test" for standing under the Lanham Act. 134 S.Ct. at 1392.
            As the Court observed: "[t]o be sure, a plaintiff who does not compete with the defendant will often have a harder time
            establishing proximate causation. But a rule categorically prohibiting all suits by noncompetitors would read too much
            into the Act's reference to 'unfair competition' in § 1127." Id. Second, while Boynton and NJ PURE may not compete in
            producing insurance policies, they clearly compete in selling insurance policies—even if direct competition were still a
            requirement after Lexmark. Boynton and NJ PURE are clearly in direct competition to sell medical malpractice
            insurance in the same market. Whether other entities were more injured by NJ PURE's alleged misrepresentations
            does not affect whether Boynton has standing under the Lanham Act.

            Groupe SEB USA, Inc. v. Euro–Pro Operating LLC, No. 14-137, 2014 WL 1316039, at *4, 2014 U.S. Dist. LEXIS
            44063, at *11 (W.D.Pa. Apr. 1, 2014) ("[T]he Third Circuit has not yet adopted this heightened pleading standard, and
            district courts disagree over the applicable standard. Moreover, as other district courts in this circuit have observed, the
            standard set forth in [Max Daetwyler Corp. v. Input Graphics, Inc., 608 F.Supp. 1549 (E.D.Pa.1985) ] was decided prior
            to the Supreme Court's decisions in Twombly and Igbal as well as the Third Circuit's decision in Fowler.") (citations
            omitted).

            Federal Rule of Civil Procedure 9(b) provides that "[i]n all averments of fraud or mistake, the circumstances constituting
            fraud or mistake shall be stated with particularity."
10          Boynton also alleges that NJ PURE (through Elias and Poe) sent emails to URG and PAA representing that NJ PURE
            had a certain BCAR score, and that that score would "qualif[y]" it for an A++ rating, Counterclaim ¶¶ 27-31, 34-35, and
            that in May 2012 Elias met with a representative of PAA and "affirmatively stated that NJ PURE had an official rating
            with A.M. Best Company." Counterclaim ¶¶ 36-37. However, since neither of these communications are alleged to
            have resulted in damage to Boynton, the Court need not address whether they sufficiently plead the literally false or
            misleading requirement.

11          Boynton has asserted two closely-related, but distinct, causes of action in Count III of its counterclaim against NJ
            PURE and Count III of its third-party complaint against Third–Party Defendants; that is, Boynton alleges both (1)
            tortious interference with existing contract and (2) tortious interference with prospective economic advantage. See
            Church & Dwight Co. v. SPD Swiss Precision Diagnostics, No. 10-453, 2010 WL 5239238, at *4-5, 2010 U.S. Dist.
            LEXIS 133114, at *12-13 (D.N.J. Dec. 16, 2010); Printing Mart–Morristown v. Sharp Electronics Corp., 116 N.J. 739,
            750, 563 A.2d 31 (1989). However, the two causes of action have essentially the same elements, differing only with
            respect to the "the existence of a contract, rather than merely a reasonable expectation of an agreement." Morin v.
            20/20 Cos., No. 10-6476, 2012 WL 3880205, at *10, 2012 U.S. Dist. LEXIS 126744, at *30 (D.N.J. Sept. 5, 2012);
            McAbee v. Univ. of Med. & Dentistry of N.J. Sch. of Osteopathic Med., No. A-5771-09T1, 2012 WL 2428126, at *5,
            2012 N.J.Super. Unpub. LEXIS 1516, at *13-14 (App.Div. June 28, 2012).
12          Although Boynton alleges that OB/GYN was its customer, Counterclaim ¶ 40, it alleges no facts which would show that
            it expected future economic benefits from OB/GYN, other than those obtained under its existing contract. Indeed, the
            Counterclaim provides no allegation describing what the business relationship OB/GYN had with its former insurance
            company, brokered by Boynton, and how Boynton was compensated for brokering that relationship. For example,
            Boynton did not allege that it would receive commission payments if OB/GYN renewed its policy with the insurance
            company brokered by Boynton. Nor did Boynton allege that it lost further opportunities to broker new insurance policies
            for OB/GYN.



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